Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 1 of 186

PAUL, REICH & MYERS, P.C.

By: Robert E. Paul, Esquire

Identification No. 21252

1608 Walnut Street, Suite 500 Attorney for Plaintiff
Philadelphia, PA 19103

(215) 735-9200

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ROBERT J. KRAUS and : CIVIL ACTION
MARGARET M. KRAUS, h/w ;

= ‘NO, 18-CV-2119
ALCATEL-LUCENT, et al. :ASBESTOS CASE

 

ANSWER TO LOCKHEED’S MOTION FOR SUMMARY JUDGMENT
1. Denied. Lockheed’s predecessor purchased the GE/RCA product lines at issue in
the case.
2. (a) denied.
(b) denied,
(c) denied.
(d) denied.
Further, Lockheed ignores its responsibility for asbestos on SPS-40 and on the GE/RCA
equipment.
3. Denied in that Pennsylvania law also applies and conspiracy is involved.

4, Denied.
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Wherefore, the motion of Lockheed should be denied. Having failed to assert in the
motion to claim that it is not responsible for its own SPS-40 or for the GE/RCA products it has

conceded its liability for those claims against it.

PAUL, REICH & MYERS, P.C.

By: Va f Haff

ROBERT E. PAUL

 
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IN THE UNITED STATES DISTRICT COURT
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ROBERT J. KRAUS and : CIVIL ACTION
MARGARET M. KRAUS, h/w :
VS. !NO. 18-CV-2119
ALCATEL-LUCENT, et al. : ASBESTOS CASE
MEMORANDUM OF LAW

 

I. GENERAL OVERVIEW OF THE FACTS

Defendant Lockheed Marin Corporation is the successor in interest to Lockheed
Electronics formerly Stavid Engineering (Exhibit A). This company manufactured the SPS-40
(Exhibit B) an antenna. Kraus testified that he was the electronic materials officer responsible
for all the equipment involved with electronics (Exhibit C, NT 26) including periodic
maintenance. He was involved with all the equipment including radios (181). The SPS-40 was
like the other radios in the shop because it had both a transmitter and a receiver (209). Plaintiff
testified that he was near repairs to the SPS-40 and that it was the most modified piece of
equipment on the ship (Exhibit C, 209-210). He recalled a Lockheed field representative helped
repair the SPS-40 (Exhibit C, 210). The SPS-40 was worked on “a lot” (Exhibit C, 215). The
SPS-40 had tubes. On the discovery deposition (Exhibit D, 164) Kraus reiterated that there were
lot of problems with the SPS-40. While he only recalled one specific occasion he was next to

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the SPS-40 it was always causing trouble. From this testimony it is a clear and proper inference
that he was near the SPS-40 regularly. Many of these problems involved the circuit board (215).
Circuit boards contained resistors and capacitors. Gossett, who was the chief petty officer noted
that pieces of the SPS-40 had to be worked on (Exhibit E, 97). Gossett discussed how all the
electronic equipment which would include the SPS-40 was opened monthly and the internal
parts had frayed and turned to dust given the high heat (Exhibit E, 49-73), Shown a picture of
the SPS-40 (Exhibit E), Gossett noted it was a complex piece of equipment (98). The base of the
antenna was in the bottom of the ship where the electrical components. There were 4 boxes as
can be seen from the picture of the SPS -40 system. The boxes for the SPS-40 contained
transceivers, resistors, capacitors, wire and cable (NT 100). Kraus’s job included monitoring
work on the SPS-40 (101). It required so much work due to it being new that tech reps from
Lockheed the company had to come out to help solve problems (102). While there were later
iterations the only version of the SPS-40 during Kraus’ time on the ship was the original SPS-40
(149). Landrum (Exhibit F) testified that there were 4 control boxes for the SPS-40 in the
bottom of the ship (59-60). It had resistors, capacitors and a conduction coating (160). Unlike
other equipment it was repaired where it was on the ship. Kraus job was to supervise work on
the SPS-40 (83) as well as the other products the technicians worked. As Gossett had testified
with respect to other capacitors and resistors repaired in the shop that they were high temperature
products which caused the internal components to turn to dust (Exhibit E, 49, 60-67). The
standard of the time was that resistors and capacitors contained asbestos (Exhibit G). Thus,
since the SPS-40 was always being worked on by crew and by the Lockheed tech representative
in Kraus’ presence the asbestos-containing resistors and capacitors and condensers were opened

and exposed to the air and emitted respirable asbestos dust when opened just like the other

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electronic equipment in the shop on a regular and frequent basis near him. The electronic
equipment on these types of asbestos products has been known to give off asbestos since the
1940's (Exhibit H). Further, Lockheed appears to have lost or destroyed the Technical Manual
for the products based on its discovery answers. Plaintiff seeks an adverse inference that the
Manual would have confirmed asbestos inside the 4 boxes of the SPS-40.

At the same time plaintiff was exposed to the SPS-40 he was also exposed to GE and
RCA products on the ship in the electronic shop.

GE made the following products which the archive records of co-workers or both showed
were used on the Cambria (SPA-4, UQN-1C, SPS-8, UPX-12)(Exhibit I). Plaintiff incorporates
under F.R.C.P. 10 the answer to GE’s motion.

RCA made the following products which the archive records or co-workers or both
showed were on the Cambria (PRC 8-10, SRR-11, SRT 14-16, TCC-2)(Exhibit J). After the
Navy he worked for some years at the GE plant at 32" and Chestnut in Philadelphia. This plant
had received an asbestosis claim in the 1930’s (Exhibit K) and the pipe fitter, Covalevski
(Exhibit L) descried how much asbestos there was in the facility although Kraus appears not to
have known this fact. Subsequent to his exposure on the Cambria GE acquired RCA. This is
undisputed. Later GE sold the electronic business to Martin Marietta, a predecessor of Lockheed
Martin (Exhibit M). This sale included the assets of the GE facility at 32" and Chestnut where
plaintiff worked. The Chestnut Street facility was part of GE’s Aerospace sector. In the
agreement certain provisions are relevant and appear according to GE to transfer the liability to
Lockheed’s predecessor.

GE has not agreed it is responsible for GE and RCA products on the ship and the GE

premises at issue but has not expressly disowned responsibility either. The Court must decide

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whether a jury question exists on the responsibility or whether it is clear GE or Lockheed is
responsible for GE/RCA products and premises. Under either circumstance Lockheed is still
liable for the SPS-40. That product like all others contained electronic parts that contained
asbestos and had to be opened releasing dust Kraus breathed on a regular and frequent basis.

Il. ARGUMENT

The first issue here is that Lockheed is responsible for the SPS-40. This piece of
equipment was an antenna that extended from the top of the ship into the interior of the ship. As
plaintiff noted, it was one of the most important pieces of equipment on the ship because it could
spot enemies at a great distance. At the bottom, inside the ship, it had 4 boxes filled with
electronic components such as resistors and capacitors and wire. There were constantly opened
releasing dust near Kraus. While Kraus was not required to work on the equipment it was his
job to supervise work while it was being performed. This work included regular preventive
maintenance as well as repairs which were fairly regular on the SPS-40 more so than other
equipment. The standard for the components was to contain asbestos. When opened, all
electronic components frayed and turned to dust due to the high heat. Kraus recalled inhaling
dust in the process and Gossett and Landrum confirmed that dust was emitted each time the
equipment was opened. Gossett noted that preventive maintenance required monthly opening of
all boxes of electronic equipment. Thus, there were 4x12x3 or 144 times preventive
maintenance required opening the SPS-40 boxes plus the separate repair times when Landrum
and Kraus recalled Kraus being near one or more of the SPS-40 boxes being opened. Since
Kraus’ job included monitoring the work of Mr. Stubblefield Kraus had regular and frequent

exposure to the asbestos dust from the SPS-40.
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The second basis of liability is the acquisition of the former Aerospace/Defense portion
of the GE/RCA business. The Court must decide whether it or a jury should resolve the question
of whether the agreement between GE and Lockheed’s predecessor transferred the liability for
the Aerospace Division to Lockheed’s predecessor Martin Marietta. GE claims it did so transfer
and Lockheed claims it did not accept the liability. The Court will have to resolve this matter to
determine who is liable. Plaintiff does not adopt either side’s position. He contends that one of
them should be liable. As to the GE/RCA products on the ship that argument is that same as the
SPS-40, i.e. it was the general rule that all electronic equipment contained resistors and
capacitors and the general rule was that these were asbestos containing products. Thus, as the
recipient of the Aerospace division and assuming its liabilities Lockheed is liable for all
GE/RCA products on the ship. Should defendant be able to prove some resistors and capacitors
did not contain asbestos this is still a jury question under Lamson supra.

Plaintiff breathed dust from products containing asbestos of Lockheed/GE/RCA on a
regular basis. Whether the case is in maritime or Pennsylvania a jury question is made out.

The Tooey v. A.K. Steel Corp. 81 A.3d 851 (2013) claim is more complicated. Was that
32™ and Chestnut plant, already closed at the time of the sale of the division of which it has been
apart? The Court will have to resolve this in favor of either GE or Lockheed.

Assuming the Court hold that Lockheed is liable for the 32" and Chestnut plaint it is
liable under Tooey. The plant had experienced a claim for asbestos in the 1930’s. This means
that the plant owner knew asbestos was dangerous and in the facility and it was required to warn
and protect workers. It failed this duty causing injury. Mr. Covalevski testified at length
concerning asbestos in the facility. Lockheed’s sole objection to his testimony is that Covalevski

left 32" and Chestnut two years before Kraus arrived. Since both these events were prior to the

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enactment of the Occupational Safety and health Act the claims that the asbestos was removed
before Kraus arrives are unfounded in their evidence. It is much more likely that asbestos was
still there and more likely that Covalevski knows more about present of asbestos a pipe fitter
than Kraus.

The motion should be denied.

PAUL, RECIH & MYERS, P.C.

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ROBERT E. PAUL

 
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IN THE UNITED STATES DISTRICT COURT
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Vs. ‘NO, 18-CV-2119
ALCATEL-LUCENT, et al. - ASBESTOS CASE

 

COUNTER STATEMENT OF DISPUTED FACTS

1-16. Admitted.

17. Denied. Kraus identified Lockheed as the supplier of the SPS-40 (Exhibit C) and
in fact it was the suppler (Exhibits A&B).

18-24. Admitted in part, denied in part. He recalled Lockheed for the SPS-40 (Exhibit
C, 210).

25. Denied in that the documents provided by counsel were official government
documents.

26-27. Admitted.

28. Denied. Lockheed admits he identified SPS-40 see (Exhibit C, NT 210).
29. Denied. See answer to 28.
30. Denied. The source included official government documents supplied to him by

his attorney as well as his recollection of the SPS-40.

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31. Admitted except as to SPS-40 which he recalled from memory.

32-33. Admitted in part. He recalled the SPS-40 from memory

34-35. Denied. He recalled the SPS-40, SPS-10 & KW-7 & 37.

36-37. Denied and Admitted. However no one else supplied the SPS-40 and he recalled
Lockheed (Exhibit C, NT 210).

38. Denied as to SPS-40 (Exhibit C).

39. Admitted.

40. Admitted as SPS-40, except for the wave guide, was never in the ship.

41. Admitted except the wave guide.

42. Admitted that Lockheed’s employee helped the SPS-40 operate.

43. Admitted.

44-48. Admitted in part, denied in part. He only recalled the one occasion. However he
was there at other times (Exhibit C, 215).

49. Denied. He identified Lockheed.

50-59. Admitted in part, denied in part. Landrum identified a number of parts by serial
number including the SPS-40. Only Lockheed made the SPS-40 for the Cambria. He did
identify GE/RCA parts AM/PRC-3, AN PRC-9, AN/SPA-4 & 8, SPS-8 which are GE or RCA
parts.

60-66. Denied. Many of the parts are GE/RCA parts. Further identified SPS-40,
Lockheed’s part. Under maritime law those to be dismissed Allen Bradley, Eimak, Rockbestos
can no longer be referenced in the case McDermott v. Amclyde, 511 US 202 (1994). Any
product not linked to be visible defendant cannot reference in maritime.

67-76. Admitted.
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77. Denied in part, admitted in part. They identified the products of Lockheed, GE
and RCA. They described the interior parts which were asbestos-containing. They describe
Kraus’ exposure to the asbestos dust from these parts.

78-85, Admitted. However the deadline for listing materials and exhibits has not yet run.
Plaintiff is continuing to look for materials.

86-87. Denied. The patents and articles relied on Mr. Faherty were produced to
Lockheed see (Exhibit G).

88-102. Admitted but irrelevant under Air & Liquid v. DeVries, 139 Sct. 986 (2019).

103-104. Denied. He was asked to remember hundreds of pages of documents.

105-112. Denied. Faherty and Lockheed have the Navy documents showing SPS-40 was
on the ship. Kraus also supplied the documentation of the 1930’s case for asbestos in the plant
and Covalevski was deposed in his own asbestosis case.

113. Admitted. However, not having objected in the memorandum Lockheed has
waived any objection. Further, Evidence Rule 807 allows its admission.

114. Admitted but see answers to 113 supra. Further, it is admittible under F.R. Evid

807.

115. Admitted.

116. Admitted. There is no basis to believe the asbestos was removed between 1968
and 1970.

117. Denied as irrelevant since he’s deceased.
118-121. Admitted.

122. Admitted. Denied in that he didn’t know.

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123-126. Admitted. Plaintiff has attempted to obtain records from Lockheed about this

facility but to no avail.

PAUL, REICH & MYERS, P.C.

By: Just R. Kad

ROBERT E. PAUL

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ROBERT J. KRAUS and
MARGARET M. KRAUS, h/w

VS.

ALCATEL-LUCENT, et al.

: CIVIL ACTION

‘NO. 18-CV-2119

-ASBESTOS CASE

 

AND NOW, to wit, this

summary judgment is hereby DENIED.

ORDER

day of , 2020, Lockheed’s motion for

BY THE COURT:

 

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North Plain

In 1953, Stavid Engineering built an 60-acre industrial site that sits
Corporation, a predecessor to Lockheed Martin Cory

Remediation >» (/en-us/who-we-are/eesh/remediation.html) North Plainfield, New Jersey

 

history

From 1959 to 1989, Lockheed Electronics Company manufactured, tested and assembled electronic components at the
site.

e Lockheed closed the operation in 1989, and eventually sold the property. In 1999, the
site was redeveloped into a shopping center, the Watchung Square Mall.

e Lockheed, which became Lockheed Martin in 1995 after the merger of Lockheed and

Martin Marietta Corporation, assumed responsibility for the environmental cleanup.

Investigation

After closing the plant in 1989, the corporation conducted an initial environmental investigation under the oversight of
the New Jersey Department of Environmental Protection (NJDEP).

The investigation identified trichloroethene (TCE), a cleaning solvent that had been used to

clean electronic parts, and fuel oil in site soil.

Cleanup
In the early 1990s, the contaminated soil was excavated and disposed of in a licensed off-site landfill.

https://www.lockheedmartin.com/en-us/who-we-are/eesh/remediation/north-plainfield.html 3/8
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contamination from the $aj}, Asterctarisalateanyn was comupletedetharkip poration in July 1998
received final approval from the NJDEP, which permitted unrestricted use of the site.

Groundwater

In August 1993, it was determined that groundwater at the site was contaminated with TCE.

Working closely with the NJDEP, the Corporation installed more than 40 monitoring wells to
measure the extent of TCE in groundwater. Based on the findings, it was determined that a
pump-and-treat system would best clean up the contamination. The system was installed and

began operating in July 2003.

Treatment

The treatment system was designed to collect the groundwater and remove the contamination in an aboveground
processing facility, and has prevented contamination from entering Crab Brook.

Groundwater contamination has decreased significantly since the system was implemented, and
water quality is near or below NJDEP cleanup levels. Groundwater concentrations in the vicinity
of the treatment system have been below NJDEP cleanup levels for several years.

As a result, the system was shut down and the treatment equipment was decommissioned and

sent to a recycling facility in 2015.

Neighborhood

Lockheed Martin also investigated the possibility that contaminated vapor from the groundwater is entering indoor air
in buildings near the site.

The investigation includes the:

e Walmart at Watchung Square Mall; Avalon Watchung apartment complex; Regency

Village Condominiums property

https://www.lockheedmartin.com/en-us/who-we-are/eesh/remediation/north-plainfield.html 4/8
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measured for the rash diveventsstasiateranine Napa Veale antening structures from the
ground below.

e In addition, soil vapor samples were collected beneath the foundations at the Walmart,
all 16 buildings at Avalon Watchung, and eight buildings at Regency Village to evaluate

whether sub-slab soil gas was present.

e Results from each of the sampling events indicated that TCE was not detected at
concentrations above the New Jersey Vapor Intrusion Residential Indoor Air Screening

Criteria.

e Concentrations of TCE were detected above the New Jersey Soil Gas Screening Level
beneath one building on the Avalon Watchung property.

e Therefore, an additional sub-slab soil gas sample will be collected beneath that building
at Avalon Watchung; however, no further action is required at Watchung Square Mall or

the Regency Condominiums property.

Today

In May 2013, Lockheed Martin submitted a biennial certification to the NJDEP for a groundwater classification
exemption area (CEA).

The CEA was established to provide notice to the public that groundwater cleanup levels, while

very close, currently are not being met within a defined area.

The public notification was provided in July 2014. In July 2016, a biennial public notification was
completed. Also, in that month, a Response Action Outcome, which memorializes the
completion of remediation activities, was filed with the NJDEP.

View the North Plainfield, New Jersey Document Achive >

Community Information (/en-us/who-we-are/eesh/remediation/north-
plainfield/archive.html) >

 

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Information Sheet Summer 2018
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july2018.pdf)

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Timeline

Accept ()

1953 - Stavid Engineering built an 80-acre industrial site that sits in the boroughs of Watchung

and North Plainfield, N.J.

1959 - Lockheed Corporation, a predecessor to Lockheed Martin Corporation, acquired the

engineering company

1959 - 1989 - Lockheed Electronics Company manufactured, tested and assembled electronic

components at the site

1990's - The contaminated soil was excavated and disposed of in a licensed off-site landfill

August 1993 - It was determined that groundwater at the site was contaminated with TCE.

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1999 - Lockheed sold the property and the site was redeveloped
July 2003 - The system was installed and began operating.

May 2013 - Lockheed Martin submitted a biennial certification to the NJDEP for a Groundwater

Classification Exemption Area (CEA)
July 2014 - The public notification was provided
2015 - The system was shut down

July 2016 - A biennial public notification was completed. A Response Action Outcome, which
memorializes the completion of remediation activities, was filed with the NJDEP

 

Glossary (/en-us/who-we-are/eesh/remediation/glossary.html): View a List of Terms Commonly Used in Relation to
General Environmental Remediation Efforts

Acronyms (/en-us/who-we-are/eesh/remediation/acronyms.html): View a List of Nicknames Commonly Used in
Relation to General Environmental Remediation Efforts

Our Capabilities
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In addition, several other possible products, vhich woul
‘ion for Lockheed, were evaluated during the Post-War period
tkheed got into the material handling equizment industry through
rquipment Compeny and into industrial equipment with the acqute
ese acquisitions were sold in 1951 When management attention
quirements. Lockheed established an Architectural Products Division 1

 

  

me aluminum sidewall for large buildings. The Division carried out som aie

mnstructed prototypes of prefabricated homes. In 1965, Lockheed and @ Puerto Ri
cent joined in a public demonstration of the former's "Panelock" prefabricated
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Right after World War 11 » Lockheed also gave serious consideration t the manu

ing of automobiles nd private, light aircraft. Both of these ideas were
In 1958, Lockheed created its own! Lockheed Electronics and Avionics Divieion to
launch the company into the manufacture and marketing of Clectrontcs components, ¢qu:
ment, systems, and advanced instrumentation. The announced purpose of the formatio
the new Division was to take advantage of the new technological revolution by going
solid state electrical devices which offered advantages did increased speed, reliabi.
sensitivity, and versatility. A year later, in May-1959, Lockheed)’ announced an agreement
to acquire -Stavid mmgineering, a New Jersey elé¢tronicn, (Firm. Stavid aid the newly-formed —
ded the

  

Lockheéd Electrohi¢s and Avionics Division were consolidated “into what was ¢
Lockheed Slectronies Company, headquartered in iainfield, New Jersey.

In -1959 end 1960, tockhdod made its most aggressive divessificatd
Annual Report listed 16 steps taken during 1959 ‘and ar. ¢ 11960) aimed
and product lines, and building "across the board fee ad
the April 1959 acquisition of Puget Sound Bridg
pbuilding, ship repair, and heavy construction ; rm
the! purchase of # 50 percent interest in Grand f ai
fourth Lergest producer of rocket motors and solid-fus

  

  
    
       
   

Announcing the diversification moves 18 1999 and early 1960;
that the company's diversification policy ¥as,! | but fees leases
Sere Eee ne from Within i ptressing imaginatt hit ing,
satisfying consumer Reeds-/- z a Se il | ial
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Lockheed Corporation

 

The Lockheed Corporation was an American aerospace
company. Lockheed was founded in 1926 and later merged with ~-
Martin Marietta to form Lockheed Martin in 1995. The founder, =s-_y
Allan Lockheed, had earlier founded the similarly named but ——
otherwise unrelated Loughead Aircraft Manufacturing

Company, which was operational from 1912 through 1920. |
|

| Former type __ privately held

Lockheed Corporation

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| company “

Contents | Industry Aerospace

History Fate Merged with Martin
Origins Marietta
Prewar production Predecessor Alco Hydro-
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Postwar production | 7 |
Skunk Works | Successor Lockheed Martin |
Projects during the Cold War Founded 1926 |
Bribery scandals Founder Allan Lockheed, |
Attempted leveraged buyout Malcolm Loughead 7 |
Timeline Defunct 1995 |

Divisions Headquarters Calabasas, |
Aeronautical Systems group California!
Missiles, Space, and Electronics Systems Group | Products Aircraft

Marine Systems group
Information Systems group

Product list
Airliners and civil transports

Military transports

Fighters

Patrol and reconnaissance
Helicopters

Missiles

Space technology

Sea vessels

See also

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History

Origins

Allan Loughead and his brother Malcolm Loughead had operated an earlier aircraft company,
Loughead Aircraft Manufacturing Company, which was operational from 1912 to 1920.!?] The
company built and operated aircraft for paying passengers on sightseeing tours in California and had
developed a prototype for the civil market, but folded in 1920 due to the flood of surplus aircraft
deflating the market after World War I. Allan went into the real estate market while Malcolm had

meanwhile formed a successful company marketing brake systems for automobiles.!31

 

In 1926, Allan Lockheed, John Northrop, Kenneth Kay and Fred Keeler secured funding to form the
Lockheed Aircraft Company in Hollywood (the spelling was changed phonetically to prevent
mispronunciation).!4! This new company utilized some of the same technology originally developed
for the Model S-1 to design the Vega Model. In March 1928, the company relocated to Burbank,
California, and by year's end reported sales exceeding one million dollars. From 1926 to 1928 the
company produced over 80 aircraft and employed more than 300 workers who by April 1929 were
building five aircraft per week. In July 1929, majority shareholder Fred Keeler sold 87% of the
Lockheed Aircraft Company to Detroit Aircraft Corporation. In August 1929, Allan Loughead
resigned.

The Great Depression ruined the aircraft market, and Detroit Aircraft went bankrupt. A group of
investors headed by brothers Robert and Courtland Gross, and Walter Varney, bought the company
out of receivership in 1932. The syndicate bought the company for a mere $40,000 ($660,000 in
2011). Ironically, Allan Loughead himself had planned to bid for his own company, but had raised
only $50,000 ($824,000), which he felt was too small a sum for a serious bid.[5!

In 1934, Robert E. Gross was named chairman of the new company, the Lockheed Aircraft
Corporation, which was headquartered at what is now the airport in Burbank, California. His brother

Courtlandt S. Gross was a co-founder and executive, succeeding Robert as chairman following his
death in 1961. The company was named the Lockheed Corporation in 1977.

The first successful construction that was built in any number (141 aircraft) was the Vega first built in
1927, best known for its several first- and record-setting flights by, among others, Amelia Earhart,

 

develop the Model 10 Electra, a small twin-engined transport. The company sold 40 in the first year of
production. Amelia Earhart and her navigator, Fred Noonan, flew it in their failed attempt to

circumnavigate the world in 1937. Subsequent designs, the Lockheed Model 12 Electra Junior and the
Lockheed Model 14 Super Electra expanded their market.

Prewar production

The Lockheed Model 14 formed the basis for the Hudson bomber, which was supplied to both the
British Royal Air Force and the United States military before and during World War 11.[61[7] Its

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Production during World War Il

At the beginning of World War II, Lockheed — under the guidance
of Clarence (Kelly) Johnson, who is considered one of the best-
known American aircraft designers — answered a specification for
an interceptor by submitting the P-38 Lightning fighter aircraft, a
twin-engined, twin-boom design. The P-38 was the only
American fighter aircraft in production throughout American
involvement in the war, from Pearl Harbor to Victory over Japan ee
Day./9] It filled ground-attack, air-to-air, and even strategic P-38J Lightning Yippee
bombing roles in all theaters of the war in which the United

States operated. The P-38 was responsible for shooting down

more Japanese aircraft than any other U.S. Army Air Forces type during the war; it is particularly
famous for being the aircraft type that shot down Japanese Admiral Isoroku Yamamoto's

airplane, 0ll14]

 

 

   

The Lockheed Vega factory was located next to Burbank's Union
Airport which it had purchased in 1940. During the war, the
entire area was camouflaged to fool enemy aerial reconnaissance.
The factory was hidden beneath a huge burlap tarpaulin painted
to depict a peaceful semi-rural neighborhood, replete with rubber
automobiles. !13]/44] Hundreds of fake trees, shrubs, buildings, and
even fire hydrants were positioned to give a three-dimensional
appearance. The trees and shrubs were created from chicken wire
treated with an adhesive and covered with feathers to provide a
leafy texture. Hollis!

    

— |
P-38 Lightning assembly line at the
Lockheed plant, Burbank, California

in World War Il. In June 1943, this . . .
assemblyline.Wasreconigtred inte Lockheed ranked tenth among United States corporations in the

a mechanized line, which more than value of wartime production contracts.!46] All told, Lockheed and
doubled the rate of production. The its subsidiary Vega produced 19,278 aircraft during World War II,
transition to the new system was representing six percent of war production, including 2,600
aeeiolnilis iter liin@ilWael gn Gay st Venturas, 2,750 Boeing B-17 Flying Fortress bombers (built under

Digninig HStinre Ree WENO NE? license from Boeing), 2,900 Hudson bombers, and 9,000
stopped. It was continued Lightni [17]
outdoors.!12] fenaues

  

Postwar production

L-049 Constellation, a radical new airliner capable of flying 43 passengers between New York and
London at a speed of 300 mph (480 km/h) in 13 hours.

Once the Constellation (nicknamed Connie) went into production, the military received the first
production models; after the war, the airlines received their original orders, giving Lockheed more
than a year's head-start over other aircraft manufacturers in what was easily foreseen as the post-war
modernization of civilian air travel. The Constellations’ performance set new standards which
transformed the civilian transportation market. Its signature tri-tail was the result of many initial

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customers not having hangars tall enough for a conventional tail.

Lockheed produced a larger transport, the double-decked R6V
Constitution, which was intended to make the Constellation
obsolete. However, the design proved underpowered.

Skunk Works

In 1943, Lockheed began, in secrecy, development of a new jet, Lockheed |-049 Constellation
fighter at its Burbank facility. This fighter, the Lockheed P-80 sporting the livery of Trans World
Shooting Star, became the first American jet fighter to score a kill. Airlines at the Pima Air & Space
It also recorded the first jet-to-jet aerial kill, downing a Mikoyan- Museum.

Gurevich MiG-15 in Korea, although by this time the F-80 (as it

was redesignated in June 1948) was already considered

obsolete.[48]

 

 

 

Starting with the P-80, Lockheed's secret development work was
conducted by its Advanced Development Division, more
commonly known as the Skunk works. The name was taken from
Al Capp's comic strip Li'l Abner. This organization has become
famous and spawned many _ successful Lockheed designs, 3 ae U-2, which ew, :
including the U-2 (late 1950s), SR-71 Blackbird (1962) and F-117 in 1955, provided intelligence on
Nighthawk stealth fighter (1978). The Skunk Works often created Saviet blecceounines:
high-quality designs in a short time and sometimes with limited

resources.

 

Projects during the Cold War

In 1954, the Lockheed C-130 Hercules, a durable four-engined
transport, flew for the first time. This type remains in production
today. In 1956, Lockheed received a contract for the development
of the Polaris Submarine Launched Ballistic Missile (SLBM); it
would be followed by the Poseidon and Trident nuclear missiles.
Lockheed developed the F-104 Starfighter in the late 1950s, the
world's first Mach 2 fighter jet. In the early 1960s, the company
introduced the C-141 Starlifter four-engine jet transport.

 

The Lockheed SR-71 Blackbird

During the 1960s, Lockheed began development for two large aircraft: the C-5 Galaxy military
transport and the L-1011 TriStar wide-body civil airliner. Both projects encountered delays and cost
overruns. The C-5 was built to vague initial requirements and suffered from structural weaknesses,
which Lockheed was forced to correct at its own expense. The TriStar competed for the same market
as the McDonnell Douglas DC-10; delays in Rolls-Royce engine development caused the TriStar to fall
behind the DC-10. The C-5 and L-1011 projects, the canceled U.S. Army AH-56 Cheyenne helicopter
program, and embroiled shipbuilding contracts caused Lockheed to lose large sums of money during

the 1970s.

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Drowning in debt, in 1971 Lockheed (then the largest US defense
contractor) asked the US government for a loan guarantee, to
avoid insolvency. The measure was hotly debated in the US
Senate. The chief antagonist was Senator William Proxmire (D-
Wis), the nemesis of Lockheed and its chairman, Daniel J.
Haughton. Following a fierce debate, Vice President Spiro T.
Agnew cast a tie-breaking vote in favor of the measure (August
1971). Lockheed finished paying off the $1.4 billion loan in 1977,

along with about $112.22 million in loan guarantee fees,19] The Lockheed C-130 Hercules
serves as the primary tactical
transport for many military forces
Bribery scandals worldwide.

 

The Lockheed bribery scandals were a series of illegal bribes and
contributions made by Lockheed officials from the late 1950s to
the 1970s. In late 1975 and early 1976, a subcommittee of the U.S. Senate led by Senator Frank Church
concluded that members of the Lockheed board had paid members of friendly governments to
guarantee contracts for military aircraft.(2°] In 1976, it was publicly revealed that Lockheed had paid
$29 million in bribes to foreign officials!24] in the process of negotiating the sale of aircraft including

the F-104 Starfighter, the so-called Deal of the Century. /221[23]

The scandal caused considerable political controversy in West Germany, the Netherlands, Italy, and
Japan. In the US, the scandal led to passage of the Foreign Corrupt Practices Act, and 1 nearly led to the

ailing corporation's downfall (it was already struggling due to the poor sales of the L-1011 airliner).
Haughton resigned his post as chairman.|24]

Attempted leveraged buyout

In the late 1980s, leveraged buyout specialist Harold Simmons conducted a widely publicized but
unsuccessful takeover attempt on the Lockheed Corporation, having gradually acquired almost 20
percent of its stock. Lockheed was attractive to Simmons because one of its primary investors was the
California Public Employees' Retirement System (CalPERS), the pension fund of the state of
California. At the time, the New York Times said, "Much of Mr. Simmons's interest in Lockheed is
believed to stem from its pension plan, which is over funded by more than $1.4 billion. Analysts said
he might want to liquidate the plan and pay out the excess funds to shareholders, including himself."
Citing the mismanagement by its chairman, Daniel M. Tellep, Simmons stated a wish to replace its
board with a slate of his own choosing, since he was the largest investor. His board nominations
included former Texas Senator John Tower, the onetime chairman of the Armed Services Committee,
and Admiral Elmo Zumwalt Jr., a former Chief of Naval Operations. [251126] Simmons had first begun
accumulating - Lockheed stock in early 1989 when deep Pentagon cuts to the defense budget had
driven down prices of military contractor stocks, and analysts had not believed he would attempt the

takeover since he was also at the time pursuing control of Georgia Gulf. [27]

 

Timeline

» 1912: The Alco Hydro-Aeroplane Company established.
» 1916: Company renamed Loughead Aircraft Manufacturing Company.

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1926: Lockheed Aircraft Company formed.
1929: Lockheed becomes a division of Detroit Aircraft.
1932: Robert and Courtland Gross take control of company after the bankruptcy of Detroit Aircraft.

Company renamed Lockheed Aircraft Corporation, reflecting the company's reorganization under
a board of directors.

1943: Lockheed's Skunk Works founded in Burbank, California.

1954: First flight of the Lockheed C-130 Hercules.

1954: Maiden flight of the Lockheed U-2.

1961: Grand Central Rocket Company acquired as Lockheed Propulsion Company.

1962: First flight of the A-12 Blackbird.

1964: First flight of the Lockheed SR-71 Blackbird.

1970 First flight of the L-1011 TriStar.

1976: The Lockheed bribery scandals.

1977: Company renamed Lockheed Corporation, to reflect non-aviation activities of the company.
1978: The company's Hollywood-Burbank Airport is sold to its nearby cities and becomes
Burbank-Glendale-Pasadena Airport (later renamed Bob Hope Airport in 2003).!28!

1981: First flight of the F-117 Nighthawk.

1985: Acquires Metier Management Systems.

1986: Acquires Sanders Associates electronics of Nashua, New Hampshire.

1991: Lockheed, General Dynamics and Boeing begin development of the F-22 Raptor.

1992: All aerospace related activities end at the Burbank facility.

1993: Acquires General Dynamics’ Fort Worth aircraft division, builder of the F-16 Fighting Falcon.

 

1995: Lockheed Corporation merges with Martin Marietta to form Lockheed Martin.

Divisions

Lockheed's operations were divided between several groups and divisions, many of which continue to
operate within Lockheed!29]

Aeronautical Systems group

Lockheed-California Company (CALAC), Burbank, California.
Lockheed-Georgia Company (GELAC), Marietta, Georgia.
Lockheed Advanced Aeronautics Company, Saugus, California.
Lockheed Aircraft Service Company (LAS), Ontario, California.

Lockheed Air Terminal, Inc. (LAT), Burbank, California, now Bob Hope Airport and owned by the
Burbank-Glendale-Pasadena Airport Authority.

Missiles, Space, and Electronics Systems Group

Lockheed Missiles & Space Company, Inc., Sunnyvale, California.
Lockheed Propulsion Company, Redlands, California.
Lockheed Space Operations Company, Titusville, Florida.

Lockheed Engineering and Management Services Company, Inc., Houston, Texas.

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Marine Systems group

Lockheed Shipbuilding Company, Seattle, Washington.
Lockport Marine Company, Portland, Oregon.

» Advanced Marine Systems, Santa Clara, California.

Information Systems group

Datacom Systems Corporation, Teaneck, New Jersey.
CADAM Inc., Burbank, California.

Lockheed Data Plan, Inc., Los Gatos, California.

DIALOG Information Services, Inc, Palo Alto, California.
Metier Management Systems, London, England.

Integrated Systems and Solutions, Gaithersburg, Maryland.

Product list

A partial listing of aircraft and other vehicles produced by
Lockheed.

Airliners and civil transports

Lockheed Vega

Lockheed Model 10 Electra

Lockheed Model 12 Electra Junior “ ae
—— Lockheed's most advanced airliner,

Lockheed Model 14 Super Electra the L-1011 Tristar

Lockheed Model 18 Lodestar

Lockheed Constellation, airliner

Lockheed L-049 Constellation, first model of the Lockheed

Constellation

Lockheed L-649 Constellation, improved Lockheed
Constellation
Lockheed L-749 Constellation, further improved Lockheed

Constellation
Lockheed L-1049 Super Constellation, largest produced

model of the Lockheed Constellation -

aoeneee | 649 Starliner, last model of the Lockheed Odakyu Type 500 monorail, 4990.
(1966-2001)

Lockheed Saturn

Lockheed L-188 Electra
Lockheed JetStar, business jet
L-1011 TriStar, wide- gooey airliner

 

 

 

 

 

 

 

 

 

 

 

 

in service from 1966 to 1974

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Military transports cee 7

# Lockheed C-69/Lockheed C-121 Constellation, military
transport versions of the Constellation

 

» YC-121F Constellation, experimental turboprop version

» Lockheed R6V Constitution, large transport aircraft
» Lockheed C-130 Hercules, medium combat transport (AC-130

gunship) (other variants)
» Lockheed C-141 Starlifter, long-range jet transport Sacerveall Himeji Monorail a

» Lockheed C-5 Galaxy, heavy transport 202, November 2009. (1966-1974)
« Flatbed, military transport project, canceled

 

 

 

Fighters

» Lockheed P-38 Lightning, twin-engine propeller fighter

» Lockheed P-80 Shooting Star, the United States Air Force's first
operational jet fighter

» Lockheed T-33 Shooting Star, trainer jet

» Lockheed F-94 Starfire, all-weather fighter’

« Lockheed F-104 Starfighter, interceptor and later a multi-mission
fighter, the ‘missile with a man in it'

» Lockheed F-117 Nighthawk, stealth fighter attack aircraft
» General Dynamics F-16 Fighting Falcon, multirole fighter (Originally

General Dynamics)
« Lockheed YF-22, air superiority stealth fighter

 

 

 

 

Lockheed Trident II missile,
introduced in 1990.

 

Patrol and reconnaissance

« Lockheed Hudson, maritime patrol/bomber
» PV-1 Ventura and PV-2 Harpoon, Maritime patrol/bomber

» PO-1W/WV-1 Constellation, AWACS version of the
Constellation

» EC-121/WV-2 Warning Star, AWACS version of the Super

Constellation
» Lockheed P-2 Neptune, maritime patrol
» Lockheed P-3 Orion, ASW patrol

 

 

 

» Lockheed U-2/TR-1, reconnaissance Lockheed's advanced upper racket
» Lockheed SR-71 Blackbird, reconnaissance (A-12) (M-21) stage, the Agena.
(YE-12)

» Lockheed S-3 Viking, patrol/attack
» YO-3A Quiet Star

Helicopters

» Lockheed CL-475, rigid-rotor helicopter
= XH-51A/B (Lockheed CL-595/Model 286), compound helicopter testbed
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1/19/2020 Case 2:18-cv-02119-TJIS Docuh®hrasrrrea CHe4H0 Page 33 of 186
» Lockheed AH-56 Cheyenne, prototype attack compound helicopter

Missiles

= UGM-27 Polaris
» UGM-73 Poseidon
» UGM-89 Perseus
= Trident

» UGM-96 Trident |

# UGM-133 Trident Il

High Virgo

Space technology

» Lockheed X-/
=» Lockheed X-17
» Lockheed L-301 (aka X-24C)
=» Lockheed Star Clipper
= Corona
» RM-81 Agena
= Agena target vehicle
» Apollo Launch Escape System

Sea vessels

» Sea Shadow

See also

= Lloyd Stearman
» California during World War Il

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Page 1
IN THE COURT OF COMMON PLEAS

PHILADELPHIA COUNTY, PENNSYLVANIA

ROBERT J. KRAUS and : APRIL TERM,
MARGARET M. KRAUS, : 2018
h/w :

Vv.

ALCATEL-LUCENT, et :
al. : NO. 3448

November 27, 2018

Videotape trial of ROBERT
KRAUS, taken pursuant to notice, was held
at the offices of Magna Legal Services,
1635 Market Street, Philadelphia,
Pennsylvania, commencing at 9:40 a.m., on
the above date, before Melissa Broderick,
a Professional Court Reporter and Notary
Public for the Commonwealth of

Pennsylvania.

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Page 42 Page 43
1 speculation, no foundation, 1 if you know?
2 overbroad, time, place. 2 DEFENSE COUNSEL: Same
3 THE WITNESS: That one I can 3 objection.
4 answer because of work J did at -- 4 THE WITNESS: Yeah, because
5 for example, I was an engineer at 5 -- well, because I've had
6 General Electric. 6 experience both at Control Data,
7 BY MR. PAUL: 7 at GE.
8 Q. Right. 8 We were working on -- when I
9 A. And I've also got chemo 9 worked at Control Data, I was
10 brain. 10 designing changes/modifications to
11 Q. Well, we'll get to that. 11 the flyover target card computer
12 We'll get to that in a bit. 12 system. It was a military system.
13 A. But I'm saying I can't 13 When I was working at GE, I
14 remember things that I heard five minutes 14 had two different jobs. And
15 ago. Sometimes I can't remember people's [15 first, I worked on equipment for
16 names. 16 controlling satellites in orbit.
17 Q. Allright. 17 And the other one was, is I worked
18 A. So what was the question, 18 for the MIRV program.
19 again? 19 BY MR. PAUL:
20 Q. My question was, if you 20 Q. What is that?
21 know, if there's a difference between 21 A. You've heard of multiple
22 this Navy equipment you were -- 22 independently targeted reentry vehicles,
23 A. Oh, okay. Right. 23. MIRVs.
24 Q. -- and civilian equipment, 24 Q. Okay.
Page 44 Page 45
1 A. Those are missiles that go 1 High temperature was death to a power
2 _up, and they carry a lot of smaller 2 tube -- J mean, to a transistor.
3. missiles. And each one of those serve as 3 A transistor is -- when
4 separate missiles, is independently 4 they're operated at a high power, they
5 targeted. 5 actually get very hot. But that was one
6 So you could send up what 6 of the limits as to how hot you could
7 looks like one missile, but it has 7 make them and not destroy them. And so
8 several missiles inside. And you can 8 the Navy always wanted ones that it
9 target each one of those independently, 9 tested to the very highest power that it
10 so that they would go to their particular 10 could get.
11. city or wherever they were going to go. 11 Q. When you say tested to the
12 And the answer to your 12 highest power, you mean ability --
13 question, there were -- all of the 13 A. Highest temperature, power,
14 military equipment required that the 14 whatever. They're kind of synonymous.
15 components are MIL-SPEC. That means they {15 If you run a lot of power or energy
16 meet military specification, which is a 16 through it, then it gets very hot.
17. more rigid specification than you would 17 DEFENSE COUNSEL: Motion to
18 have, for example, in your home TV or any 18 strike nonresponsive portions and
19 of your other equipment, your cell phones 19 based on speculation.
20 today, or whatever. 20 BY MR. PAUL:
21 And that was equipment that 21 Q. Following up counsel's
22 was tested to, like, whatever -- the 22 objection, he says you don't know what
23 equipment -- where it was going to be 23 yourre talking about. So could you
24 used would experience high temperatures. 24 respond to that, and explain to him

 

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12 (Pages 42 to 45)

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Page 22 Page 23
1 candidate school. If they accept you, 1 date, but it's in my data here -- I was
2 then you go to Newport, Rhode Island, and 2 ordered to report to a ship, the USS
3 you basically study Navy. You study 3 Cambria.
4 jeadership. You study everything you 4 And it was actually a
5 ever wanted to know about the military, 5 two-step process. First, ] was supposed
6 what is it is and what your status in the 6 to report to training school in, I think
7 organization and so forth. They teach 7 ~~ it was, Little Creek, Virginia. Because
8 you navigation and a lot of the things 8 the Cambria is an amphibious Navy -- it's
9 associated with sailing. 9 one of the ships that carries the
10 Q. What did -- what was your 10 Marines -- we traveled in a squadron, and
11 job duties in the Navy? 11  soJ needed to know more about that. So
12 A. So after I graduated from 12 they sent me to school for that.
13 OCS, J accepted the commission as an 13 The ship was in the
14 ensign. I'd actually been an enlisted 14 Mediterranean at that time. It came back
15 man. When you go to OCS, if you fail 15 to the states. And so as the -- I was
16 — out, you would end up in the enlisted 16 appointed the electro -- electronics
17. Navy. 17 material -- EMO. I think it's electronic
18 So I have two honorably 18 material officer was the title they gave
19 discharges, one from there, one from 19 me. It had specific responsibilities.
20 officer candidate school, and the second 20 Q. What were those?
21 from the Navy. 21 A. And Iwas responsible for
22 But my assignment, I was -- 22 every piece of electronic equipment on
23 the day after I was commissioned, which 23 that ship working constantly and
24 was in June. I don't remember the exact 24 _ regularly.
Page 24 Page 25
1 Q. Can you describe types of -- 1 see. You can't see enemies. You can't
2 when you say electronics equipment, what 2 see anything you might run into. We
3. are you talking about? 3 would typically sail darkened ship when
4 A. The two biggest things we 4 we were in a squadron.
5 had were two radars. We had an air 5 The brunt of the equipment
6 search radar and surface search radar. 6 was the radios. We had radio,
7 The air search radar would see out about 7 ~~ transmitters, and receivers. Last count,
8 300 miles. And that's what it did. It 8 we had almost -- that I did from a list I
9 looked for aircraft. Also, looked for 9 prepared -- and you've all seen that, I
10 = missals -- 10 think -- we had over 300 -- after the
11 Q. Okay. 11 _ ship had an overhaul, it was shortly
12 A. -- that were aimed at the 12 after I went aboard the ship -- we had
13 _ ship. 13 over 300 pieces of electronic equipment
14 We also had a piece of 14 on the ship.
15 equipment, electronic countermeasures 15 Q. What did you have to do with
16 equipment, which was used to try to 16 the electronic equipment?
17 confuse any missals, if they were sent at 17 A. It was considered a
18 ourship. So that's the air search 18 managerial job, or you could also
19 radar. 19 consider it -- I mean, it was largely
20 We had a surface search 20 administrative. What I did is J actually
21 radar, which is just as important. In my 21 worked -- I worked out of the ET shop.
22 opinion, these were about two of the most 22 Q. What is that?
23 important pieces of equipment on the 23 A. Which is a shop on board the
24 ship, because without them, you can't 24 — ship that was specifically for

 

 

 

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7 (Pages 22 to 25)

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maintaining and repairing all the
electronic equipment.

And so I was responsible for
making sure that all of the regulations
-- and the Navy has a lot of regulations
on when and where and what happens to
every piece of that equipment. Asa
matter of fact, at one point in time, I
had to sign for every piece of equipment,
okay.

And so there were periodic
maintenances that were required for
different -- it varied depending on the
piece of equipment. And we had a lot of
other types of equipment, too, besides
radios, but I won't go into that for this
second.

But each piece of equipment
had its own special card, okay. And it
kept track of -- and other documents that
went along with that -- kept track every
time that one of those pieces of
equipment came in, when it was
maintained, when it was due for another

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regular maintenance.

And we made changes to the
equipment periodically, if it was
improved or updated, and we would do some
type of an alteration. A lot of these
things were called ship alts.

And so I was just there for
that purpose, to make sure that -- that
position was to monitor, make sure that
all of these things were done. If there
was a particular issue with a particular
piece of equipment, I had to know about
it. I had to do something about it.

We've had situations where
-- we had 24 landing craft on board that
ship to land 1200 Marines that we
carried. And the radios we were using on
those boats, when we put the Marines in
the water on our boats, they'd typically
go out, and they would circle until they
were all in this formation. They had to
be able to communicate with the ship.
They had to be able to communicate with
each other. And they were still using

 

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World War II radios that they were
constantly breaking down.
So that was one of the
things we had to find a resolution for,
that is, me and -- I had the chief petty
officer. That's equivalent to a sergeant
in the Army, if you're not used to Navy
lingo. And, eventually, to a master
chief petty officer, as my ET crew grew
from 12 to some higher number, 15 or so.
So it was an administrative

job that doesn't sound very sexy, but it
had an awful lot of problems that we had
to work out.

Q. Well, you've mentioned --
used a couple of terms, and I wanted to
ask you about those. You used the term
"periodic maintenance" a minute ago.

A. Uh-huh.

Q. What is periodic
maintenance? avila happens in a periodic
maintena:

A. Typical piece of equipment
-- most of the equipment on -- the

 

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Page 29

electronic equipment was rack mounted.

Q. What does that mean?

A. And that means there were
literally these racks -- these structures
that are like a framework. And there --
a lot of them are in the radio -- I say
radio rooms. We had about -- I think, up
to five radio rooms on the ship, because
we were the flagship, so we carried the
flag officer. He had all of his own --
duplicated everything we had except for
the radars.

So maintenance, we would
bring the piece of equipment in. We'd
take it out of the rack. So now, where
you could originally see the front panel,
but you couldn't see the rest of the
particular electronic equipment, when you
took it out, you could see all of that
because it was cabinets that enclosed it
were still sitting back in the radio
room.

We'd bring it down to the ET
shop. And the first thing they would do

 

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8 (Pages 26 to 29)

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1 is they would clean it, okay. 1 in your house, if you let it sit there
2 Q. When they cleaned it, what 2 for a long time -- and they were -- and
3. did they do? 3. they were hot, typically.
4 A. There were two different 4 DEFENSE COUNSEL: Same
5 ways they typically cleaned it. One, 5 objection.
6 they used a vacuum, and would vacuum out 6 THE WITNESS: Most of the
7 every part of the radio they could get 7 radios had electronic tubes. Some
8 to. 8 had electronic tubes and
9 And the second was -- well, 9 transistors, a combination. And
10 they used some chemicals periodically, if 10 if you've ever looked in anything
11 there was corrosion, or if there were 11 -- any piece of equipment, like
12 problems with any equipment making proper |12 your TV, for example, at home,
13 contact with switches, for example, that 13 it's going to get very dusty
14 were in there. We would -- so that was 14 inside.
15 it. 15 And so that's basically what
16 DEFENSE COUNSEL: Belated 16 they were doing, vacuuming
17 objection. Overbroad as to 17 whatever dust was in there.
18 equipment and time. 18 BY MR. PAUL:
19 BY MR. PAUL: 19 Q. What do you recall -- do you
20 Q. Why did the radios and these 20 recall any components of these radios?
21 other pieces of equipment have to be 21 DEFENSE COUNSEL: Objection.
22 vacuumed? 22 Overbroad as to equipment and to
23 A. Easiest way to say it is 23 time.
24 they got dirty. It's like anything else 24 MR. PAUL: You can answer
Page 32 Page 33
1 the question. 1 have to pull circuit boards yourself?
2 THE WITNESS: Could you 2 A. We would --
3 repeat the question? 3 DEFENSE COUNSEL: Same
4 MR. PAUL: Yeah. Have it 4 objections.
5 read back. 5 THE WITNESS: There were two
6 --- 6 ways -- two kinds of ways to take
7 (The court reporter read the 7 care of circuit boards problems.
8 pertinent part of the record.) 8 One, you could find out if there
9 --- 9 was component that was bad, for
10 DEFENSE COUNSEL: Also 10 example. Well, the tube I just
11 compound. 11 mentioned. But they both have
12 THE WITNESS: I'm not sure 12 circuit boards.
13 what you mean by components, but, 13 But the transistor, you
14 for example, there were circuit 14 could detect a bad transistor and
15 boards. 15 replace that. Sometimes, if you
16 BY MR. PAUL: 16 couldn't find the problem in the
17 Q. Circuit boards? i circuit board, then you replace
18 A. Ifthat's what you're 18 it, yeah.
19 talking about, yeah, circuit boards. 19 DEFENSE COUNSEL: Move to
20 Q. Okay. 20 strike nonresponsive portions.
21 A. The tubes themselves. They 21 BYMR. PAUL:
22 were all components. So if a tube went 22 Q. Was there any kind of cloth
23 bad, you could pull it and replace it. 23 or pad inside the radios?
24 Q. Okay. Circuit boards, you 24 DEFENSE COUNSEL: Objection;

 

 

 

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9 (Pages 30 to 33)

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1 BY MR. PAUL: 1 except for the radars, I think every
2 Q. What did you do as part of 2 piece of equipment we had, we brought
3 that second overhaul? 3 into the ET shop. And that was the main
4 A. Let me back up a little bit. 4 purpose for the ET shop.
5 So it was an unusual type of situation 5 DEFENSE COUNSEL: Objection;
6 because we took the ship to dry dock in 6 move to strike, lacks foundation.
7 Philadelphia. Our home port was Norfolk, f DEFENSE COUNSEL: Move to
8 Virginia. We took the ship to the dry 8 strike nonresponsive portions.
9 dock in Philadelphia, Philadelphia Naval 9 DEFENSE COUNSEL: Can the
10 Shipyard. 10 court reporter read that last
11 And then we kept on board 11 answer?
12 the crew that was needed to do the 12 5 ae
13. electronic overhauls that we were going 13 (The court reporter read the
14 todo at that point in time. Okay. We 14 pertinent part of the record.)
15 lived on the ship. We took every piece 15 - =>
16 of equipment that was on the ship, 16 DEFENSE COUNSEL: Move to
17 including the stuff from before -- that 17 strike speculative portions.
18  wehad before, plus the new equipment 18 MR. PAUL: Okay.
19 that came aboard, and we overhauled or 19 THE WITNESS: Next, I heard
20 did whatever maintenance was needed to 20 -- are we still on?
21 update the -- to make sure all of the 21 MR. PAUL: We're still on.
22 changes to the equipment that was already [22 Yeah.
23 on board were done. 23 THE WITNESS: I mentioned
24 And, effectively, we took -- 24 that we didn't bring the radar in.
Page 180 Page 181
1 I think we missed that somehow, 1 I saw every piece of
2 but... 2 equipment they brought in. I saw more
3 THE COURT REPORTER: I said 3 than some of the ETs because they tend to
4 that. 4 work on certain pieces of equipment.
5 THE WITNESS: Oh, you did? 5 Q. What kind of maintenance --
6 THE COURT REPORTER: Yeah. 6 DEFENSE COUNSEL: Move to
7 --+- 7 strike the nonresponsive portions.
8 (The court reporter read the 8 BY MR. PAUL:
9 pertinent part of the record.) 9 Q. Okay. What kind of
10 --- 10 maintenance did you see performed on the
11 BY MR. PAUL: 11 equipment in the ET shop during the
12 Q. Allright. Well, let's talk 12 second overhaul?
13 about what was in the shop, and then 13 DEFENSE COUNSEL: Objection;
14 ~~ we'll talk about the radar. 14 form, vague, compound, overbroad,
15 What did you see done in the 15 lacks foundation.
16 shop during the second everhaul in 1965? 16 THE WITNESS: It's a
17 A. I lived in that shop 17 combination of different things
18 basically. I mean, I wasn't standing 18 they did. I forget the name they
19 watches. I wasn't doing any of my other 19 have for them, but they had -- I
20 duties. I mean, there were two rooms on 20 think they called them field
21 that ship. You don't walk around on the 21 changes. There was -- any type of
22 — ship in dry dock much. J was either in 22 a change -- as equipment aged, the
23 the ET shop, or I was in my room 23 Navy would make modifications.
24 — sleeping. 24 For example, they took some

 

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radios, and they maybe replaced
them with other radios that were
solid state. So that would be a
case where they would -- we would
actually lose a piece of

equipment. We'd get a substitute
for it.

But for the most part, we
would just look for changes that
could be made in the equipment
that's already on board, that
would update the equipment --
particular equipment.

We had -- other things that
we did, if there were any tubes --
any electronic equipments that
weren't working properly, we'd
service them, just the same as we
would have if we were at sea. The
only real difference was -- focus
was that we weren't at sea.

And we brought every piece
of equipment we had on board the
ship because they were all -- we

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could shut them all down. You
can't do that when you're at sea.
BY MR. PAUL:
Q. Did you--
A. So we -- at least as a
minimum, we'd take each piece of
equipment, unless it had been done very
recently, we'd clean it. If anything had
to be adjusted, then we'd readjust it.
Q. What was the condition --
DEFENSE COUNSEL: Move to
strike the speculative and
nonresponsive portions.
DEFENSE COUNSEL: Can we
move the microphone a little
closer to the witness?
THE WITNESS: Oh, sure.
DEFENSE COUNSEL: Thank you
so much.
BY MR. PAUL:
Q. What was the condition --
and this something -- we're going to go
off the tape a minute -- what was the
condition of the room where all this work

 

 

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was going on?

DEFENSE COUNSEL: Objection;
form, leading, lacks foundation,
assumes facts not in evidence,
vague.

THE WITNESS: It was very
cluttered. It was very busy. I
think we covered -- I mean, we had
two long benches in the ET shop.

We had -- when you have 12 ETs and
-- in that space, which was a

pretty good size for a ship, it

was just -- it was a place you

couldn't keep clean. Let me put

it that way.

MR. PAUL: Allright. Well,
let's go off the video for a
minute because we have to change
the tape.

THE VIDEOGRAPHER: This
concludes video 1. The time is
12:16 p.m. We are off the record.

(Off the record.)

THE VIDEOGRAPHER: The time

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is 12:26 p.m. This is the

beginning of video 2. We are on

the record.
BY MR. PAUL:

Q. Okay. You were discussing
earlier the equipment that was in the
room. Okay? Are you able to -- today,
to remember a specific one of the
products that were -- that were on this
chart that were in the room?

And I'm excluding the radar
equipment for the moment.

A. Yeah, we didn't -- because
we didn't bring the radar equipment in.

Q. Right. Of course, not.
That's why I'm not asking about that.

A. It's too big.

I really don't, but I can

say that our goal was to bring every
piece of electronic equipment we had in.
And even if we didn't do anything to
it -- if we'd just, for example,
maintained it, you know, the day before,
we would at least check the card and make

 

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47 (Pages 182 to 185)

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1 going to get to that in a minute. 1 picking. We could take any piece of
2 Do you recall being exposed 2 equipment.
3. to any particular ones of these products 3 We actually -- during this
4 or not? 4 overhaul, we actually -- some of the crew
5 DEFENSE COUNSEL: Objection; | 5 from the shipyard actually moved walls.
6 form, vague, ambiguous, lacks 6  Wechanged some of the equipment around.
7 foundation, calls for speculation, 7 Some ended up going into the flag
8 assumes facts not in evidence. 8 officer's quarters -- or their offices,
9 THE WITNESS: The answer is, 9 which are up -- high up in the ship. But
10 no, I really don't recall any 10 every one of these pieces of equipment
11 particular -- this was 50 years 11 was there for us to take because nobody
12 ago, and IJ have to stretch to 12 was using them. None of these people
13 remember some of the things I do 13 were aboard. And that's why we were very
14 remember. It's one of the reasons 14 busy. And that was our function.
15 I did a lot of research. 15 DEFENSE COUNSEL: Move to
16 BY MR. PAUL: 16 strike the speculative and
17 Q. Right. Well -- 17 nonresponsive portions.
18 A. But] don't remember, you 18 BY MR. PAUL:
19 know, which equipment. I just -- all I 19 Q. You mentioned a radar?
20 know is all the equipment that Cambria 20 A. Yeah.
21 had on board that ship was at least 21 Q. Is that a separate piece of
22 monitored and usually changed. But each 22 equipment that was not worked on in the
23 one of them was brought down to the ET 23 shop?
24 shop because everything was there forthe [24 A. Yeah, it was too big. The
Page 208 Page 209
1 -- we had two radars, as J said. 1 was another opening where that was
2 DEFENSE COUNSEL: 2 maintained, and that was on a different
3 Objection -- 3 mast. The SPS-40-was.on-one-of the.masts
4 THE WITNESS: The air search 4 on the front of the ship. The SPS 10 was
5 radar was very, very big. 5 on one of thie masts more near the center
6 DEFENSE COUNSEL: Objection; 6 of the ship.
7 overbroad. a But they each had the two
8 THE WITNESS: It had -- it 8 rotating antennas. There was a
9 was at the top of a mast. 9 transmitter and a receiver-totransmit a
10 Actually, I'll just take them one 10 pulse, which would bounce-off-and then
11 at a time. “Fhat's the SPS 40. It 11 the receiver would receive it and amplify
12 was at the top of a mast. ° 12 it. And it would show up on your -- the
13. BY MR. PAUL: 13 scanner that we had, the oscilloscope. I
14 Q. That's the SPS 40, you said? 14 forget -- I forget the real name for the
15 A. The AN SPS 40. 15 — screen that the people that were on board
16 Q. Okay. 16 -- CIC and ever who else -- we had what
17 A. At the bottom of the mast 17 we called repeaters, where they could
18 was -- masts are huge on those ships. 18 look, and they could see these blips, and
19 Okay. They're hollow. They're steel -- 19 they could interpret them as whatever,
20 was a door that you -- when you opened 20 — surface craft, aircraft.
21 _ the door -- and that's where the 21 DEFENSE COUNSEL: Move to
22 electronic equipment for the SPS 40 was 22 strike the nonresponsive portions.
23 located. 23. BY MR. PAUL:
24 Similarly, the SPS 10, there 24 Q. Did you, yourself, work on

 

 

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Page 210 Page 211
1 the electronic equipment in the SPS 10? 1 It was a very, very special,
2 DEFENSE COUNSEL: Objection; | 2 state of the art in those days,
3 asked and answered. 3 piece of equipment.
4 MR. PAUL: No, that is 4 DEFENSE COUNSEL: Move to
5 definitely not asked and answered. 5 strike.
6 THE WITNESS: No, I didn't. 6 THE WITNESS: And one
7 The only time I can remember 7 time -- I did go out at least
8 working on one of the radars was 8 once -- but the captain was very,
9 in the SPS 40. 9 very upset when that was down.
10 The SPS 40, when it worked, 10 And so I was on the field
11 was a beautiful piece of 11 rep's back. If he was down there
12 equipment. You could pick up a 12 in that little room working on the
13 target 300 miles, which is -- back 13 radar system, I'd want to know
14 in -- I believe, in 1964, '65, 14 what the problem is, how long is
15 that was pretty phenomenal. But 15 it going to take, do you have the
16 it broke down all the time. And 16 parts that you need to repair it,
iL? it was the most modified piece of 7 and so forth, because -- just
18 equipment we had on the ship. 18 because of the captain. It was
19 We had a field -- a field 19 that and the other radar, the
20 rep who came out and helped get 20 surface search radar, were two
21 that thing operating. If there 21 vital pieces of equipment that
22 were field changes, updates that 22 they didn't want to be without.
23 were made -- and there were 23 DEFENSE COUNSEL: Move to
24 several -- that's who would do it. 24 strike the nonresponsive portions.
Page 212 Page 213
1 BY MR. PAUL: il DEFENSE COUNSEL: Move to
2 Q. Do you remember who -- what 2 strike speculation and
3 company the field representative worked 3 nonresponsive portions, improper
4 for, for the SPS 40? 4 refreshing of recollection.
5 DEFENSE COUNSEL: Objection; | 5 THE WITNESS: No, it was the
6 leading, lacks foundation, calls 6 SPS 10 that was Raytheon. The SPS
7 for speculation. i 40 --
8 THE WITNESS: I want to say 8 DEFENSE COUNSEL: Improper
9 Raytheon. I'd have to go back and 9 refreshing of recollection.
10 look. Because I actually found 10 THE WITNESS: -- I think it
11 documents that showed all the 11 started out with Lockheed Martin,
12 different versions of the SPS 40 12 but then when they -- the company
13 radar. 13 started to get sold and bought by
14 And I looked for the version 14 other companies. It changed
15 when I was on board, and it 15 hands.
16 definitely wasn't all solid state. 16 BY MR. PAUL:
17 It was partially tubes. It had a 17 Q. So you were --
18 magnetron. 18 DEFENSE COUNSEL: Move to
19 But I think we have -- in 19 strike speculation and
20 our records there, we do have -- 20 nonresponsive portions.
Del matter of fact, I could look on 21 BY MR. PAUL:
22 here and see. 22 Q. How did you know that it was
23 MR. PAUL: That's all right. 23  aLockheed representative on the SPS --
24 I'm not asking what you -- 24 DEFENSE COUNSEL: Assumes

 

 

 

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Page 214 Page 215
1 facts not in evidence -- il transferred from another ship or a
2 MR. PAUL: Excuse me. I'm 2 helicopter to get to us.
3 not finished asking my question. 3. BY MR. PAUL:
4 Could you please wait? 4 Q. Do you remember his name?
5 BY MR. PAUL: 5 A. It wasn't always the same
6 Q. How did you know? Did he 6 guy.
7 havea logo? Did he have a uniform? Did 7 Q. Oh, it was not always the
8 he give you a business card? How did you 8 same guy?
9 know? 9 A. Yeah,
10 DEFENSE COUNSEL: Same 10 Q. Well, so the SPS 40 wasn't
11 objections. 11 worked on just one time in your presence?
12 THE WITNESS: He was the 12 It was worked on more than once?
13 only guy on board in civilian 13 A. Worked ona lot. Worked on
14 clothes. How about that? 14 alot.
15 DEFENSE COUNSEL: Same 15 DEFENSE COUNSEL: Objection;
16 objections. 16 leading.
17 THE WITNESS: He was -- I 17 THE COURT REPORTER: Can you
18 worked with him when he came on 18 say -- I didn't hear your answer.
19 board. He came to see me. I 19 THE WITNESS: Oh, it was
20 mean, that was part of my 20 worked on a lot, yeah. It was --
21 function. Okay? And so J knew 21 BY MR. PAUL:
22 who he was. 22 Q. How often was the
23 He didn't get to our ship a 23 electronics worked on, on the SPS 40, in
24 very easy way. Very often, he was 24 your presence?
Page 216 Page 217
1 DEFENSE COUNSEL: Objection; 1 Q. Uh-huh.
2 vague, ambiguous, overbroad. 2 A. -- to help cool that part of
3 THE WITNESS: Well, it was 3 the ship.
4 only the one time that I know of 4 Q. Okay.
5 that I was down there when they -- 5 A. Jn other words, it's part of
6 BY MR. PAUL: 6 the ventilation system that we had which
7 Q. Okay. 7 was --
8 A. -- opened it up. 8 Q. Was there any deck work or
9 Q. Okay. Were you ever in the 9 insulation of pipe work done in your
10 other parts of the ship, like the engine 10 vicinity?
11 room or the fire rooms? 11 A. Not that I recall.
12 A. When I went aboard the ship, 12 Q. Allright. Have we now
13 Iwas given a complete tour. That 13 talked about everything that you did in
14 included the engine room. 14 the Navy, or have we missed any jobs or
15 Q. Okay. 15 activities that you had in the Navy?
16 A. And the one thing I learned 16 A. Well --
17 about the engine room is that I never 17 Q. We've talked about the watch
18 wanted to go back there again. It was 18 officer. Other than that -- and you
19  Jike 110 degrees and super dry. It's not 19 talked about that, as well as the
20 the kind of place you want to go. 20 electronic work. Anything else other
21 Q. Okay. I got you. 21 _ than the electronic work and the watch
22 A. We used -- but we used 22 officer work that you can recall?
23 cooling air from, like, in the winter, 23 A. Yeah. I'm not sure this is
24 for example -- 24 _ really -- well, the other job J had was

 

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1 kind of a good job. I had -- I was in 1 It was in Philadelphia here. J can't
2 charge of -- I was called a special 2. remember where. And one of the companies
3. services officer, which is a fancy name, 3 that showed immediate interest -- and,
4 but ] was in charge of recreation on the 4 later, I learned it was because I had a
5 ship. 5 top secret clearance, which was good for
6 Q. Allright. We'll pass over 6 the job I was going to have because they
7 that. 7 wanted -- they wanted me to redesign part
8 A. Yeah. 8 of the targeting system for the flyover
9 Q. After -- I know what those 9 target card computer system, which is a
10 guys do. 10 system that targets the missiles. Okay.
11 After you were in the Navy, 11 And since | really didn't
12. what was your next job? 12 have any digital experience -- that's
13 A. Next job is Control Data in 13 one piece of experience I didn't have
14 Minneapolis. 14 much of when I was in Penn State because
15 Q. Now, you mentioned that a 15 the digital world was just starting, and
16 little bit before. Can you just tell us 16 alot of it was pure mathematics -- they
17 briefly what you did for Control] Data? 17 sent me to their own school. There was
18 A. Iactually started off with 18 no place to get an education at that time
19 =~ well, I told you I was the crypto 19 on digital design.
20 officer and -- 20 Q. But, basically, your job
21 Q. Yeah, you did. You did. 21 with Control Data had to do with the
22 A. Okay. And eventually, I had 22 missiles, primarily, right?
23 atop secret clearance. So when I went 23 A. It had to do with
24 looking for a job, I went to a job fair. 24 redesigning part of the equipment,
Page 220 Page 221
1 electronics equipment, which happens to 1 __ satellites. They had people that sat
2 be -- they wanted a keyboard -- 2. there and controlled satellites.
3 Q. Right. 3 And so that's the kind of
4 A. -- that they could 4 equipment that I was designing. That was
5 communicate with more and quickly target, 5 my first job there.
6 without going through the old process, 6 Q. How long were you in Valley
7 which was very laborious. 7 Forge?
8 Q. After Control Data, where 8 A. Thave to look at my list.
9 did you go to work? 9 Q. Approximately.
10 A. J went to work at GE. 10 A. You've got the dates.
11 Q. And which facility of GE did 11 Q. Approximately.
12. you work at first? 12 A. Acouple of years.
13 A. Valley Forge -- 13 Q. Okay. And while you were at
14 Q. And what did you do -- 14 Valley Forge, were you ever near any
15 A. -- Pennsylvania. 15 pipes in the plant?
16 Q. What did you do out there in 16 DEFENSE COUNSEL: Objection.
17 ~~ Valley Forge? 7 THE WITNESS: Not that I
18 A. My initial job was to design 18 remember.
19 circuitry for aerospace ground equipment. 19. BY MR. PAUL:
20 What that is, that's the equipment that 20 Q. You don't know one way or
21 -- the equipment that you see these 21 the other, or you think not, or you think
22 people that we send a missile up, for 22 yes?
23 example, that sit there and control the 23 A. Well, I knew that -- what
24 missile. They did the same thing for 24 they did at Valley Forge, they were -- at

 

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1 that time, they were going crazy. They 1 Q. Venticinque?
2. had so many jobs, and they didn't have 2 A. Yeah.
3. enough room for everybody. So they 3 Q. Do you know where --
4 actually converted bathrooms into 4 A. Ted 25.
5 offices, you know, without any windows or | 5 Q. Do you know where he lives?
6 whatever. 6 A. Not anymore.
7 So they would -- in tearing 7 Q. Or lived at the time --
8 up the bathrooms, did they expose any 8 A. I lost track. But he lived
9 pipes? I mean, I don't know. That would 9 in -- that inexpensive housing, which I
10 be pure -- 10 can't remember the name of, over in New
11 DEFENSE COUNSEL: Move to 11 Jersey, though. Levittown.
12 strike nonresponsive portions. 12 Q. Levittown. I was going to
13. BY MR. PAUL: 13 ask -- I meant to ask you one question --
14 Q. You have no idea? 14 — go back to the Navy for a second --
15 A. Idon'tknow. Yeah. That's 15 A. Yeah.
16 the only information I have. 16 Q. -- did you ever see a
17 Q. Okay. Do you remember any 17 warning label about asbestos?
18 of the people you worked with at Valley 18 DEFENSE COUNSEL: Objection;
19 Forge? 19 leading, form, assumes facts,
20 A. One in particular. 20 calls for speculation, overbroad.
21 Q. Who was that? 21 THE WITNESS: Not that I
22 A. I'm trying to remember his 22 recall.
23 name here. Now you're testing me. Ted 23. BY MR. PAUL:
24  Venticinque. 24 Q. Did you ever see warning
Page 224 Page 225
1 labels about electrical problems? 1 So maybe that was while I was
2 DEFENSE COUNSEL: Same 2 waiting to get into school. I
3 objections. 3 don't remember.
4 THE WITNESS: About 4 But that's the only
5 electrical? 5 experience with high voltage
6 BY MR. PAUL: 6 equipment. And there were warning
7 Q. Electrical problems, avoid 7 symbols in there.
8 high voltage, anything like that? 8 BY MR. PAUL:
9 DEFENSE COUNSEL: Same 9 Q. There were?
10 objections. 10 A. Yeah.
11 THE WITNESS: If it was 11 Q. And you followed whatever
12 there, I didn't -- although, go 12 warning signals there were?
13 back to Control Data, one of the 13 A. Yeah. I just -- well, I
14 problems they were going on the 14 — knew what not to touch. I learned that
15 Polaris missile system had to do 15 going back to my days when -- Howdy Doody
16 with the power supply crashing. 16 days --
17 Okay. And they couldn't figure 17 Q. Okay.
18 out why because the current would 18 A. -- when I didn't realize
19 climb out of sight. 19 that just because you pulled the plug on
20 So my first assignment there 20 the TV didn't mean there wasn't a $300 --
21 -- well, while I was going -- or 21  300-volt charge in there.
22 after -- it was before I went to 22 Q. Did you work for GE anyplace
23 school -- was trying to find the 23 else?
24 problem that caused that surge. 24 A. Yeah. J moved to -- we're

 

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EXHIBIT D
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IN THE COURT OF COMMON PLEAS

PHILADELPHIA COUNTY, PENNSYLVANIA

ROBERT J. KRAUS and : APRIL TERM,
MARGARET M. KRAUS, : 2018
h/w :

Vv.

ALCATEL-LUCENT, et ;
al. : NO. 3448

November 28, 2018

Videotape discovery
deposition of ROBERT KRAUS, taken
pursuant to notice, was held at the
offices of Magna Legal Services, 1635
Market Street, Philadelphia,
Pennsylvania, commencing at 9:40 a.m., on
the above date, before Melissa Broderick,
a Professional Court Reporter and Notary
Public for the Commonwealth of

Pennsylvania.

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RA ACHAEA

 
 

 

 

 

Page 162 Page 163
1 didn't work like the captain wanted me to 1 yeah.
2 work. So we solved our problems 2 How much time do we have?
3 ourselves. 3 THE VIDEOGRAPHER: Under
4 Q. Okay. And is this the SPS 4 five.
5 A40here? * 5 MR. SMITH: Okay.
6 A. Yeah. 6 THE WITNESS: Then I can do
7 Q. And I think earlier -- 7 it on this one here also.
8 A. Can TI just -- let me take a 8 MR. SMITH: Just one of
9 look. 9 them. The first page is fine.
10 Q. Sure. Yeah, yeah, yeah. 10 THE WITNESS: You can see it
11 A. I'm guessing from a 11 very clearly. The SPS 10 would be
12 ~— distance. 12 behind this.
13 MR. PAUL: I think, for the 13 MR. SMITH: Well, we're --
14 future, it might be a better if 14 THE WITNESS: Oh, okay.
15 you put a circle around where the 15 This helps even more.
16 SPS 40 is. 16 BY MR. SMITH:
17. BY MR. SMITH: 17 Q. Right now, this is just for
18 Q. Yeah. Can you circle the 18  -- you know, I just want to ask about
19 SPS 40 mast, the mast? 19 that. We can move to that at some other
20 THE VIDEOGRAPHER: There'sa |20 point.
21 highlighter here. 21 But just circle the first
22 THE WITNESS: I can just 22 page with the SPS 40, so we don't confuse
23 circle. 23 people.
24 MR. SMITH: You can circle, 24 A. That's already circled.
Page 164 Page 165
1 Q. Okay. Excellent. 1 We had tech reps that came
2 Yesterday, you said that one 2 out and spent time on the ship.
3 time you saw work performed on the SPS 3 So I don't know the answer to
4 40. Do you recall that testimony? 4 that.
5 A. Yes. 5 MR. SMITH: Move to strike
6 Q. When exactly did that take 6 the nonresponsive portions.
7 ~~ place? 7 BY MR. SMITH:
8 A. Did you say when? 8 Q. Ijust want to go through
9 MR. PAUL: Til take the pen 9 this in an ordinarily manner. So if you
10 back. ~~ \ 10 can answer the question yes or no.
11 THE WITNESS; Oh, sorry. 11 A. Allright.
12 MR. PAUL: Listen to the 12 Q. Ifyou need to explain,
13 question. \ |13 _ that's fine, but it will be a little bit
14 THE WITNESS: Yeah,I heard | (14 = quicker.
15 the question. He was asking when } [15 A. Right. Okay.
16 I actually saw work performed on | |16 Q. Can you estimate at what
17 | the SPS 40, as I understand. | 17 point in time you saw work performed on
18 I just lost it. When, you 18 the SPS 40? Like, the first year or -
19 . said. I don't recall when. I 19 second year or third year. Maybe not a
20 \. know that we had a lot of problems 20 specific date, but just towards the
21 \with it. Jt was like -- I was on 21 beginning, towards the end. And if you
22 the ship three years, and we had 22 can't, that's fine.
23 problems with the SPS 40 all /\23 A. [really don't know. It was
24 three years. / |\24 — sporadic. J didn't always go when the

 

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Page l
IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT J. KRAUS and
MARGARET M. KRAUS, h/w,

Plaintiffs,

vs. No. 18-2119

ALCATEL-LUCENT, et al.,

Defendants.

 

VIDEOTAPED DEPOSITION OF ROGER GOSSETT
Suffolk, Virginia

Tuesday, August 20, 2019

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REPORTED BY: DEBRA-LYNN BAKER, RPR, CSR

 

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Page 46 Page 47
1 A Yeah. 1 not the wire.
2 Q_ -- what did you have to do to that 2 Q Yeah.
3. wire? 3 A And once you cut it, the insulation
4 And, again, I'm talking about the 390 4 goes flying into the trash can or on the floor.
5 for the moment. I'll get to some of the other 3 Q Did it ever fly in your face?
6 stuff ina bit. 6 DEFENSE COUNSEL: Objection to form,
ft A Well, it's just a matter of 7 leading.
8 determining, you know, you need a wire that's 8 THE WITNESS: No.
9 this long or that long, you cut it off, you strip 9 BY MR. PAUL:
10 the ends off of the insulation off the wire to 10 Q_ Okay.
11. expose the conductor and solder it back into 11 A You've got to be careful, you know,
12 place -- 12 you don't do things like that.
13 Q Okay. 13 Q_ Right. Were there any other pieces
14 A -- whether it's, you know, 2 inches 14 — or components of the R-390 that you recall?
15 long or a foot long. 15 A Mechanical components.
16 Q. What happened when you -- when you 16 Q_ Well, tell us about electronic.
17 cut the wire, as you describe it? Did you see 17 A Yeah.
18 anything happen, or did you see anything in the 18 Q Okay. What's a resistor?
19 air? 19 A A resistor is a piece of electrical
20 DEFENSE COUNSEL: Objection; form. | 20 equipment that's made to -- to impede the flow of
21 BY MR. PAUL: 21 electronics, and how much it impedes it depends
22 Q You can answer the question. 22 on how it's made. You can get them that are very
23 A No. Well, when you cut the wire, the 23  lowresistance or very high resistance --
24 insulation -- you have special cutters for the 24 Q Okay.
25 wire which, you know, will cut the insulation but | 25 A --and--
Page 48 Page 49
1 Q__ Do you know how they're made? 1 speculation.
2 A Basically, yeah. A bunch of -- first 2 BY MR. PAUL:
3 ofall, the engineers determine what resistance 5 Q Do you have any knowledge about what
4 they need. Okay? They're made in certain steps. 4 the compounds were made of?
5 The compounds that - the resistive conductive 5 A No, [haven't the slightest.
6 compounds are chosen to provide this 6 Q_ Now, we're talking about the 390 for
7 plus-or-minus resistance. 7 the moment.
8 Q_ Okay. 8 A Okay.
9 A And then they're incorporated into a 9 Q Was there a difference in resistor --
10 package with other stuff to keep them -- what can| 10 well, were resistors used in lots of other -- in
11 = Isay? To keep it together -- 11 _ other equipment?
12 Q_ Okay. 12 A Yes.
13 A -- okay, with two wires sticking out 13 Q Okay. What other pieces of equipment
14 ‘the end. 14 were the resistors used in that you recall?
15 That -- that's strictly the -- the 15 DEFENSE COUNSEL: Objection.
16 manufacturing process. Okay? Thathasnothing | 16 Again --
17 to do with my end where I -- 17 THE WITNESS: Every piece of
18 Q. Sure. 18. electronic equipment on the ship has resistors in
19 A --replace the resistors. 19 sit.
20 But that's -- yeah, that's -- 20 BY MR. PAUL:
21 Q_ Do you know any -- 21 Q Okay.
22 A -- that's basically how I -- how I 22 A Whether it has -- you know, the
23 know aresistor is made. 23 number is -- depends on the complexity of the
24 DEFENSE COUNSEL: Move to strike, 24 equipment. Some of the -- the transmitters had
25 lacks foundation, basis of foundation, 25  bundreds of resistors.

 

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Page 50 Page 51
1 Q Okay. 1 Thave previously marked as P-12. Okay. This is
2 A Some of the smaller components had 2 the SRT, not the SRR-13, this is the SRT-13.
3. two or three. 3 A SRT --
4 Q Okay. Well, take the ones that had 4 Q_ Okay.
5 hundreds. Can you recall which ones had hundreds 5 A --yeah, 14, 15, and 16.
6 of resistors in them? 6 Q Let's see if I have --
7 DEFENSE COUNSEL: Object to form. 7 A It's T for transmitter.
8 THE WITNESS: The SRT series 8 Q. Allright. Hang on a second.
9 transmitters. They were -- they were monstrous 9 Let's go off the video for a moment,
10 equipment that -- they stood 6 feet tall and 3 10 please.
11. feet wide and 3 feet deep. 11 THE VIDEOGRAPHER: We're off record
12 BY MR. PAUL: 12. at 9:40 a.m.
13 Q Okay. 13 (Discussion off the record.)
14 A And there was a lot of electronics in 14 THE VIDEOGRAPHER: We are back on
15 it. 15 record at 9:41 a.m.
16 Q Okay. Well, let's talk -- well, all 16 BY MR. PAUL:
17 right. The SRT-13, let's -- 17 Q Is there a difference between an
18 A Yeah -- 18  SRT-13 that you just mentioned --
19 Q_ --see if I can -- 19 A The SRT series, there's a 14, 15, and
20 A --SRT-14, 15, 16. 20 al6.
21 (Plaintiffs' Exhibit 12 was marked 21 Q Okay. Are they all about the same,
22 for identification by the court 22 ‘then?
23 reporter.) 23 A Well, like I said, the SRT was a
24 BY MR. PAUL: 24 — smaller 100-watt transmitter.
25 Q. Okay. Allright. Let's turn to what 25 Q. Right.
Page 52 Page 53
1 A As far as physical appearance, it's 1 Q You mentioned the SRR-13?
2 probably 5 feet tall -- 2 A SR--- I'm not sure on the S- -- it's
3 Q_ Okay. 3 an SRR -- it's a receiver.
4 A --a foot, a foot and a half wide, 4 Q_ Okay.
5 and acouple of feet deep. 5 A A small thing about this tall --
6 The SRT-15 is an SRT-14 with an 6 Q_ Okay.
7 amplifier beside it which -- 7 A --and 19 inches wide.
8 Q_ Okay. 8 Q_ Okay.
9 A -- doubles the width. 9 A __ It's used mainly strictly to receive.
10 Q Okay. 10 = Again, it's a piece of electronic equipment.
11 A Okay? And an SRT-16 is an SRT-14 and 11 ‘It's fairly complex.
12  anSRT-15 combined. So you -- in an FR -- SRT-16} 12 Q_ Okay.
13. you have -- basically have two transmitters, a 13 A But-
14  hundred-watt transmitter and a 500-watt 14 Q So it has resistors in it?
15 transmitter, both of which operate independently. 15 A Yes, it does.
16 THE VIDEOGRAPHER: You're covering | 16 Q_ Anything -- any other pieces of
17 ‘your mic. 17 equipment that it has in it?
18 BY MR. PAUL: 18 A Everything -- every piece of
19 Q. Allright. We talked about -- you 19 — electronic equipment has resistors in it.
20 mentioned an SRR-13. 20 Q Okay.
21 THE VIDEOGRAPHER: I'm sorry, you're | 21 A Okay? Like I said, it may be 3, it
22 covering your microphone, sir. 22  ~=might be 200.
23 MR. PAUL: Oh, sure. 23 Q Okay. What's a capacitor?
24 THE WITNESS: Oh, okay. 24 A A capacitor is an electronic
25 BY MR. PAUL: 25 component that is used to store electrical energy

 

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1 orto pass a signal through, depending, again, on 1 call it, with an insulating material in between
2 the way it’s built. 2 rolled up into a small or a large, depending on
3 Q_ And were there capacitors on the 3. what you -- you're building it, so that the two
4 Cambria? 4 _ wires connecting the two different metal plates
5 A Oh, yes. 5 or conductive surfaces --
6 Q_ Teli me about that. 6 Q Okay.
7 A Well, capacitors are just about as 7 A And it can be an itty-bitty little
8 ubiquitous as resistors are in most electronic 8 thing like, you know, your fingernail, or it can
9 equipment. 9 _ be that big and stand a foot tall, again,
10 Q_ Okay. 10 depending on what you're building it for.
11 A Yeah, it's -- you know, today, with 11 Q Okay. What's this insulat- -- if you
12 the integrated circuits and all this stuff, 12 know, what's the insulating material that you
13 they're -- they're out of sight. But back then, 13 just described a minute ago composed of, if you
14 you made electronic equipment out of resistors, 14 know?
15 capacitors, tube sockets, coils, you know, 15 DEFENSE COUNSEL: Object to form,
16 various small parts. 16 calls for speculation.
17 Q Okay. What's -- how is a capacitor 17 THE WITNESS: The only materials that
18 made, if you know? 18  Iknowof personally, because I have taken
19 DEFENSE COUNSEL: Object to form; 19 capacitors apart on occasion, just out of
20 calls for speculation. 20 curiosity, is wax paper or some type of
21 BY MR. PAUL: 21 insulating paper with something on it to keep it
22 Q You can answer the question. 22 from drying out and then wrapping the whole
23 A Capacitor? Well, let's see. The 23 shooting match in -- in a coat -- coating to
24 basic capacitor is two pieces of conducting 24 protect it from the environment.
25 material, aluminum, copper, whatever you wantto| 25 BY MR. PAUL:
Page 56 Page 57
1 Q Okay. Do you know what this 1 ocean.
2 insulating paper that's not wax paper was made 2 Q Sure. Did -- did -- do you recall if
3 of, if you know? 3. there was any cloth or board or paper inside the
4 A No, I do not. 4 box or any other kind of material inside the
5 Q_ Allright. You mentioned -- I am 5 boxes?
6 going down -- URR-13? 6 DEFENSE COUNSEL: Objection; leading.
7 A Yeah. I believe that is a -- if I 7 THE WITNESS: No.
8 remember correctly, that is the UHF receiver -- 8 BY MR. PAUL:
9 Q_ Okay. 9 Q Okay.
10 A -- ultra high-frequency receiver. 10 A Now, most -- most all shipboard
11 Q Is -- is there a difference in the 11 equipment is made ruggedized with metal, aluminum
12 composition and the -- and the -- of that product 12  orsteel --
13 from these others that you have mentioned so far? | 13 Q. Right.
14 A No. The only difference is the 14 A -- or whatever, you know.
15 frequency range in which they operate. 15 Q. Sure.
16 Q Okay. They all, basically, are 16 A There -- there's hardly any -- paper
17. designed and constructed the same way? 17 or light material like that would -- would be
18 A Yes. 18 fragile.
19 Q_ Okay. They came in a box, like ina 19 Q_ Okay.
20 = metal box? 20 A __ It's hardly ever used on shipboard.
21 A Yes. Everything came -- come ina 21 Q Okay. Do you remember any board, any
22 metal case. Especially, you know, being 22 heavy board or anything like that inside metal
23 _ shipboard, it has to be ruggedized for -- 23 boxes?
24 Q. Sure. 24 DEFENSE COUNSEL: Same objection.
25 A -- when we're having fun in the open 25 DEFENSE COUNSEL: Objection; asked

 

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1 and answered. 1 board, you pulled it out of the equipment,

2 BY MR. PAUL: 2 brought it down to the shop and troubleshot it

3 Q You can answer. 3 right there in the --

4 A Well, circuit boards are made in some 4 Q Okay.

5 of the equipment to plug in and, you know, 5 A --in the shop.

6 circuit boards are made of fiberglass, to my 6 Q Okay. When you opened up the

7 knowledge, with the components mounted on them 7 equipment, what did you have to do to the

8 and then some sort of a clear plastic, plastic 8 equipment? And, again --

9 used in the generic sense, some kind of a sealer 9 DEFENSE COUNSEL: Object to form, as
10 to prevent them from getting wet, getting dirty. 10 — overbroad.
11 Q_ Do you recall any particular pieces 11 BY MR. PAUL:
12 of equipment that had circuit boards? 12 Q_ Again, we're -- we're talking about
13 A Oh, yes. 13 either the SRR-13 or the SRR-11 or the 390A or
14 Q_ Okay. Go ahead. 14 the URR --
15 A Yeah. The cryptographic equipment, 15 DEFENSE COUNSEL: Same objection.
16 especially, had many circuit boards in it. 16 THE WITNESS: Yeah. Well, you know,
17. That's the KWR-26 and the -- KWR-37, the KW-26,! 17 depending on how the thing is made, it's -- once
18 KW-7s, they were all pretty much modernized upto} 18 you get the equipment open to where you can get
19 where they had 90 percent circuit boards. 19 at the insides, there's a couple of screws or
20 Q_ Okay. And did you have -- where were 20 many screws that you have to take loose to get
21 these -- you did maintenance on these products? 21 the module or the circuit board out.
22 A Yes. 22 BY MR. PAUL:
23 Q. Okay. And what part of the ship was 23 Q_ Okay.
24 that done in? 24 A Pull it out, take it to the shop and
25 A Well, if you maintain a circuit 25 sfx it.

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1 Q Did you ever have to use a vacuum 1 BY MR. PAUL:

2 cleaner? 2 Qs Okay.

3 A Yes. 3 A -- that -- you know, and -- and you

4 Q Tell me about that. Why would you 4 had a little book, you had to sign it saying,

5 use a vacuum cleaner? 5 yeah, yeah, we did it.

6 A Probably once a month, every couple 6 And you open it up, clean it out,

7 of months you'd open the equipment up, vacuum it] 7 clean the air filters, if so --

8 out, because dust collected in there, and it was 8 Q Okay.

9 part of our -- let me see. The name of the 9 A You know, if it had an air filter in
10 system was POMSEE. | don't, exactly, know what} 10 it, and basically make sure it was lubricated and
11 that stands for, but it was a preventative 11 cleaned, put it back together. As long as it was
12 maintenance shipboard electronic where you 12 working, leave it.
13 cleaned the place out and made sure that 13 DEFENSE COUNSEL: Move to strike
14 everything was pretty and put it back together so 14  nonresponsive portions.
15 that the dust did not accumulate. 15 BY MR. PAUL:
16 Q_ Now, when you say once a month, 16 Q__ During the time you were on the
17 you're talking about -- are you talking about 17 Cambria, how many pieces of equipment were
18 once a month in the shop or once a month foreach| 18 maintained or repaired using the vacuum cleaner
19 piece of equipment? 19 — system that you have described in the shop
20 A Once a month -- 20 itself?
21 DEFENSE COUNSEL: Objection; 21 DEFENSE COUNSEL: Object to form,
22 = misstates his testimony. 22 calls for speculation, misstates the witness's
23 THE WITNESS: Once a month for each 23 _ testimony.
24 piece of equipment. You know, you had aregular | 24 DEFENSE COUNSEL: Lacks time and
25 — schedule -- 25 scope.

 

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1 THE WITNESS: I can't really say. In 1 of engineering, and it worked pretty good. Every
2 the shop, I would say very little use of the 2 once ina while, you know, a tube would go bad or
3 vacuum cleaner in the shop, because we normally 3 something like that, but a pretty good piece of
4 take it to the equipment, open the equipment up, 4 — equipment really.
5 vacuum it, clean it, whatever, and lubricate it, 5 Q Okay. Allright. Iam going to -- *
6 put it back together. 6 sir, ] am going to ask you to look at what has
7 BY MR. PAUL: 7 previously been marked as Plaintiffs’ 12 and
8 Q You say -- you are talking about not 8  Plaintiffs' 14.
9 in the shop but someplace else on the ship? 9 And let's go off the video while he
10 A That is correct. 10 goes through those.
il Q Okay. Allright. You mentioned the 11 THE VIDEOGRAPHER: Go off record at
12 UR-- WRT-1 and the -- 12 9:51 a.m.
13 A Yes. 13 (Discussion off the record.)
14 Q_ --TED. 14 (Plaintiffs' Exhibit 14 was marked
15 Tell me about those pieces of 15 for identification by the court
16 equipment. 16 reporter.)
17 A. Well, WRT-1 is a transmitter, a 17 THE VIDEOGRAPHER: We are back on
18 low-frequency transmitter, which every ship, 18 record at 9:52 am.
19 major ship, has one. It's basically the same 19 BY MR. PAUL:
20 size as the SRT, a little bit larger, again, 20 Q Okay. Sir, what -- what are you
21 specifically designed to transmit in 21 _ seeing in these pictures?
22 low-frequency range as opposed to the 22 A This is an SRR-13 receiver.
23 high-frequency range. 23 Q_ Okay.
24 It's a lot of tubes, slide-out 24 A And pretty much the way it's mounted
25 drawers. You know, it's a pretty complex piece 25 ona ship in its own individual cabinet.
Page 64 Page 65
1 Q Why don't you hold that up to the -- 1 Q Okay.
2 to the jury can see it and point to it, what 2 A But it - it will tilt up and down so
3. you're talking about. 3 you can look at the top and the bottom, or you
4 Is that the top -- 4 can push the buttons on the rail and take the
5 A Yeah, here. 5 whole thing out and take it to the shop and work
6 Q_-- one? 6  onitif-- you know, if it's necessary.
7 Okay. That's what it looks like? 7 Q Now, the bottom picture, that's when
8 A Yeah, basically. 8 it's actually -- the whole thing is removed?
9 Q. Allright. 9 A Yeah. That -- that's how to take
10 A This thing is bolted or -- or, you 10 it--
11 know, ina~— ona table or a mounting of some 11 Q Why don't you show that to the --
12 kind. The picture here shows you how to get it 12 A - off of the --
13 out of the cabinet. 13 Q Show that to --
14 Q Okay. 14 A -- off of the sliding rails.
15 A Just pick the handles up and hold 15 Q Show that on the video, too, if you
16 them up and slide it out. Once you -- 16 would.
17 Q_ What would happen -- let's start -- 17 A Yeah, right here.
18 what would happen when you would pull out the -- | 18 Q Now, you mentioned dust before. Was
19 pull the piece out like that? What would happen, 19 there dust when you removed this, when you did
20 = if anything? 20 this job?
21 A It comes out to ~ to the end of the 21 A Well, normally this type of receiver,
22 stop. It won't go any farther. 22 because it's built specifically for shipboard
23 Q Okay. 23 use, is fairly airtight. There has to be some
24 A I mean, you know, you can leave it 24 circulation to let the heat get out, but normally
25 hang there, if you so desire. 25 the thing is cooled off with an internal fan and

 

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1 an air filter. 1 generally every piece of equipment. The -- the
2 One of the purposes of removing this 2 amount of dust, dirt, crad, whatever you want to
3 thing, like it's shown here, is to get at the air 3 call it, that accumulated depended on the design
4 filter and make sure it's clean air back in the 4 of the equipment, how much air could actually get
5 _ back of the equipment or, you know, anything 5 in from outside.
6 that's accumulated. 6 And like I said, normally these
7 Q_ Okay. And, in fact, there was -- you 7 ~ things are designed to prevent dust from getting
8 personally recall seeing dust accumulated when 8 in, but you can't make them totally dust-proof.
9 these were removed? 9 BY MR. PAUL:
10 DEFENSE COUNSEL: Object to form, | 10 Q_ Okay. Are these -- is this -- are
11 leading. 11 most of these transmitters and receivers high
12 BY MR. PAUL: 12 temperature?
13 Q If I've -- if I'm stating 13 DEFENSE COUNSEL: Object to form;
14 correctly -- tell me if I'm stating correctly 14 — calls for speculation, vague.
15 what you -- 15 THE WITNESS: In my opinion, yeah,
16 A Yes. 16 you've got to watch out. Especially the tubes --
17 Q_ --just said. 17 BY MR. PAUL:
18 A __ There -- there were occasions when 18 Q Okay.
19 there were dust inside the equipment. 19 A -- you know, tubes are -- don't grab
20 Q_ Okay. 20 them until they cool down.
21 A Yeah. 21 Q_ And each of these had -- the SRRs and
22 Q_ Now, was this unique to the SRR-13, 22 some of these other pieces of equipment you have
23 _ or was that true generally? 23 talked about --
24 DEFENSE COUNSEL: Object to form. | 24 A Yeah.
25 THE WITNESS: No, that's pretty much | 25 Q_ --all had tubes in them?
Page 68 Page 69
1 A Yeah. 1 see it. Go ahead.
2 Q Okay. And they were hot to the 2 A This here?
3. touch, you say? 3 Q_ Yeah.
4 A Yes. 4 A Okay. Once you get the -- the thing
5 DEFENSE COUNSEL: Objection; leading.| 5 mechanically decoupled, you -- you can pull it
6 (Plaintiffs' Exhibit 13 was marked 6 out or, as shown in the bottom picture, you can
7 for identification by the court 7 take out a plug-in board.
8 reporter.) 8 Qs Okay.
9 BY MR. PAUL: 9 A Yeah, This one, the plug-in board
10 Q Okay. Turn to what's marked on the 10 there shows resistors, capacitors, whatever you
11 bottom as LMCKR 39. Do you see that one? It 11 want to call them, and the connecting pins so
12. says "Section 4" on the top. "Section 4" on the 12 that they will hook into the -- the main chassis.
13 top. 13 Q Can you show me or tell the jury
14 A 39? Oh, okay. Let me see here. 14 which is the resistors and which are the
15 31 --okay. Oh, 39. Okay. 15 capacitors in this picture, if you can see them?
16 Q Do you see it? 16 A Yeah. Okay. On -- right here, this
17 A Yeah. 17 © little darkish thing with the stripes on it,
18 Q Okay. What do we see here? 18 okay, is a resistor.
19 A Okay. This looks like removing parts 19 Q Okay.
20 from the internal of a receiver. On this upper 20 A Okay? The stripes indicate the --
21 __ picture, you can see the mechanical couplings 21 __ the particular resistance of the resistor.
22 here where the -- 22 Q Okay.
23 Q. Canyou hold it -- 23 A The size of it indicates whether it's
24 A -- outside dials and so forth -- 24 ~~ ahalfa watt, 1-watt, 2-watt, whatever.
25 Q Hold it this so way so the camera can 25 Q__ Okay.

 

 

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il A The other 1, 2, 3 -- four little 1 A Quite a few times.
2 items shown here next to it appear to be 2 Q_ Okay.
3. capacitors. 3 A I would say -- well, let's see. I
4 Q. Okay. Okay. 4 was there -- what was it? Three and a half
5 A Although, you know, I can't really 5 years.
6 see what it says on there, but it's -- it -- to 6 Q Right.
7 me, it looks like capacitors. 7 A Two anda half years? Whatever.
8 Q Now, on the -- on the bottom, I 8 Q Before we go on to the next
9 guess, left there's a -- there's a little cartoon 9 picture -- before we go on to the next picture,
10 = of asailor. 10 this -- the cartoon of the sailor -- okay?
11 A Yeah. 11 A Yeah.
12 Q Is he basically holding the piece of 12 Q_ What, if anything, would -- would
13 equipment that we're talking about -- 13 you -- did you see when this piece was removed?
14 A Yeah, the -- 14 DEFENSE COUNSEL: Object to form.
15 Q_ -- the board? 15 THE WITNESS: When -- when the board
16 A What he has in his left hand holding 16 he's holding --
17 upis-- 17 BY MR. PAUL:
18 Q__ Show that to the jury, please. 18 Q_ Yeah.
19 A --is the board that is shown as 19 A -- was removed?
20 being removed here. 20 Q Yeah. What, if anything, did you
21 Q Okay. 21 see?
22 A The -- in his right hand is the 22 A Well, you can -- you can in the main
23. receiver where the board plugs into. 23 picture here --
24 Q Okay. How often during your time on | 24 Q. Right.
25 the Cambria did you see this operation go on? | 25 A -- you can see down inside there's --
Page 72 Page 73
1 there's other components in there -- 1 that's shown there --
2 Q Okay. 2 BY MR. PAUL:
3 A -- connectors, more capacitors, it 3 Q_ Right.
4 looks like a resistor or two -- 4 A ~and probably go to the shop and
5 Q_ Okay. 5 see if you can replace the frayed or worn part.
6 A --acouple of sockets for the thing 6 Q Okay.
7 to plug into. 7 A Normally speaking, the only -- in --
8 Q Okay. 8 in this subassembly here that's shown being
9 A And it's -- you know, the cartoon of 9 pulled out, the only thing that would get frayed,
10 ‘the -- 10 worn, or broken is the pins itself on the bottom
11 Q. Right. 11 of the -- the assembly shown in -- being pulled
12 A -of the sailor -- 12  outor, like I said, occasionally a tube bad
13 Q_ Right. 13. or--
14 A -- shows it at basically an empty 14 Q_ Okay.
15 hole - 15 A -- aresistor, whatever.
16 Q_ Right. 16 Q. Allright. So there's a tube or a
17 A -- which is -- that's not true. 17 _ resistor in this particular piece of equipment?
18 These things are built pretty tight. 18 A Oh, yeah. Yeah.
19 Q Okay. Were -- was anything inside 19 Q Now--
20 ‘there that you saw frayed or worn? 20 A It's not visible, but --
21 DEFENSE COUNSEL: Objection. 21 Q Okay.
22 THE WITNESS: Well, that's one ofthe} 22 A -- there is.
23 reasons for taking the pin out, is to check for 23 Yes.
24 frayed and worn things. If you see something | 24 Q Now, in order to -- so we don't have
25 frayed and worn, you would take that module 25 to go through the same procedure with each of the

 

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1 shop where we could -- had the room and the 1 A Yeah. I think about every three
2 tools -- 2 months. I'm not sure of -- of the exact
3 Q Okay. 3 schedule, but roughly every three months --
4 A --to take it apart and do what we 4 Q_ Okay.
5 had to. 5 A -- they had to be cleaned.
6 Q. Okay. Did you ever work on the 6 Q Do you remember any numbering or
7 antennas? 7 nomenclature to describe the antennas?
8 A Yes. 8 A Most of the antenn- -- we had two
9 DEFENSE COUNSEL: Object to form. 9 kinds of antennas for the communications, what we
10 BY MR. PAUL: 10 ~~ call a 35-foot whip, which was an aluminum
11 Q_ Tell me about that. 11  35-foot long antenna which came in four sections,
12 A Well, the antennas were -- most of 12  Ibelieve, and mounted on this large antenna
13 them were -- were pretty good. There was hardly | 13 _ insulation that I mentioned, then we also had
14 any work that needed to be done, as far as 14 wire antennas.
15 repair. 15 Q_ I'msorry, wiring?
16 The main thing that had to be done on 16 A Long wire antennas.
17 the antennas was the transmitting and receiving 17 Q Oh, wire antennas?
18 antennas had a big insulator on the bottom, which} 18 A Abig --
19 accumulated saltwater -- or salt spray, I should 19 Q. Okay.
20 _ say, and dust and dirt, whatever, and every once 20 A -- copper, bronze cable that we ran
21  inawhile they had to be cleaned off just to 21 between one mast and the other and then down to
22 maintain proper operation. 22  anend insulator where the transmitter fed into
23 Q__ Do you recall how often you had to 23 it.
24 clean them off? And, again, 1am confining, you | 24 Q Do you remember any numbering for
25 know, to your time on the Cambria. 25 these transmitters? For these antennas, I should
Page 96 Page 97
1 say. 1 Q Okay.
2 A No. The 35-foot whip, I know it was 2 A I mean, you know, the -- the rain
3 AS dash something or another, but I don't 3 cleaned it off. We -- as long as the motor made
4 remember exactly what it was. 4 it go around and the connections were made
5 Q Okay. 5 between the antenna and down below, it didn't do
6 A The long wire antennas, it was 6 anything.
7 however piece of long wire you needed. There was 7 Q. Were there pieces of the SPS-40 that
8 no number. 8 had to be maintained or worked on?
9 Q What does the term -- do you know 9 A Yes.
10 ~~ ~what the word "SPS-40" means? 10 Q__Let me show you what's been
11 A SPS-40, yes. That's a -- 11. previously marked as 6.
12 Q What's that? 12 (Plaintiffs' Exhibit 6 was marked for
13 A --radar system, air search radar. 13 identification by the court
14 Q Okay. And that's different from what 14 reporter.)
15 I'm talking about with antennas? 15 THE WITNESS: Okay.
16 A Yeah. Well, the SPS-40 antenna 16 BY MR. PAUL:
17 itself is -- it's unique to the radar. It's a 17 Q Is that what we're talking about, the
18 rotating antenna which mounts up as high as we 18 SPS-40?
19 can get it, and it's fed by a wave guide from 19 A Yes. That's the SPS-40 antenna.
20 the -- not a wave guide, but a -- okay. We 20 = =Yes.
21 called it a wave guide, but it was actually a 21 Q. Okay. Allright. The second page of
22 coax, hard coax. 22 that document, what is that document to you?
23 Q_ Okay. 23 A Okay. This is a system diagram of
24 A And the antenna maintenance itself, 24 the entire SPS-40 system, transmitters,
25 it never needed anything done. 25 receivers, antennas, everything, all the

 

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1 electronics that are needed to make the whole 1 complex, why do you mean that?
2 thing work. 2 A Well, it's -- it's a lot of pieces of
3 Q Okay. What parts of the SPS-40 did 3 equipment here.
4 you and the men working for you have to work on? 4 Qs Okay.
5 A Okay. 5 A After I left the Cambria, later on in
6 DEFENSE COUNSEL: Assumes facts not 6 my career I had an opportunity to serve as an
7 in evidence, misstates testimony. 7 instructor for the SPS-40 alpha radar system at
8 THE WITNESS: In the -- 8 Naval Training Center --
9 BY MR. PAUL: 9 Q Okay.
10 Q_ And if you are able to, hold it up to 10 A - Norfolk.
11 the -- 11 Okay? So I'm quite familiar with how
12 A Oh. 12 complex it is.
13 Q__ -- to the picture -- 13 Q Okay.
14 A Sorry. 14 A Okay?
15 Q_ -- and show that to the jury. 15 Q_ Tell me what kind of work had to be
16 Go ahead. 16. done on this, on this SPS-40.
17 A Okay. The antenna up here is the one 17 DEFENSE COUNSEL: Object to form.
18 that I said, you know, pretty much it's -- unless 18 THE WITNESS: Well, again, it's --
19 something broke -- 19 it's pretty much the type of thing which -- which
20 Q_ Okay. 20 works as long as it works.
21 A -- we hardly ever had to work on it. 21 There was one guy, Stubblefield, Dave
22 Q. Okay. 22 Stubblefield --
23 A But the -- the controls -- the 23 BY MR. PAUL:
24 _ electronics, it's rather complex. 24 Q_ Right.
25 Q_ Why is it complex? When you say 25 A -- was the technician who had gone to
Page 100 Page 101
1 school on this, and he pretty much knew how 1 A Yes,
2 things worked. 2 Q Okay. Did you ever see Stubblefield
3 Okay? And whenever anything went 3 and Kraus together when Stubblefield was working
4 wrong with the -- with the 40, Stubblefield was 4 on the SPS-40?
5 the guy you called. 5 A No, I did not, but that was because
6 Q_ Did -- we have talked about a number 6 the SPS-40 in -- in the radar room, everything
7 of different pieces of equipment. We talked 7 was, you know, pretty much filled up. They --
8 about receivers, transmitters -- 8 they didn't allow for a whole lot of room.
9 A Yeah. 9 Q_ Okay.
10 Q_ -- transceivers, resistors -- 10 A And if Dave Stubblefield was in there
11 A Right. 11 working and Mr. Kraus was in there with him,
12 Q_ -- capacitors -- 12 there's no more room.
13 A Yeah. 13 Q Okay. Was it part of Kraus's job to
14 Q_ -- wire and cable. 14 monitor what Stubblefield was doing?
15 We talked about a lot of products so 15 A Yes, yes. He was part of the -- the
16 far. 16 electronics gang.
17 A Yes. 17 Q Okay.
18 Q Which, if any of those products, was 18 A He was the radar -- part of the radar
19  onthis SPS-40 system? 19 — section.
20 A Allofthem. 20 Q_ Stubblefield was?
21 Q Okay. 21 A Stubblefield.
22 A I mean, you know, it's areal complex | 22 Q You say "He." J'm just trying to --
23 system. Okay? 23 A. Yeah. He, Stubblefield, was -- was
24 Q Stubblefield was the one that 24 part of the radar section. Yeah. Mr. Kraus was
25 primarily worked on that? 25 in charge of the radar section and the COMM

 

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1 section where J was. 1 sme put it this way. The ones that came from the
2 Q. Okay. Okay. Anything else about the 2 manufacturer, obviously, I -- J don't know who
3 SPS-40 you want to tell me about? 3 manufactured the thing, but the tech reps also
4 A Had a lot of problems with it. 4 came from an organization called MOTU, Mobile --
5 Q_ What kind of problems? 5 Mobile Technical Unit 2, I believe it was, MOTU-2
6 A Because it was an initial -- one of 6 in Norfolk, who were supposed to be experts on
7 the newest systems in the navy. And when you get 7 ~~ this radar.
8 anew system, it's got a lot of bugs in it. 8 Q_ So they were civilians?
9 Okay? And so Stubblefield was basically beating 9 A And -- and they would -- yeah. Well,
10 _ his head against the wall all the time, trying to 10 ‘they were civilians or senior navy.
11 figure out what was going on. 11 DEFENSE COUNSEL: Move to strike on
12 And we had, on occasion, a couple of 12 same grounds.
13 what we call tech reps, technical representatives 13. BY MR. PAUL:
14 come aboard who would -- from the manufacturer or} 14 Q__ Did you ever see anybody from
15 whatever, somebody that was supposed to be more 15 Lockheed --
16 of an expert than -- than Stubblefield was -- 16 DEFENSE COUNSEL: Objection.
17 Q_ Okay. 17 THE WITNESS: Not to my knowledge,
18 A -- to try and help him out. 18 no.
19 Q Do you remember -- 19 BY MR. PAUL:
20 DEFENSE COUNSEL: Move to strike 20 Q_ -- work on the SPS-40?
21. nonresponsive portions and based on speculation. 21 Okay.
22 BY MR. PAUL: 22 A Youknow, like I said, whoever made
23 Q_ Do you have any recollection of what 23 it--
24 company they were from, these tech reps? 24 Q Okay.
25 A No. Lassume they were -- well, let 25 A -- it might have been Lockheed, it
Page 104 Page 105
1 might have been somebody else. 1 same grounds.
2 Q Okay. 2 BY MR. PAUL:
3 DEFENSE COUNSEL: Move to strike on] 3 Q_ And why do you know it was the 40?
4 same grounds. 4 A Because it was one of the newest ones
5 BY MR. PAUL: 5 that came out.
6 Q_ Do you know whether the S- -- 6 Q Okay.
7 ~~ particularly from your later experience with the 7 A And when I -- later, my experience
8  SPS-40, there are different versions of it, 8 with the 40 alpha, when I was teaching that, I
9 right? 9 knew it came -- it was -- came out after I left
10 A Yes. 10 =the Cambria.
11 Q_ There's an A, B, C, D, and E? 11 Q_ Okay. Oh, okay. That the 40 alpha
12 A Yeah. Yeah. Well, there's -- yeah, 12. was later?
13 the 40 itself - 13 A Yeah.
14 Q_ The 40, the regular 40, and then -- 14 Q_ Okay. That's why you know that?
15 A Yeah. Then the -- then the 40 alpha, 15 A Yeah.
16 40 bravo, 40 Charlie, and finally 40 delta. 16 Q. Okay. Any other work that had to be
17 Yeah. 17 done that Stubblefield had to do on the 40 that
18 Q Do you know which one was on the 18 you recall?
19 ( Cambria? 19 A No.
20 “A It.was the 40. 20 Q_ We talked about --
21 “OQ The straight — 21 A It was driving him nuts.
22 A The basic one, yeah. _ 22 Q. Okay. Allright. Okay. We have
23 Q. The straight 40. Okay. 23 talked about the 390.
24 A Yeah. 24 A Yeah.
25 DEFENSE COUNSEL: Move to strike, 25 Q_ Anything else about the 390 you want

 

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1 to talk to me about? 1 Q_ Okay.
2 A It was a good receiver. I wish I had 2 DEFENSE COUNSEL: Move to strike on
3 one. 3. same grounds.
4 Q. Allright. Do you know what an 4 (Plaintiffs' Exhibits 27 and 28 were
5 SPS-10 is? 5 marked for identification by the
6 A Yes. 6 court reporter.)
7 Q What is that? 7 BY MR. PAUL:
8 A SPS-10 is a surface search radar, 8 Q_ Well, let me show you what we have
9 which is used to determine where any ships and 9 previously marked as P-27 and ask if you
10 other landmarks are within -- I don't know -- 50, 10 recognize P-27 and P-28.
11 60 miles of the -- of the ship. It had a 11 A Thank you.
12 rotating antenna on top also, smaller than the 12 Yeah. Okay. That's the SPS-40.
13 SPS-40 antenna, but it was a good system. It 13 Q Okay. What kind of work, if any, did
14 ~~ worked rather well. 14 you have to do on the SPS-10?
15 Q_ Okay. Was -- was the SPS-10 similar 15 A Personally, I did not work on any of
16 in composition or design to the SPS-40? 16 the SPS-10, because that was the radar section.
17 DEFENSE COUNSEL: Objection; form. | 17 Q Okay.
18 Go ahead, sir. 18 A And Iwas a communications ET.
19 BY MR. PAUL: 19 Q_ Right.
20 Q_ Ifyou're able to answer that 20 A Okay?
21 question. 21 Q Who -- who was in charge of working
22 A I would say they did the same job, as 22 onthe radar? Can you remember any of the -- any
23 far as a radar system -- 23 of the names of the guys?
24 Q Okay. 24 A Yeah. There was two guys who -- who
25 A -- but as being similar, no. 25 knew this radar.
Page 108 Page 109
1 Q Okay. il A Yeah.
2 A And I can't remember their names. 2 Q Okay. We'll get to it.
3 Q. Allright. Does the name Joe 3 A Whenever it wasn't working, we
4 Land- -- Joseph Landrum mean anything to you? 4 called --
5 A Yeah. Joe worked with me. 5 Q_ Okay.
6 Q. Okay. What did -- 6 A -- whatever his name was and said,
7 A And he was communications. 7 you know, "Here." And he -- him and -- and the
8 Q He was in the communications side, he 8 one other guy who had knowledge of how to work on|
9 was not -- 9 the 10 would go troubleshoot it.
10 A Right. 10 Q_ Okay.
11 Q_ -- the radar side. 11 A It was basically a -- a good reliable
12 Okay. Allright. So do you have any 12 system. The main problem we had with the -- with
13 knowledge about work that was done on this 13 the radar section was the repeaters, not the
14 particular piece of equipment, on the SPS-10? 14 — radar system itself.
15 DEFENSE COUNSEL: Objection; asked |} 15 Q_ What's the difference between a
16 and answered. 16 radar -- between a repeater and any other piece
17 Go ahead, sir. 17 of equipment?
18 THE WITNESS: All I know is, you 18 A Okay. The radar -- a radar system,
19 know, when the -- the 10 wasn't working -- 19 okay, whether it's an air search or a surface
20 BY MR. PAUL: 20 — search, finds out where something is, okay, and
21 Q_ Right. 21 __ it sends it down to a switchboard. This
22 A I'mtrying to think of the guy's 22 switchboard takes it to a repeater which will --
23 name. I -- I see his face, but that doesn't help 23 you've probably seen the rotating indication on
24 anybody. 24 all the science fiction things and everything of
25 Q You might think of it later. 25 the -- the sweeps going around on a repeater.

 

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Radar Basics - AN/SPS-40 Page | of 1

Card Index of Radar Sets - Naval Radars

AN/SPS-40 Surface Search Radar

Manufacturer: Northrop Grumman Norden Systems

The AN/SPS-40 is the primary shipboard long-range, high-powered, two-
dimensional (2B), surface and alt search radar for detection of targets at
-long and medium ranges. Tt provides 16-charinel operation, moving
target indicator (mitt), pulse: compression, and high data short range
mode (SRM) for detecting small, low-altitude, close-In targets. The
AN/SPS-40B-baseline (which includes ‘the 8; Cand D radars) 1s. designed
to provide‘optimum performance capabilities: with minimum operator
Interface. Spectal features of the AN/SPS-408B include long-range
resolution ‘and accuracy, light welght and flexible packaging for easy H 4 cr
shipboard installation, fleld proven’ high reflability, maintainability and Figure 1: Lightweigt antenna of the AN/SPS-40

availlabliity. The UHF(B) band operating frequency: provides.freéddin from on Bord of Litjens class destroyer
é . (© 2013 www. kriegsschiffe.eu)

   

weather clutter and low vulnerability to-a nti-radiation missiles: The
system's digital. moving target indicator provides excellent subclutter ak
visibility-and has solid-state. recelver, power supplies and controls. The :

  

    

  
 

 

recelyers sensitivity (minimum discernible signal) is =115dBm with a Specifications

noise figure of 4.2 frequency: 402.5 to 447.5 MHz

The antenna reflector is a truncated parabolold reflector of open fattlce oo UHF-Band

work construction, covered with a wire screen to reduce welght and wind ae a hme ee, 257 tigWieigeree

resistance, The dual feed includes the primary radar section and an | pulse repeliton frequency (PRE 500 He Pehetperee)

Integral identification friend-sr-foe.antetina. The primary: feed Is-a-slot “pulsewidth (Ue GO jis (lon rarigé mode)

type, it has a tuned cavity and flared shape to-ensure. proper lJumination a ___. Sips {stiod tango mode)

of the reflector. ‘The reflector thenforms the: RF energy Into a fan shaped ng, Compressed to.4:prs (or 0.8118)

bear with a 19° vertical beamwidth and 10:5° horizontal beamwidth; “peat Sines;

The antenna has a gain of 21 dB ata sidelobe attenuation of 27:dB-In eee Pe er

azimuth. Pee 700 ~258 ON.
average power. 2kW

The AN/SPS$-40 solld-state transmitter is replacing the tetrode tube instrumented range: 370 km

transmitter of the survelllance radar, and the new version Is designated range resolution: less than 0,05 NM

AN/SPS-40E. The nominal 250 KW output of the transmitter is achieved. accuracy:

by. combining in:parallel 112 power arnplifier.modules:arranged in two beiairniith: piosreist

groups; 56 each. The, stripline approach Is used in the design-of the Jafge. hnlis per-scant

output 56:1 Combiners. When Coripared with thelr tabe counterparts, the antena rékallon: TS oe Saree

AN/SPS=40 solld state: transmitters provide. improved: performance and: wafnee (6 pm in SPS-AG did. -40A)

superior rellabllity, availablity, and malntalnabllity..(The older tube aperhie
version was In practice extremely sensitive to the vibrations caused by a aL
the ship's artillery.)
The solid-state transmitter architecture is highly redundant. It is predicted to have a 90 per cent prebability of malntenance-free
‘operation for 90 days with no more than 11 per cent projected reduction In-radar rangé perforinanee. The 112 transmitter
‘trigdules are identical and interchangeable, as also are the power-supplles. In thé event of componént-fallure, the system
undergoes a gradual and graceful degradation In transmitter output, It remalns fully operational.and capable of detecting targets.
The transmitter solid-state technology offers inherent tactical flexibility. For example, output power Is adjustable. As a result,
ships can-redace thelr susceptlbility to detection while maintaining Substantial alr surveillance: capabillty. If the tactical situation.
requires emission control conditions, the solid-state transmitter will respond instantly, Stinllarly:the transmitter. will immediately
radiaté at full power with qusEthe touch, of-a: push-button, ;Pulse-to-pulse frequency. diversity. is also, provided,.A unique automatic
levelling control system greatly reduces the need for maintenance actions, This system automatically senses and compensates
for degradations in transmitter module performance.
The AN/SPS-40 is operational e.g. on Bangladesh Navy's ship Somudra Joy (Hamilton-class). The most AN/SPS-40 radars are
replaced by AN/SPS-49(V) radars in the late 1980s and early 1990s.

Versions and Improvements:

 

  

* AN/SPS-40: Basic version, manufactured by Lockheed/Martin,;
+ AN/SPS-40A: slightly modified varlant, manufactured by Sperry;
- AN/SPS-408: including a secondary radar; a total of 43 radars were produced by Norden Systems;

« AN/SPS-40C: Improved detection of low altitude flying targets, advanced EPM capabilities;
« AN/SPS-40D: modified 40A version with higher reliability, including a coupling equipment for the AN/SYS-1 system;

manufactured by Westinghouse.
+ AN/SPS-40E: manufactured by Norden Systems, includes the solid-state transmitter (described above)

Sources: Technical Manual, AN/SPS~40 Radar Set, NAVSEA 0967-LP-441-9010 and NAVSEA Drawing RE-D2699234

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(teers exe NO Fo

http://www.radartutorial.ew/1 9 _kartei/07 naval/karte016.en.html ATE £-Q0 1 SAGER 4 ) 3/10/2018

WITNESS
DEBRA-LYNN BAKER, CSA NO, 8708. (

 
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Chapter 6-RADAR EQUIPMENT

  
 

fea eS 7
oe ANTENNA PETER REMOTE © p- — —— 74
CONTROL, 1 AMPLIFIER
| | SWITCH BOX Loe Le a) SY NCHAO |
= Sigmar |
SYSTEM |
CON TROL

 

  
  

  

ay aS

~~ DUMMY LOAD,
ELECTRICAL SWITCH, RADIO
FREQUENCY

TRANSMISSION LINE

 

 

 

i | Low Pass

  

    
  

fS

  

   

CONTAOL,
RADAR SET

 
 

 
 
 

RECCIVER

    
  
  

 

 

  

 

 

   

 

 

 

   
    
 

| Radio
| FREQUENCY
| AMPLIFIER =
(POWERT FILTER CONTROL |
a |
COMPRESSOR
: ) POWER SUPPLY
} , {LOW VOLTAGE)
INDICATOR, RANGE
} SYSTEM
i  hIGUID COOLANT
/ Rage
FREQUENCY , POWER SUPPLY —-— =. ——— ee
AMPLIFIER (MOOUL STOR) [7 cue 7
(ORIVER) | Tr eres |
| TANK WATER
| | Liauip COOLANT |
| STORAGE, INPUT
L METAL |
<< |
= L | INDICATOR-
S| f MONITOR, |
5| COOLANT
=| | |
t . ne r = = Set
J trr. | ecectronic | | , |
\ CONTROL {| __4 an
" | AMPLIFIER | HEAT
! | d = EXCHANGER,
“a | | PURIFIER, COOLANT
i a COOLANT |
j | CONTROL- MONITOR | LIQUID |
| (POWER) | COOLING |
RADAA SYSTEM
} MODULATOR | |
{AF AMPLIFIER)
ee Le ene See al
120,83

Figure 6-4.—Air-search Radar Set AN/SPS-40 system.
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Page l
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
ROBERT J. KRAUS PLAINTIFF
VERSUS NO. 18-2119
ALCATEL-LUCENT, ET AL. DEFENDANTS

KK KKK KK KKK KKK KK KKK KKK KEK KK KKK KEK KE KEKE KKK KEK KKKEK KK KKKKKKKKEE

DEPOSITION
OF
JOE R. LANDRUM

KK KKK KR IKK KKK KKK KKK KE KKK KKK KKK KKK KKK KKK KKK KKK KKEKKKKEK KEKE

(APPEARANCES NOTED HEREIN)

DEPOSITION TAKEN AT THE INSTANCE OF
THE PLAINTIFF
IN THE MEETING ROOM OF HOLIDAY INN EXPRESS & SUITES,
TUPELO, MISSISSIPPI,
ON TUESDAY, AUGUST 13, 2019,
COMMENCING AT 9:01 A.M.

 

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al A. No. You can walk right up and touch it. dl, Q. Okay.
2 Q. Okay. Well, that's when it's not being 2 A. I think that's about it.
3. used. When it's being used, can you walk up to it and 3 Q. All right. You mentioned -- are there any
4 touch it? 4 other pieces of equipment -- you're welcome to take a
5 A. Sure. 5 look at your notes again.
6 Q. Youcan? 6 Are there any other pieces of equipment
7 A. Right. 7 that you wrote me about that you haven't talked about so
8 Q. Even then, okay. 8 far?
9 A. Yeah. Everything that's going on is going 9 A. I don't think we've talked about the
10 on on the inside. 10 SPS.
11 It's just like handling a coaxial cable. 11 Q. Okay. Let's talk about the SPS-40. Where
12 Q. Okay. Allright. Any other pieces of 12 was the SPS-40?
13 equipment that you worked on at the -- in the shop? 13 A. That was forward of the superstructure.
14 A. Well, I was a radar technician, but the -- 14 It's an air search radar. The antenna would be
15 the -- the two branches, radar and communication, sort 15 noticeably larger than the surface search. The SPS-40
16 of bleed over, so you end up working on everything, 16 was an air search without height-finding capabilities.
17 especially if you're a Radar Technician. 17. So it just told us where the aircraft were.
18 Radar Technicians work on more 18 MR. SMITH: Can I have the answer read
19 communication than communication people work on radar | 19 back, please?
20 because there is more communication on a ship. 20 Move to strike nonresponsive portions.
21 Q. Okay. 21 THE REPORTER: Oh, I'm sorry.
22 A. There's lots and lots of it. 22 MR. SMITH: Question and answer.
23 Q. Okay. Any other particular pieces of 23 MR. PAUL: Can we go off the video while
24 equipment that you mentioned? 24 she's doing that?
25 A. Loran, fathometer. 25 THE VIDEOGRAPHER: Off the record. The
Page 60 Page 61
1 time is 9:58 a.m. 1 Q. Where was the -- we started to ask about
2 (Off the record.) 2 where the SPS-40 was, and you started to tell me. Can I
3 (Previous question and answer played back.) 3 ask it again so I --
4 THE VIDEOGRAPHER: Back on the record. The | 4 A. Yeah. It's forward of the superstructure
5 time is 10:00 a.m. 5 that was -- what would look to you like a mast. It was
6 BY MR. PAUL: 6 actually a king post. And the -- the 40 itself, the
7 Q. Allright. I've shown you what is -- can 7 radar itself was located at the base of this mast, and
8 you tell us what P6 is? 8 the antenna was located directly above it.
9 A. Yeah. This is a picture and description of 9 Q. Did any part of the SPS~40 that was
10 ~~ the SPS-40 radar. 10 somewhere else in the -- in the ship --
11 Q. Okay. Now, the SPS-40 that was on the 11 A. Well, the 40 repeaters -- let me start over
12 Cambria in '64 to '65, that was -- was called the SPS-40 12 again.
13. and wasn't an A,aB,aC,aD? 13 The SPA-8 repeater was used for both the 40
14 A. Not that I recall, no. 14 andthe 10. You could switch back and forth from air
15 Q. Okay. It was just the straight SPS-40? 15 search to surface search.
16 A. Right. 16 Q. Okay.
17 Q. Do you have any recollection of who made 17 A. Butas far asa part of the radar itself,
18 that product? 18 no, it was contained in a little compartment at the
19 A. No. 19 based of that king post.
20 Q. Did you ever -- recall ever seeing anybody 20 Q. Okay. Was a piece of the SPS-40 in your
21 from the company that made it in the shop or in the -- 21 shop?
22 A. No. 22 A. Idon't think so. I take that back. There
23 Q. When it was in the -- when you were at the 23 wasapiece of WaveGuide --
24 Navy yard, do you recall seeing anything about that? 24 Q. Okay.
25 A. No. 25 A.  -- that rattled around for a while.

 

 

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1 that suggest to you they they're true and accurate 1 speculation.
2 records of what the Navy was doing at the Philadelphia 2 A. Yeah. I can't -- can't give you a figure
3. Navy yard? 3 on how many times.
4 A. I would expect they would be accurate. 4 BY MR. PAUL:
5 THE DEFENDANTS: Objection to form. =) Q. But, in fact, he was technically in
6 Foundation. 6 charge --
7 THE DEFENDANTS: Objection. Move to 7 A. Right.
8 strike. Can't establish foundation for this 8 Q. -- of the activities of you guys?
9 witness. 9 A. He was.
10 BY MR. PAUL: 10 Q. Were responsi- -- and so he was responsible
11 Q. Now, you were not present through the 11 for reporting to the captain what you guys were doing?
12 entire repair in Philadelphia, correct? 12 A. That's correct.
13 A. That's correct. 13 Q. Allright. Okay. You've seen the chart
14 Q. Okay. You -- you got sent to another ship? 14 that he prepared?
15 A. Right. 15 A. Thave.
16 Q. Okay. And which ship was that? 16 Q. Okay. Did that have any -- would that
17 A. Iwas assigned to a -- to a ship that was, 17 tefresh your recollection in any way about the equipment
18 in turn, assigned to the Columbian Navy. So I spent 18 that was on the ship?
19 about six months aboard a Columbian ship. 19 A. Youknow, mostly what it did was it showed
20 Q. Okay. So over the time that you and Bob 20 me that J had it right.
21 Kraus were on the ship, are you able to -- to -- in any 21 Q. Okay.
22 way to tell -- tell us how often he was in the presence 22 A. Youknow, I referred to the SPS-10, SPS-40,
23 of youor one of other guys doing the repair work that 23 SPA-8, SPA-4.
24 you've described so far? 24 Q. Right.
25 THE DEFENDANTS: Objection. Calls for 25 A. And then that -- that appeared on his list.
Page 84 Page 85
1 Twas kind of -- kind of tickled myself, I got it right 1 THE VIDEOGRAPHER: Off the record. The
2 after all those years. 2 time is 10:24 a.m.
3 Q. Okay. And you don't know how he prepared 3 (Off the record.)
4 that list or -- 4 THE VIDEOGRAPHER: We're back on the
» A. Ihave no idea. e) record. The time is 10:43 a.m.
6 Q. Allright. Allright. And, sir, so you've 6 EXAMINATION
7 told us everything that you can tell us about what you 7 BY MR. SMITH:
8 remember about being with Bob and what he did on the 8 Q. How are you doing, Mr. Landrum?
9 ship and what you did on the ship? 9 A. Fine.
10 A. Everything that concerns electronics. 10 Q. I'm Michael Smith. I'm here on behalf of
11 Q. Allright. 11. Lockheed Martin Corporation and Space Systems/Loral,
12 A. We left out the sea stories and -- 12 = LLC.
13 Q. Well, we'll leave the sea stories out. But 13 A. Okay.
14 let's just talk about the work stuff. 14 Q. I just want to start off. I want to mark
15 But as far as the work history, you've 15 as Exhibit D1 the notice of Mr. Landrum's deposition.
16 described pretty much what you did and what he was in | 16 (WHEREUPON DEPOSITION EXHIBIT NO. D-1 WAS
17 charge of seeing was accomplished on the ship? 17 MARKED AND A COPY IS ATTACHED HERETO.)
18 A. That's correct. 18 MR. SMITH: Can we go off the record for a
19 Q. Allright. And that was his job to make 19 second?
20 sure that -- that you guys were accomplishing the tasks | 2° THE VIDEOGRAPHER: Off the record. The
21. that you've described to us? 21 time is 10:44 a.m.
22 A. Right. 22 (Off the record.)
23 MR. PAUL: Allright. Thank you. 23 THE VIDEOGRAPHER: Back on the record. The
24 Cross-examine? 24 time is 10:45 a.m.
25 Let's go off the video. 25 BY MR. SMITH:

 

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ENCLOSURE I ENCLOSURE I

DEPARTMENT OF THE NAVY
OFFICE OF THE CHIEF OF NAVAL OPERATIONS

WASHINGTON, 0.C. 20150
si IN AEPLY APE TO

Ser 4542/318054 °
5 Jan 1979

 

Mr. Robect F. Hughes

Assistant Director

U. S. General Accounting Office
Human Resources Division
Washington, D.C. 20548

Dear Mr. Hughes,

This is in cesponse to your letter of October Sth in
which you requested information on the extent to which
asbestos is being used ‘in the Navy's shipbuilding and ship
repaicing operations. This response reflects our under=
standing of the scope/detail of your request as amplified
by Mr. Joseph Daigle of your staff during a meeting in late

— .. Ockober...—--.- ---- Speen Lenten et a ees (

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In response to questions 1, 2 ahd 4, attachment #1
provides a Listing of U. S. Navy ships (class, name and
hull number) which were delivered since 1973 or are under
construction and also provides information regarding the
status of thermal insulation. Each ship has several types
of asbestos containing materials installed; however,
thermal insulation for machinery, equipment and piping
systems has been the major application of asbestos.

Even though the use of asbestos as thermal insulation
has been eliminated, there remain a few shipboard applica-
tions where technically acceptable substitute asbestos-free
materials have not yet been identified. Therefore, all
ships presently in service contain some quantity of
asbestos. .

Asbestos fibers are incorporated in the plastic-like
body of cectain electrical resistors found in home, TV and
stereo equipment and in Navy electronic equipment. Asbestos
is used in home and office floor tiling and on Navy ship :
decks. Asbestos is used on electric cabling found in many
commercial ovens, home hot water heaters and in Navy galley
ranges. Piping system gaskets and packing used throughout
thousands of American industries and homes and in Navy
shipboard piping systems contain asbestos. Asbestos is
used in automotive brakes and clutches and in Navy ship
equipment brakes and clutches. The list is nearly end-
less. There are so many common uses of asbestos that it is
nearly impossible to build a Navy ship free of the mineral.

« “.
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In regard to question #3, data concerning the amount
of asbestos used as thermal insulation in Navy ships is
obtainable by search of weight control reports for indi-
vidual ships. The USS PAUL F. FOSTER (DD-964) contains
87,634 pounds of thermal insulation. The quantity of
thermal insulation used on the remaining classes of ships
(CCNs, SSNs, YTHs, yONs, AORs and AGORS) listed in Attach~-
ment #1 as having asbestos thermal insulation will be
provided not later than 15 January 1979. . it must be
pointed out that this information will be the weight of
thermal insulation installed and will not include the
amount Of asbestos used in other applications, such as pipe
hanger Liners, gaskets, etc. .

You also asked why non-asbestos materials could not be
used for thermal insulation in all ships delivered since

ee ee bBEGE ships, it takes 10 or more years From conceptual
oar’ ——"“Segsign to selivet the first “ofa class: ~The design-of—--~ sane mse
systems and components - the assemblage of materials,
contract placement, work scheduling, hiring and training of
workers and many other complex aspects must be carefully
coordinated. When such a basie, fundamental change as
switching from asbestos insulation to fiberglass. insulation
is made, all these aspects are affected. It is simply not
possible to change, in an instant, from asbestos insulation
to non-asbestos insulation throughout the Navy fleet.
Decisions to replace asbestos thermal insulation with
non-asbestos materials had to be made on an individual ship
or ship class basis, considering the state ef ship con-
struction completion and the cost and schedule delay
associated with the change. Likewise, Lt was necessary to
negotiate contract modifications with each shipbuilder to.
eliminate the installation of asbestos. In some cases, the
Navy was successful well before 1973-74. For example, the
Navy approved use of asbestos-—free materials in CVN 68
class propulsion plants in-1971 and in the last two. SSN 637
class submarine propulsion plants, in 1972. For other
ships, such 4s the first eleven of our new DD 963 class
ships, the change was not accomplished until later. Con-
sequently, ships well under construction and already
. insulated at that time continued through to delivery as
late as May 1978 with asbestos insulation. Consequently,
some ships were delivered with asbestos thermal insulation

since 1973.

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"ENCLOSURE I ENCLOSURE I

Additionally, T must correct your apparent misconcep~
tion of the importance of the 1973-74 date. The Navy
usually procures matecials for ship construction, including
thermal insulation, in accocdance with product specifica-
tions. These documents describe, for the supplier, the

_ product the Navy wants. In the case of insulation

‘ specifications, changes were made as early as 1971 to
specify that the Navy wanted matecials with little or no
asbestos. By late 1973, these specifications had been
changed to call for asbestos-free materials. The fact,
however, that these product specifications were changed to
call for asbestos~Eree materials does not mean that ship-
builders must stop using asbestos products. Many ship-sets
of asbestos containing products, purchased to earliec
versions of the product specification had already been
eshte and in some cases tnstakied.—-Tens~of thousand of.- 5 ke Rrra las. 4
pounds of asbestos products remained in warehouses, aboacd
ships, and in shipyards, tn active use. With no positive
action by the Navy, many additional years would pass before
the asbestos products were exhausted. Although, tn some
cases, separate action by some Navy components resulted in
asbestos-free products being used prior to 1973 or 1974,
the overall Navy policy prohibiting the use o£ such
material could not be promulgated until we had some assur-
ance that it ceuld be followed. By 1975, asbestos-free
materials were generally available to all Navy agencies and
the no-asbestos policy statement, NAVSEAINST 5100.2 of 24
October 1975 issued. TI hope this clarifies this important

point.

In regard to question #5, non-asbestos materials
approved by the Department of the Navy for use as thermal
insulation on naval ships include calcium silicate (with
non-asbestos fillers), fibrous glass, refractory Felt
(alumina/silica), elastomeric foam and cellular glass.
While all types are currently being used, Fibrous glass and
calcium silicate are the two principal asbestos replacement
materials for thermal insulation.

In response to question 46, cost data for ceinsulating
some types of ships with non-asbestos materials have been
developed and are as follows:
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ENCLOSURE I ,
ENCLOSURE I
EST. COST ‘ TOTAL EST.
PER SHIP ACTIVE cost
CLASS (Million) SHIPS (Million)
FRIGATE:
FF-1037 $2.75 2 § 5.50
FF-1040 2.75 10 27.50
FPF-1052 4.32 . 45 194.40
DESTROYER:
DD & DDG 5.37 65 349.05
SUBMARINE:
SSN=-578 1.62 4 6.48
SSN-594/637 3.90 57 222.390
cece cen a eSB i, a cuapetg sta pethin AO cscnecast oer ase opean tee oo vee S92 90
Total " 224 $965.13

These estimates are for the removal of asbestas thermal
insulation from piping, equipment and ventilation ducting,
excluding nuclear equipment components, and reingulation
with non-asbestos material. These estimates. do not include
asbestos removal/replacement in applications other than :
thermal insulation, and do not include the whole fleet,
only about half of it. Furthermore, these cost estimates
are tentative and have nat been validated. It is antici-
pated that return cost data for total thermal reinsulation
obtained from three ships, will be available in February
1979. ‘These tentative estimates and return. cost data
mentioned above can be extrapolated to obtain a cost
estimate to reinsulate the entice fleet.

Regarding removal of all asbestos aboard Naval.
vessels, Navy policy has required replacement of asbestos
insulation with substitute material when insulated equip;
ment and machinery are repaired. Recently, this policy has
been modified to require, in addition, selective raplace-
ment of asbestos insulation in those high-maintenance areas
where repairs may be anticipated during the subsequent
operating cycle of the vessel. During the next five years,
implementation ef this policy will tesult in the removal of
all shipboard thermal asbéstos except that 30 to 50 percent

which is normally untouched during, the life of the ship.
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ENCLOSURE I ENCLOSURE I

following: — oe St

The concept of one-time total asbestos removal on all
ships has been under intensive review to determine if such a
policy revision is technically and economically feasible.
Initial analysis does not justify such a policy change. While
there is no intention to conduct a trade-off of human health
for maintenance and repair funds, the funds involved are
substantial. As indicated above, the estimated cost to reinsu-
late just three classes of ships (frigates, destroyers, and
submarines) is $965.13 million. ft is reasonable to assume
that the estimated cost for total asbestos replacement in all
ships will, approach two billion dollars. The true cost is
likely to increase significantly because of delay and disrup-
tion effects, increased overhead charges due to longer over
hauls, and increased shipyard manning to“handle the added work.

This enormous cost is not the only ceason that the Navy
has not adopted a one-time total asbestos removal policy.
Other factors which support the present policy are the

 

e

a. During the life of a ship, 30 to 50 percent of the
total asbestos insulation will never be touched except for
painting or making minor cepairs to the lagging cover
material. Measurements show that operating ships equipped with
asbestos insulation have airborne asbestos levels at or below
0.1 fibers per cubic centimeter. This value is comparable to-
the ambient level reported for the City of Philadelphia by Dr.
Irving Selikoff, a well known asbestos expert. Therefore, on
the basis. of existing information, a properly maintained and
operating ship should not present an active asbestos hazard.

b. The Navy requires and enforces stringent asbestos work
gtandards which control exposure of workers to asbestos dust
during ship repair. By minimizing the amount cf asbestos work
done, the potential exposure, residual dust, and overhaul cost

are minimized.

¢c. Fibrous glass and calcium silicate products are being
used as asbestos replacements. The National Institute for
Occupational Safety and Health has recommended controls for
fibrous glass work that are nearly identical to the controls
now imposed for asbestos work. It seems reasonable to assume
that if the Institute recommends nearly identical controls for
two similar substances, comparable hazards could be known or
suspected, Therefore, it is not at all certain that wholesale
replacement of asbestos oreducts gains any medical advantage at

all.
Case.2:18-cv-02119-TJS -Document 637 Filed 01/24/20 Page 80 of 186

,\ENCLOSURE I , ENCLOSURE I

d. , Despite the enormous-cost, replacement of asbestos
thermal insulation'in ships will not eliminate’ asbestos
exposure of civilian and military Navy personnel. According to
the National Institute for Occupational Safety and Bealth,
asbestos dust is everywhere. Low but easily measurable levels
of airborne asbestos dust are found in the air of cities
throughout the country, much of it generated by automotive
brake and clutch linings. Asbestos is used in so many products
that most of the U. S. populace unknowingly encounters it daily.

__ I hope this information satisfactorily anawers your
‘tnquiry regarding the extent to which asbestos is being used in
the Navy's shipbuilding and ship repairing operation.

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Sincerely,

 
  

 

Viee Admiral, U.S. Mes
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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 81 of 186

 

INCE the announcement of a new system for the

mechanized production of electronics in 1953, the
National Bureau of Standards has developed additional
compatible components and techniques under the
sponsorship of the Navy Bureau of Aeronautics. Re-
cent advances achieved by NBS in electronic process
technology include an adhesive tape capacitor, a “chip”
resistor, and a method for applying pyrolytic carbon
resistors. Developed by B, L. Davis of the Bureau’s
process technology laboratory, these components and
techniques. should do much to increase the versatility
and applicability of electronic equipment manufactured
by automatic production lines.

The development of systems for Modular Design of
Electronics and Mechanized Production of Electronics
(MDE-MPE), formerly code-named Project Tinker-
toy, was begun by the Bureau with the cooperation of
several industrial companies under the sponsorship of
the Navy Bureau of Aeronautics as an industrial pre-
parcdness measure. The MDE-MPE system starts
with raw or semiprocessed materials and automatically
manufactures ceramic base wafers, dielectric elements
for capacitors and adhesive tape resistors; prints con-
ducting circuits and capacitors; and mounts resislors,
capacitors and other component parts on standard,
uniform steatite wafers. The wafers are stacked like
building blocks to form modules that perform all the
functions of onc or more electronic stages. The pilot
plant, operated by a commercial contractor, incorpo:
rates the principles of this system. The plant was de-
signed to produce 1,000 finished and inspected modules
per hour.

In this ebomber electrically conducting solution is
sprayed on one side of tape, dried, and then sprayed on
other side) When cured, dielectric formulation ix
sprayed on one side of tape. Lt is then ready toa be oned
as one clement of the capacitor. Spray anit ean he seen
at far righ.

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a

-MPE machine techniques.
‘the same manner as the NBS adhesive-tape resistor?

MDE-MPE tape capacitors in stages
of production. Wafers at left are
cured steatite blanks of same gen-
ernl type used in MDE-MPE system.
Silver pattern that forms one elec.
trode of capucitor has been applied
to two wafers in the center. In
wafers at right, adhesive diclectric-
coated tape is cul into squares
slightly larger than the silver con.
tact and then pressed down onto the
wafers. After curing, the capacitor
is ready to be assembled into 9
module with other wafers such
as that shown at top Ieft.

The. Tape Capacitor
The self-adhesive tape capacitor is designed. specili-
cally for application to the ceramic wafer by MDE-
Itis manufactured in much

A conducting tape, coated on one side witha dielectric,

provides--one element ofthe capacitor.--The~other~ ~ _

element isa silver pattern printed and fired on the .
wafer. It is now possible to apply an adhesive-tape

 

VS Perknicul Vens Kaltetia
Case 2:18-cv-02119-TJS Document 637

Application of udhegive tape eupacitor to wafer.  Al-
though shown here us a manual operation for demon-
stration purposes, it is normally applied hy machine.

 

resistor to one side of a wafer and an adhesive-tape
capacitor to the other side. .

The materials required for the manufacture of tape
capacitors are a heat-resisting asbestos paper tape, sil-
ver flake, silicone resin, butyl cellosolve, a powdered
high-K titanate body, r-hexane, and epoxide resin.
The electrically-conducting formulation (a mixture of
the silver flake, silicone resin, and solvent) is ground
in a ball mill. The mixture is sprayed on a loop of
tape 144 in. wide, allowed to dry thoroughly, and
then sprayed on the other side. When cured, the metal-
lized tape is conductive along each side and from one
side to the other. After slitting along the center to
form two Yin tapes, it is ready for application to
the dielectric film... A. roll of-tape 19 ft long will
produce about 350 capacitors,

 

The dielectric formulation is composed of high-K

titanate body that has been pulverized in a ball’ mill -

with n-hexane until the particle size is about 1 to 2
microns, after which the slurry is allowed to evaporate
under a hood. The ground titanate body is mixed
with epoxide resin and further ball-milled. This
tacky dielectric mixture is then sprayed on the metal-
lized base tape in various thicknesses determined by
the number of passes the tape makes in front of the
spray gun. Thickér applications, of course, make
capacitors of lower.yalue.

The silver pattern that forms one electrode of the
capacitor is applied to the steatite wafer by means a
a sereen press. It is then dried and fired onto the
ceramic. The adhesive dielectric-coated tape that
forms the other electrode is cut inte squares slightly
Jarger than the silver contact and pressed down on ik
A narrow conductive strip, similar to repiston tape but
with a conductivily of approximately 0.02: olim per
half ineb. is laid down hetween a comtack on the edge
of the wafer and the top side of the capacitor, le

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complete assembly is then cured by placing it in a
oven at room temperature, raising it to 225° C over
period of one-half hour, and holding the temperatur
at 225° C for 45 minutes,

Capacitors of higher values can be manufactures
by applying a number of layers of tape, one on to]
of another, with appropriate connections to the edgc
of the wafer. Smaller capacitors can be made by re-
ducing the area of the silver pattern printed on the
wafer, or by increasing the thickness of the dielectric
layer. For typical values, sce table 1.

 

Second element of capacitor is-a silver pattern printed
onan MDE-MPE wafer. Elements may be printed on
either or both sides, depending on requirements of fin-
ished circuit. An adhesive tape resistor can he applied

to cpposite side of wafer instead of a capacitor, if desired.

 

Shelf life tests indicate that the capacitance changes
no more:than 1 percent during the first month after
manufacture, and that there is no change in the dis-
sipation factor, which averages 0.7 percent at 1 ke,
However, the capacitance does change somewhat with
temperature, —3 percent from 25° to 85° C, and —15
percent from 25° to —55° C. Ina load life test, a few
capacitors shorted out, but otherwise only negligible
changes occurred in capacitance and dissipation factor.

The “Chip” Resistor

The “chip” resistor is made by applying self-adhesive
resistor tape to a small chip of ceramic material. This
resistor is not for use in the regular quantity production
of modules, but aids the electronic design engineer in
studying new modular cireuits which are still in the
“breadboard” stage or in producing prototype equip-
ments for evaluation. The chip is inserted into a cir-
cuit simply by soldering it to the appropriate connec-
tions on a standard wafer.

The precured resistor tape is manufactured auto-
matically by the usual MDE-MPE techniques but is
applied ton ehip of cured stesttite about 0.600 by 0.225
in. inslead of the standard MDE-MPE wafer. A pro-
tolype machine developed tin the NBS laboratories

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Case 2:18-cv-02119-TJS Document 637

of a highly accurate gas thermometer for this purpose

requires painstaking and time-consuming precision,
the work on the secondary thermometer is being pur
sued concurrently. Resistance thermometers CON-
structed of the semiconducting elements, silicon an

germanium, have proved to be extremely sensitive; in
some cases the resistance changes more than 50 per-
cent per degree. While satisfactory reproducibility
still remains a problem, results of initial tests have

been quite promising.
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(In press).

 
 
  
 
 

 
 

NBS Precured T ape Resistor

‘| He ADHESIVE-TAPE resistor developed by the
Bureau has aroused wide interest since its
t In the NBS tape-resistor
system, designed primarily for electronic printed-circuit
applications, small pieces of self-adhesive resistance-
coated tape are simply pressed into place against
metallic terminals at the proper points in the circuit.
The resistor was developed as part of a program of
miniaturization of airborne equipment sponsored by

announcement in 1951.

 

7A high-temperature adhesive tape resistor, NBS Tech. Wews

A high
Bull, 35, 100 (July 1951). Described in detailin Av adhesive
tape resistor system,
Office, 20¢.

NBS Circular 530, Government Printing

 

Left: the recently developed pree ,
arf: . recured ve 5 onus .
The original Sendai t f tl ot ee of the Bureau's tape resistor can he soldered
. Wf the S tape resistor is self-udhesive, but must be let
"—" 7 >
Phe precured resistur is nude by sandwiching

cireuil.
chussis ofter all resistors have been pressed in place.

Jends between two eae Sorina and then heat-curing, whieh bonds the resistor to the lead-
Feb ciaihe ie panda Ole soldering one the preeured NBS tape resisters iitte place.
; : © tape resistor con be used with eliansis that would nat withstt

about [14 inches,

temperiturces (about 300° €.).

JJ0

the Navy Bureau of Aeronautics, Despite its advan-
tages, the method has been limited in some applications
by the necessity for baking the supporting base material
the resistors after they have been pressed in

to cure
place.
Anew precured wire-lead version of the tape resistor,
for heat-

now being made at NBS, obviates the ne
curing after placement in the circuit. The new re-
sistors are made by pressing uncured resistor tape
against both sides of suitable wire or metal-ribbon
leads; the leads are thus sandwiched ‘between two
pieces of resistor tape. These units are then given the
usual heat cure, which bonds the resistor tape to. the

 

ed into the

the
weured by baking
viel > uitable metal

Overall length Is
, subsequent

nd curing

or -poteweld

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 84 of 186

 
   
 
    

soldered or

1 variation in addition to the
= Sress-on form, the range of possible applications
NBS tape resistor is greatly extended. Charac-
jstic advantages of the NBS tape resistor—compact-
Tess; stability. and BEE eae le operation—are
largely retained in the precure wire-lead design. Fur-
thermore, the new resistor might well prove more
economical to manufacture in quantity than other types
having less desirable characteristics.
The basic NBS tape resistor is made by coating
asbestos-paper tape with a mixture of carbon black or
graphite. silicone resin, and solvent. Resistor dimen-
sions are standardized at one-half inch long and about

  
  
 

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-cighth inch wide; a variety of coating formulations
have been developed to give a wide range of resistor
values.

Leads for the precured tape resistor are now being
made from ribbon of thin silver or silver-plated copper
at NBS. Leads extending one-half inch beyond the
resistar proper are used, bringing the over-all length
to 1% inches. Thickness is held to about Q.012 to
0.015 inch.

Preliminary tests indicate that the precured NBS
tape resistor, when supported in air by its Jeads alone,
will not provide the full dissipation of 0.25 watt al 200°
C for which the basic resistor was designed. Further
test work is now in progress, and a suitable deraling
curve will be worked out.

New NBS Director Appointed

p*® ALLEN ¥. ASTIN has been appointed*
Director of the National Bureau of Standards.
Formerly Associate Director of the Bureau, Dr. Astin
has been Acting Director since October 1951. Dr.
Astin has also been appointed a member of the
National Advisory Committee for Aeronautics.

Dr. Astin has been a member of the Bureau's staff
gince 1932. Until 1940 he was principally concerned
with dielectrics and electronics. His contributions in-

clude development of improved methods for precise.

measurement of dielectric constants and power factors
of dielectric materials and studies of the nature of
energy losses in air capacitors. He did pioneering
work in the development of radio telemetering tech-
niques and instruments and applied this work to studies
of cosmic rays and of meteorological problems in the
earth’s upper atmosphere.

In 1940 Dr. Astin was one of the Bureau scientists
doing pioneering work in proximity fuze research and
development for bombs and rockets. He became chief
of the Optical Fuze Section in 1943, assistant chief of
the Ordnance Development Division in November 1943,
and chief of the Division in July 1948. He played
a major part in the development and evaluation of bar-.
type proximity bomb fuzes and in their introduction
to service during the war. During the fall and winter
of 1944-45 he served in Europe as representative of
the Bureau and consultant for the Ordnance Acces-
sories Division of the National Defense Research Com-
inittee, concentrating on proximity fuze problems. He
edited the terminal three-volume Technical Report of
the Ordnance Accessories Division (Division 4).

As chief of the Ordnance Division from 1948 to
1950, be supervised the Ordnance Laboratory. the
Guided Missile Laboratories, and the Electronics and
Tule Laboratories, When Dr. Astin was appointed
Associate Director in May 1950, he assumed responst-
bility for the work of the Ordnance Development.
Missile Development, Electricity, and Electronie=
Divisions as well as the Office of Basic Instrumentation.

Dr. Astin was born in Salt Lake City, Utah, on June
12.1904, He received the B.S. degree in physics fren

the University of Utah in 1925. While working toward

his advanced degrees at New York University from

1925 to 1928, he was a graduate assistant and instructor
in physics. From N. Y. U. he obtained the M. S. and
Ph.D. degrees in physics in 1926 and 1928 respec-
tively. From 1928 to 1930 he held a National Research
Council Fellowship at Johns Hopkins University, doing
basic research on measurement techniques relating to
dielectric materials. Between 1930 and 1932, he was
a Research Associate in a program sponsored at the
Bureau by the National Research Council and the
Utilities Research Commission, Inc.

Honors and awards he has received include the fol-
lowing: National Research Council Fellow in Physics,
1928-1930; Navy Ordnance Award for Exceptional

 

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Patented Aug. 6, 1935

UNITED STATES

PATENT OFFICE

2,010,133
RESISTOR

Application November 25, 1933,

Serial No. 699,707

16 Claims.

My invention relates to resistors and more-par-
ticularly to resistors of types suitable for use in
radio receivers, wherein noise occasioned by va-
riations in resistance during the passage of cur-

3 rent therethrough must be minimunt.

Resistors of types used in radio receivers must
be “quiet”. That is to say, since such resistors
are usually utilized in
thermionic devices, their resistance

10 fluctuate while they are conducting electric cur-
rents. This requirement must be met to a greater
or less degree in the manufacture of all resistors
of the types under discussion.

A resistor for use in radio receivers should also
15 have a substantially zero temperature coefficient
——of resistance and slow Joad-coefficient of resis-
tivity. ‘That is to say, it should be so made that
temperature changes occasioned either by atmos-
pheric conditions or by the passage of electric

20 «current therethrough will not materially affect
the resistance.value. .

It is, accordingly, an object of my invention te
provide a new and improved resistor that shall be
substantially free from noise when used in an

9s amplifier.

Another object of
a resistor that shall

my invention is to provide
have a substantially zero

temperature coefficient of resistance during nor-

eof.
my invention Is to provide a
Joad-coefficient. of

yal opers
Another object of
resistor that shall have a low

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Tt is also highly desirable that manufacturing
methods be devised and materials provided
35 whereby quantity production of resistors having
accurately predetermined values may be had. Tt
is, accordingly, further object of my invention
to provide such methods and such material.
to pro-
40 vide a new resistor material
molded into any desired shape with full assur-
ance that the resulting device will have the pre-
determined resistance and temperature coefficient
characteristics.

The foregoing objects and other objects ancil-
lary thereto I prefer to accomplish, in short, by
first coating particles of a filler material, such 5
asbestos, powdered glass, sand, OF the like, or
a mixture of filler materials, with a polymerizable
60. resin in solution and thereafter causing conduct-

ing material, preferably graphite and/or carbon

black, to be precipitated upon the coated parti-
cles from 6 colloidal solution thereof.

The novel features that I consider character-

BS istic of my Invention are set forth with partictu-

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(CL 201—76)

larity in the sppended claims. The invention
itself, however, both as to its organization and its
method of operation, together with additional
objects and advantages thereof, will best be un-
derstood from the following description of &
specific embodiment.
fixed resistors used in radio
receivers, amplifiers, and the like, include a filler,
a. conducting material, a binder, and a moisture-
repellent impregnating material. ‘The electrical
and mechanical properties of the resistor depend
not only upon the nature of these components
but on the manner in which they are put together.
Previous to my present invention, I made many
ex! ents in the effort to utilize asbestos, glass,
or sand singly as well as various mixtures of sand
or glass and asbestos, 25 fillers. For a binding
material, I tried many grades of phenol formal-
dehyde resin in liquid and powdered form or in
the form of varnish. For the conducting ma-
terial, I tried dry graphite and.carbon black, but
in all of my early experiments I found that, if
the conducting material was first mixed with the
filier and the binder thereafter added, the re-
sistors made from such a compound were &x-
tremely variable in resistance value and could
not accurately be reproduced by factory proc-

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esses.

——according-to-my invention, therefore, I firat
take a predetermined amount of finely ground
glass and alr fionted asbestos and intimately mix
with it a solution of phenol formaldehyde resin
pakelite) In acetone. The principal

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and sprayed metallic terminals will firmly ad-
here. For the mixing process, { prefer to use &
device commercially “kneader” and
continue the kmeading process

- all of the solution is evaporated. At this stage
in the process, the mass of material has a dough-
like consistency and if a small portion of it is
examined under a microscope, it will be apparent
that every patticle of the asbestos and glass is
covered with a film of unpolymerized resin left
by the evaporation of the acetone.

The “mix” Is next removed from the kneader
and is crumbled into particles which are allowed
to stand until all of the solution evaporates and
it becomes quite hard and brittle. The material
is next placed in a ball mill, or grinder of any con-
venient type, and igs ground until substantially
all of it becomes fine enough to pass an 80 mesh
screen.

While the process of grinding is being carried 55

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paragraph, it

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on, the conducting material may well be in course
of preparation. For this material, I prefer to
use a colloidal suspension of carbon in water,
such as the graphitic material known to the trade
as “Aquadag”’, manufactured by the Acheson
Graphite Company, a gas-carbon suspension
known as “Aquablack”, manufactured by Binney
& Smith Company, or a suitable mixture of the
two 7" : .

In view of the fact that graphite-has approxi-
mately one-tenth the resistance of carbon, such
as is ‘utilized in the manufacture of aquablack,
these two commercial materials cannot be in-
terchangeably utilized in the same proportions.
It is, however, desirable to use aquadag for re-
sistor elements having relatively low resistance
and aquablack or mixtures of the two suspen-
sions, suitably diluted, for resistors having rela-
tively high resistance.

For resistors having high resistance values, it
is particularly desirable to use mixtures of
graphite and carbon black made from natural
gas. If graphite alone fs used for such resistors,
the proportion thereof is so small that the par-
ticles are quite widely separated. This condition
gives rise to noise which is obviated by the pres-
ence of carbon black particles that effectively
“pridge” the ‘graphite particles.

The 80-mésh resin coated particles are next in-
timately mixed with the colloidal carbon suspen~
sion, which has been diluted with water to a point
whereat the liquid is substantially 1% carbon by
weight, by a.stirring operation and, for this pur-
pose, mixing apparatus of substantially any well
known commercial type may be utilized.

_ For the purpose of explanation of the foregoing
is to be understood that the term
“colloidal carbon suspension” is intended to in-
clude diluted aquadag, diluted aquablack,:or a
diluted mixture of the two. It is also within the
scope of my invention to first mix the resin coated

-particles with either one or the other of the first-

mentioned solutions, and to thereafter mix or add
the other solution, thus causing successive pre-
cipitation of carbon in different forms on the
particles. : ;

Under usual conditions of manufacture, the in-
troduction of the resin-coated filler material into
the colloidal carbon suspension disturbs the elec-
tric charge relations existing in the said suspen-
sion, with the result that the carbon is precipi-
tated onto the filler material and forms a conduc-
tive film over the entire surface of each minute
particle thereof. Under certain conditions the
colloidal suspension.of the carbon persists and, in
such case, I find it advisable to add to the mixture
g small amount of hydrochloric acid which co-
agulates it and causes the precipitation hereinbe-
fore mentioned. As an alternative, for the pur-
pose of coagulating the colloidal suspension, I
may add to the acetone solution of the resin, be-
fore coating the filler particles therewith, a small
amount of furfural or of some other volatile ma-
terial such as acetic acid, having an ionizable hy-
drogen atom with which it readily parts. For this
purpose, I have also obtained fairly good results
with small quantities of an organic acid such as
malic, citric, tartaric, or the like.

After the carbon is precipitated onto the filler
material particles, the supernatant liquid is either
drained off or the solution is filtered in a filter
press or the like. The cake resulting from the
filtering process is dried at a temperature of ap-
proximately 46° C., for 24 hours, or, at least, for

a period of time sufficient to drive off substantially
all of the residual moisture.

In order that the continuity of the carbon film
on the filler particles shall not be inverrupted, the
dried cake must be handled rather carefully. In
other words, it is highly inadvisable to subject the
cake to any:further grinding operations to pre-
pare it for handling, and at this point in the
process it is found best to manually crumble the
cake into small particles suitable for charging 2
molding machine.

The crumbled material is next loaded into the
hopper of an automatic “pill” making machine,
such as is used in the drug industry, or into equiv-
alent well-known apparatus, which forms it Into
cylindrical rods tnder a pressure of the order of
ten tons per square inch: For the sake of uni-
formity, I prefer to form rods %’’ in length and
¥,’’ in diameter if the power rating thereof is not
to be in excess of one watt, The rods made as de-
scribed are then placed in trays and baked. in
an oven at 170° C. for approximately one'hour. .

I am not, at this time, prepared to exactly ex-
plain all of the physical changes caused in the
pill by the baking process and consequent poly-
merization of the resin coating underlying the
carbon on each particle of filler. :

It appears, however, that during the baking
step of the process, the carbon films on the par-
ticles merge together to provide what might be
termed a “honeycomb” structure, of conducting
material, and that the palymerization of the bind-
er serves to lock the elements of the said honey-
comb structure firmly in place, without disturb-
ing the continuity of the carbon contacts. How-
ever, in view of the fact that the carbon films are
extremely thin, it is, of, course, probable thet
some of the resin may séep through them and
bond with resin from other‘particles. As a mat-
ter of fact, the binder does not appear to have
any pronounced insulating action and {t may well
happen that the theory first ghove given is cor-
rect. :

In order that my disclosure shall be complete,
the following specific directions for making 1000
resistors, each having a resistance of 700 ohms
and each capable of dissipating one watt, are
given:

For the above purpose, I take 5 lbs. of glass
ground to pass 2 150 mesh screen, 2% lbs. of air-
floated asbestos, and mix them in a kneader with
1.62 Ibs. of phenol-formaldehyde resin dissolved
in 8 Ibs. of acetone.

To coat the amount of filler material specified,
in order to obtain the desired, resistance charac-
teristic, requires .126 Ibs. of graphite. This
weight of graphite is contained in .63 Ibs. of cam-
mercial aquadag which is diluted by adding ‘to
it approximately 5% pints of distilled water to
form a colloidal suspension having the required
density. .

The following table gives relative proportions
of filler, resin, and carbon fora number’ of fin-
ished resistors 34’’ long and %4’’ in diameter:

 

 

Asbestos | Resin | Graphite| S2"P02 | Glass | Resistance
Percent | Percent| Percent | Percent | Fercent
72 25 3 700 ohms.
73 25 2 .| 2000 ohms.
74 24.6 1.5 600000 ohms.
WA 18 7 1.2 megohm.
23 18 1.2 17000 ohms.
wa 18 14 11000 ohms.

 

 

 

 

 

 

 

 

 

From the foregoing table, it will be apparent

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 87 of 186

2,010,138

that a resistor having any desired resistance
characteristics May be made by suitably choos-
ing the relative amounts of filler and conducting
material. It will also be noted from the table
thet the variation in the resin content plays
very minor part in the resistance of the finished
article, which is in accordance with the theory
hereinbefore advanced. :

After baking, the resistor rods must, of course,
be provided with sultable terminals. For this
purpose, I find it best to utilize the Schoop metal
spraying process and I apply to each end of the
resistor a ring of copper or tin extending in-
wardly from the end a distance of 74’’. Obvious-
ly, the resistance of the rod measured from end
to end can be further controlled at this point in
the process by adjusting the width of the sprayed
terminals. As a general rule, however, this is
not done in the factory, for the reason that it
is much more convenient to so arrange the spray-
ing machinery that all resistors are provided with
terminals of the same width.

After the terminals have been sprayed onto the
ends of the rods, the rods are immersed in a
moisture-repellent impregnating material such
as melted carnauba wax, aerclor, halowax, sin-
cera WAX, cerawax, paraffin, linseed oil, or the
like, which has no solvent action on the poly-
merized resin at any operating temperature, The
melted wax is preferably maintained at a tem-
perature of 170° C., and the rods are kept there-
in for approximately forty five minutes. Car-
nauba wax is particularly advantageous to use
as the impregnating material since, by reason of
its expansion within the interstices of the re-
sistor rod, at temperatures below its melting
point, it compensates, to some extent, for changes
in resistance occasioned by temperature rise. I
heve also found linseed of] to be quite satisfac-
tory, since it oxidizes and forms a surface coat-
ing which is thoroughly waterproof. Linseed ofl,
however, necessitates an extra baking step to ef-
fect this oxidation.

A resistor manufactured according to my im-
proved method offers many advantages not here-
tofore obtained. In the first place, the process
utilizes carbon which can be purchased In its
processed form and is immediately available.
Secondly, the resistance values can be duplicated
fairly accurately and, in addition, the electrical
characteristics can be accurately determined and
controlled, while the finished resistors exhibit ex-
tremely low load coefficients of resistivity. Natu-
rally, I am aware that certain of the mentioned
advantages have been approached in the past,
but it is my belief that no resistor now on the
market exhibits them to as great an extent as
a resistor manufactured according to my im-
proved process.

Although I have disclosed herein certain spe-
cific proportions of filler, resin, and conducting
material, these are given merely by way of ex-
ample and are not to be construed as in any way
cireumseribing the scope of my invention. Many
other modifications will be apparent to those
skilled in the art and my invention, therefore,
is not to be limited except insofar as is necessi-
tated by the prior art and by the spirit of the
appended claims.

T claim as my invention:

1, An as element of a resistor device, = par-
tiele of inert, substantially non-conductive filer
material, a coating of insulating material there-
on, and a film of conducting material upon the
outer surface of the insulating material.

3
2. Asan article of manufacture, a resistor com-
posed of particles of inert filler, substantially all
of said particles being respectively coated with
an insulating material carrying an outer film of
conducting material, the films of conducting ma-
terial being in intimate contact with each other
throughout the mass of said resistor.

3, The invention set forth in claim 2, wherein
the insulating material is a polymerized phenol
formaldehyde resin.

4. The invention set forth in claim 2 wherein
the conducting material films are bonded to-
gether into a quasi-honeycomb structure.

5. The process of menufacturing a material
from which resistors may be formed which com-
prises coating a plurality of particles of inert ma-
terial with an insulating layer and thereafter de-
positing a conducting surface film upon substan-
tially all of said particles.

6. The process of manufacturing & material
from which resistors may be formed which com-
prises coating the surface of a plurality of par~
ticles of inert filler material with a polymeriz-
able material, and thereafter causing a film of
conducting material to be deposited wpon the
surface of the polymerizable coating.

7. The method of manufacturing a material
from which resistors mzy be formed which com-
prises mixing a mass of inert material particles
with a solution of a polymerizable material in a
volatile solvent, causing the solvent to evapo-
rate and then applying to the surface of substan-
ffally all of said particles an adherent coating of
conducting material. ,

8. The invention set forth in claim 7 charac-

terized in that the inert material is a mixture
of asbestos particles and ground glass.

9. Fhe method of manufacturing a material
from which resistors may be formed which com-
prises moistening 9 mass of air-floated asbestos
with a Solution of a phenol formaldehyde resin
in a volatile solvent, causing the solvent to evap-
orate, mixing the residuum with a colloidal sus-
pension of carbon, causing the carbon to be pre-
cipitated from, the suspension onto the surfaces
of substantially all of the particles of asbestos, and
thereafter removing the remaining solute,

10. The method of manufacturing fixed re-
sistors which comprises intimately mixing 2 mass
of comminuted inert filler material with a so-
lution of phenol formaldehyde resin in a vola-
tile solvent, causing the solvent to evaporate
whereby the resin is deposited as a coating upon
the particles of filler, mixing the coated par-
ticles with a colloidal suspension of carbon, caus-
ing the suspension to coagulate to thereby pre-
cipitate the carbon onto the surfaces of the par-
ticles, removing the surplus vehicle of the sus-
pension, molding the residuum into appropriate
shapes, and thereafter baking the molded articles
at a temperature sufficiently high and for a suf-
ficient length of time to cause the resin to poly-
merize.

11. The invention set forth in claim 10 char-
acterized in that the inert filler material is as-
bestos and ground ‘glass.

12. The method of manufacturing a material
from which resistors may be formed which com-
prises moistening a mass of inert filler particles
with a solution of phenol-formaldebyde resin and
a reagent capable of causing the coagulation of
a colloidal suspension of carbon in a volatile
solvent, causing the solvent to evaporate, and in-
troducing the resin-coated filler particles into a
colloidal suspension of carbon.

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13. The method of maufacturing a material
from which resistors may be formed which com-
prises moistening s mass of inert filler particles
with a solution of phenol-formaldehyde resin and
furfural in a volatile solvent, causing the solvent
to evaporate, and introducing the resin-coated
filler particles into a colloidal suspension of car-
bon. © :

14, The method of manufacturing a: material

from which resistors may be formed which in-

cludes moistening 2 mass of inert filler particles
with a solution of a phenol formaldehyde resin
and an organic acid dissolved in acetone, causing
the solvent to evaporate, and introducing the
resin-coated filler particles into a colloidal sus-
pension of carbon.

15. A resistor element in the form of « rod
constituted by 2 plurality of particles of inert
filler, substantially all of said particles having a

2,010,133

first coating of an insulating materia] and an
outer coating of graphite and carbon black, the
said particles being in such intimate contact with
each other that a substantially uninterrupted elec-

trically conductive path is established between -.

the ends of the rod.-

16. The method of manufacturing a resistor
which comprises coating each of a plurality of
particles.of inert Mller with polymerizable resin,
superimposing a film of conducting material upon
the resin coating, compressing the filmed particles
into a coherent mass, polymerizing the resin coat-
ing to lock the particles in place and thereafter
impregnating the maas with a moisture repellent
material incapable of dissolving the polymerized
resin at temperatures encountered during ordi-
nary use of the resistor.

SIDNEY BLOOMENTHAL,

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ie Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page.89 of 186 a “D.
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Trarsistorized Units for In-Band Signaling

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 90 of 186

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R. J. Wirtz

The Bell System uses some devices by

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these devices fo cut costs by even a small
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the Bell System. A Cypical redesign of

this kind. on aiwidely used pawer resistor,
ies recently completed ad the Laboratories,

A New Design for Power Resistors

The complexity of a telephone system is due
in part to the variety of equipment, devices, and
materials it uses. Some of these items are rela-
tively new to the arts of telephone switching and
transmission. Germanium or silicon devices, for
example, have only recently been incorporated
into new designs to any extent. But many of the
better known devices—resistors, capacitors, and
inductors—have served the telephone system for
a long time. Typical of these venerable units in
the Bell System are the power resistors known by
the code names “18 and 19 Flat-Type Resistors.”

These resistors, associated with station ap-
paratus and transmission and switching facili-
ties, are categorized as “general use” items. As
such, they have found numerous applications in
the Bell System. The first designs were manu-
factured by the Western Electric Company as
early as 1901. Because of their extensive use and
unique appearance, flat-type resistors performed
a very special service during World War I], At
that time, they served to identify equipment
manufactured by the Western Electric Company.

October 1860 * 385

This expedited a sizable sorting process on the
invasion beaches of Europe. The 18- and 19-type
resistors have an excellent recurd of past per-
formance in the telephone plant and have earned
the reputation of “old standby.”

Physical Dimensions

These wire-wound resistors can dissipate ap-
proximately 5 watts of power under normal con-
ditions, and as much as 12 watts, for limited
periods, under trouble conditions. They are flat
in appearance, measuring approximately 32-inch
thick by 154-inches wide by 4%4-inches long.
They can be mounted in banks on 7/16-inch-
minimum centers. The 18-type resistors have a
single winding and two rigid terminals, while
the 19-type resistors have two windings and
three rigid terminals. In 1959, demand in the
Bell System for these Western Electric resistors
was something over six million per year.

Obviously, such a high demand makes it worth-
while to attempt to cut down the cost of these
resistors, if it can be done without sacrificing

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Case 2:18-cv-02119-TJS

 

R, F. Leach, left, and author discuss attributes
of the new 19-type resistor, On display board
at rear are variety of Bell System vesistars,

quality. And so it was that these resistors were
cunipletely redesigned in a lengthy program com-
bining efforts of both Bell Laboraturies and
Western Electric. This program was completed
just a few years ago when initial production of
the newly designed resistors began at the Kearny.
New Jersey. plunt of the Western Electric
Company.

The primary objectives of this redesign were
tu eliminate various items of insulators and
mounting hardware, and adapt the resistors for
modern methods of production. Such factors
contribute directly to a substantial reduction in
cost, reflected partly in the unit cost of the re-
sistor and partly in the cost of mounting or as-
sembling it into equipment. Moreover. there
is a long-term savings attributable to an im-
proved product.

The improvements in design included three
major items. First, designers superimposed wind-
ings on an insulated metal core and terminated
the resistance wire by spot welding it to the
core and terminal. Old-style resistors had wind-
inys side by side on a phenolized asbestos core
with soldered splices and terminations.

Second, they provided an insulated mounting
surface for the resistors by assembling a phenol-
ic terminal head molded integrally with the
metal core. The old designs required mounting-
plate bushings, insulator washers on both sides
of the mounting plate. and metal mounting
washers.

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Finally. the designers secured the new re-
sistors to the mounting plate by a single, cen-
trally located mounting stud for the 18-type
resistors. This mounting stud doubles as the
third terminal post for the 19-type resistors.

In addition. new design 18- and 19-type re-
sistors lave lerminals lo accommodate either
soldered or solderless wrapped wire connections
(REcoRD, February, 1954). The entire body of
the resistor is covered with an envelope of
phenolized asbestos, completely insulating the
structure on the apparatus side of the mounting
plate. Old-style resistors had metallic terminal
side posts exposed over the entire length of the
body. Also, code and resistance-value markings
on the new style are stamped on the molded head
where they are legible when the resistors are
mounted in place. This is in contrast to the old
stvle niarkings that were printed on a label af-
fixed to the resister body, where they were un-
readable when the resistors were mounted. As
with the old style, the resistance-value mark-
ings for the 19-type resistor are oriented to
identify unequal windings.

The new designs feature detail parts that lend
theniselves to be fabricated. machined, and as-
sembled by modern production methods. This is
expecially true of parts such as a metal card that
combines the core and the terminals. Tt is also
true of the mounting stud and center terminal,
and the molded-phenolic head unit and envelopes

of asbestos that enease the resistors.

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The redesigned (9-type resistor. Center niownt-
ing stud ts designed to be a third terminal post.

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 93 of 186

For a given power-dissipation, the operating
temperature of the new resistor is lower than
that of the old. This is because the metal core
acts as a “heat sink,” distributing the heat
evenly over the entire body of the resistor. The
result is lower “hot-spot" temperatures. Based
on experimental data, power rating characteris-
tics were derived for the new resistars. These
wre illustrated in the graph, right. Here, the
“normal” power rating is 5.1] watts. For each
degree that the ambient temperature exceeds 150
degrees F, the rating decreases about one per
vent of the normal rating, or about 1/20th of a
watt. “Trouble” power rating is shown as 12
watts with a decrease of about one-half of one
per cent, or 1/16th of a watt, for each degree
the ambient temperature exceeds 75 degrees F.
A trouble condition is a temporary overload con-
dition dre to a circuit malfunction. Resistors
can be operated at “trouble” power ratings safe-
ly for twenty-four hours.

At the time redesigns were contemplated.
there was a large quantity of old-style resistors
already in the field. It was essential. therefore
for the new styles to be designed. electrically and
mechanically interchangeable with the old. For
this reason, the new designs: were tailored to
‘have their over-all function“and appearance gov-
erned by the electrical characteristics and physi-
cal dimensions of the old-style resistors.

Electrical Protection

Because of their completely insulated struc-
ture, the redesigned resistors have no “live” parts
behind the panel on whieh they are mounted.
Therefore, they do not require the insulators and
shields normally used on the old-style resistors
for electrical protection against the exposed
metal side posts and the center post.

The new designs have their terminal insula-
tion integral with the molded head. This elimi-
nates the need for mounting-plate bushings, used
for insulating old-stvle resistor terminals. In the
event of a field) replacement (where a new-style
resistor replaces au old) the bushings must be
removed before the new resistor is | mounted,
With the introduction of the redesigned resistors,
the now obsolete insulator bushings are no long-
ev being supplied in newly manufactured mount-
ing plates. Thus, to maintain interchangeability.
designers had to devise a way of mounting old-
style resistors in the unbushed holes of these
new mounting plates. They therefore supplied a
new molded-strip insulator to take the place of
the bushings. For additional economy, this  in-
sulatoy also replaces two insulating washers

October W860 8 AT

POWER IN WATTS

          

o 25 SO FS 00 125 150 178 200 225 250 275
AMBIENT TEMPERATURE IN DEGREES FAHRENHEIT

 

Power rating characteristics of the new resistors
shoe “uoraal’ ut 5.1 wetis, Ctrouble” at 02 watts.

formerly required on the apparatus side of the
mounting plate.

Since the new designs are electrically inter-
changeable with the old, the Bell System has
retained the old code designations. This has
avoided the expense of a substantial amount of
drafting, clerical, and engineering effort that
otherwise would have been iivelved in changing
an estimated 100,000 drawings—Bell Laborato-
ries equipment and circuit drawings as well as
Western Electric Company equipment drawings
and wiring diagrams.

During the period from initial to full-scale
production of the new design, the Western Elec-
trie Company produced both new- and old-style
resistors. However, production of the old style
was reduced progressively until today, all re-
quirements for 18- and 19-type resistors are
being filled with the new design.

In its yedesign program, the Bell Systent re-
views long-existing items and judges them in
the lizht of their present use. It also takes a
close look at their quality and reliability re-
quirements, and at their methods of manufacture.
Effort deveted to this type of review results in
the improvement of components. And for those
manufactured in a large volume, such as the 18-
and 19-type resistors, it can save much money
for the Bell System.

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the vapors puss through the wafers, the preserva-
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five is renoved, and signs of decay can be seen.

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EXHIBIT H
Case 2:18-cv-02119-TJS

   

TAW DEPARTMENT

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Asbestos is used in many yearied forms
such as board, cloth, fiber, rope pack-
ing, aleeving, tape, twine, yarn, sheet,
and in sther numerovs combinations. The
manner of storage depends upon the form
of ashestos. Where the ashestos may
possibly be in a loose form during stor-
age, a dusty condition could he produced
and proper ventilation ahould be pro-
vided.

PROPERTIES

FIRE - Non-flammable.

EXPLOSIOR = Non-explosive.
BREATHIHG - Dust, from asbestos ma-
terials may produce a chronic Jung disease
if it is breathed in sufficient concen-
trations over a period of years. In
some persons, the disense may develop
much more rapidly than in others. The
concentration and particle size of the
dust wili also influence the number of
years of exposure required to produce
the disease. In any case, exposure even
to high concentrations of asbestos dust
for a period of a few days or even a few
months will not produce the disease.
Particles larger than about 10 microns
(0.000039 in.) cannot get into the small.

lung air-sacs to cause damage. Such
gmal] particles are far beliow the size
which is visible-to the neked eye. Most

dusts, however, have particles of a large
range of sizes which very irom yisibie
to invisible. it is only the fine in-
visible dust particles thet are effective
in producing asbestosis.

Where people may breathe the cust,
the Maximum AlYowable Concentrazicn is
5 million particles per cubic foot of

the exposure is for
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than one hour per day,

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SAFE PRACTICE DATA SHEET A-20

ASBESTOS

slightly higher concentration may be

permitted but must not exceed 10 million
particles per cubic foot. These Maximum
Allowable Concentrations apply to re-
peated oar recurring dreily exposures.
Where asbestos may be mixed with other
less harmful dusts, the concentration
of asbestos dust will be the contro} ling
fector. The asbestos dust concentration
can be determined by collecting =i8
analyzing air samples. .

SKIK IRRITATION - Asbestos is usually
not a'skin irritant.

PERSONAL PROTECTIVE EQUIPMENT

WHEN IT IS NECESSARY TO WORK If Ah
AREA CONTAINING HIGH DUST CONCENTRATIONS .
AN AIR-LINE RESPIRATOR OR HOSE MASK WITH
OR WITHOUT A BLOWER MAY BE USED. The
air-line respirator should heave 8 tc 15
Jbs/aq.in. pressure. Care should be
taken go that contaminated air does not
enter the hese for the hose msesk.

For medium dust concentrations, the
standard all dust respirator 8883-5,
equipped with filter B883-6, mey be used.
Filters should be replaced according tec
a predetermined schedule or at any time
breathing hecomes difficult.

All respirators and replecem|ent perts
should have the Bureau of Mines approval
which is indicated by a label on larger

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smeller parts.

 

PRESAUTIORS

A PERSON SHOULD NOT ENTER AN AREA
CONTAINING AN EXTREMELY HIGH CONCENTRA-
TION OF ASBESTOS DUST FOR A PROLONGED
PERIOD OF TIME WITHOUT ADEQUATE PROTEC-
TION. THE MAXIMUM ALLOWABLE CONCENTRATION

HAE IX DOUBT
CONSULT KEDICAL OR SAFETY DEPARTHEXT

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SAFE PRACTICE DATA SHEET A-20

ASBESTOS (Continued }

OF § MILLION PARTICLES OF DUST PER CUBIC
FOOT OF AIR SHOULD NOT BE EXCEEDED FOR
REPEATED OR CONTINUOUS EXPOSURES. THIS
MAY BE ACCOMPLISHED BY COMPLETELY ENCLOS=
_ING THE SYSTEM OR BY PROVIDING ADEQUATE

VENTILATION. PROPER PREPLACEMENT AND
PERIODIC PHYSICAL EXAMINATIONS SHOULD BE
MADE RY THE MEDICAL. DEPARTMENT .ON PERSONS
:WHO WORK WHERE THERE ‘IS REPEATED OA RE-
CURRING EXPOSURE .TO ASBESTOS DUST. ..

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- CORPGRATE PAAT MBBER: POS Ho. « Size Cad
P EF ar Fas Cade
Seaapis: S57ELAAEZ (CAPE E -~ If reference paws ic dasired}

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SHER AS09013
Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 101 of 186

 

PDS 4233144 thru AC. Rev AA Jul

ASBESTOS PAPER
CAUTION: DUST RESULTING FROM HANDLING OR MACHINING SHALL MOT BE BREATHED. USE OMLY WI

LOCAL EXHAUST VENTILATION. SEE SPDS A-20.
* SUPPLIERS -

(4293144) (Except .007" & .010" thk) A-B
(.007" thk only) B

(.010" thk only) (Except HA) B

(For HA) A-B

(A) Johns-Manville, Greenwood Plaza, Denver, CO 80217
(B) Nicolet, Inc, Wissahickon Ave, Ambler, PA 19002

ORDER FROM SUPPLIER AS - (42331AA) Paper, P D Spec 42331AA Rev AA.

CHARACTERISTICS - 42331AA (Previous 2118-1) (Users: AMD, BE, BG, BM, EMM, DA, EP,HA,M&R,PT, SH, S&
Commerical grade asbestos paper of wiiform quality. :

42331AB (Previous 2118-2) Obsolete.

42331AC (Previous 2118-3) Obsolete.

Yor properties & dimensions see PDS.
APPLICATION - General use.

SPECIFY BY - CODED IDENT (PDS Mo. + Size Code)
Example: 42331AA3GD (ASB PAPER - If reference name is desired)

Printed in U.S.A. W Corp Std R&D (Fed. CODE IDENT MO.

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 102 of 186

i _. sieaemomeRaIE ses
~~ “" WESTINGHOUS see
-M 46316AJ thru AM Rev B SE PROPRIETARY Jul 20, 1976
MOLDED PARTS, CALCIUM SILICATE-ASBESTOS
CAUTION: MACHINING PRODUCES ASBESTOS DUST. DUST SHALL NOT BE BREATHED. ADEQUATE LOCAL EXHAUST
VENTILATION SHALL BE PROVIDED. SEE SPDS A~20.
17349

uSWPPLIERS, p; American Insulator Corp, 1930 Main St, New Freedom, PA

‘ ORDER FROM SUPPLIER AS - °
(46316AJ,AL,AM) AICO 5, stating drawing and item number.
(46316A4K) AICO 5 plus 1.52 Carbon Black, stating drawing and item number.

CHARACTERISTICS — 46316AJ (Previous 161-1) (User:BG) White, inorganic, cold molded composition
consisting of calcium silicate and asbestos, having properties as follows:

Tensile Strength, Psi 2200
Compressive Str, Psi 10910 COR eA
3783

Flexural Strength, Pai

Impact Str, Ft-Lb/In-Notch 46
Dielectric Strength, VPM 43 rao <A
* 556

Are Resistance, Sec

cones Beat Resistance, F 1000
Specific Gravity 1.84
4-13

Moisture Abs, 24 hr, Z

46316AK - (Previous 161-2) (User:BG) Same as 46316AJ except black. Contains 1.52%
: . carbon black.
463164L,AM (Previous 161~3,-4) (User:BG) Same as 46316AJ except for specific applications.

APPLICATION - (46316AJ) Intricate inorganic cold molded parts.
(46316AK,AL) Cold molded parts such as arc boxes.
(46316AM) Cold molded insulating spacers for rotary switches.

_ SPECIFY BY ~— CODED IDENT (4 No.)
Example: 46316AJ (SILICATE ASB - If reference name ig desired)

Printed in U.S.A. W Corp Std R&D (Fed. CODE IDENT NO. 79500)

*

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 103 of 186

M  41521CC_ Rev B 088. /cANcELLED. g AIR Jul 5, 1976

WESTINGHOUSS PROFT St ov
CLOTH, Tos, SILICON WB EATED
CAUTION: DUST RESULTING : LING’ OR -MACHENING SHALL NOT BE

BREATHED. USE ONLY WITH ADEQMATE ayPCAL EXHAUST \icsiataamiemiatal

SEE SPDS A-20.
SUPPLIERS - Westinghouse Electric Corp, IMD, Bedford, PA 15522

ORDER FROM SUPPLIER AS - Treated Cloth 41521Ccc*

*Stating "Permanently mark all containers with Westinghouse

M number.

30020362

CHARACTERISTICS - (Previous 1296-1) (User:M&R) Asbestos cloth
41511BB created with silicone varnish 32102FH.

APPLICATION - Armature insulation.
SPECIFY BY - CODED IDENT (M No. + Size Code)
Example: 41521CC1JX (TR ASB CLOTH - If reference
name is desired)

Printed in U.S.A. W Corp Std R&D (Fed. CODE IDENT NO. 79500)
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ent 637 Filed 01/24/20 Page 104 of 186

Case 2:18-cv-02 -JJS Docum
| we ‘ - PD SPEC (PDS) -

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Rev A
Jul 5, 1976

ASBESTOS TAPE, WOVEN

CAUTION: DUST RESULTING FROM HANDLING OR MACHINING SHALL NOT BE
BREATHED. USE ONLY WITH ADEQUATE LOCAL EXHAUST VENTILATION. SEE

SPDS A-20.

SUPPLIERS :
(A) Amatex Corp, 1030 Stanbridge St, Norristown, PA 19404

(B) Atlas Textile Co, 538 Walnut St, North Wales, PA 19454

(C) H K Porter, Inc, 1000 Seaboard St, Charlotte, NC 28206

(D) Raybestos-Manhattan, Inc, 100 Oakview Dr, Trumbul!, CT 06611
(E) Uniroyal, 1230 Ave of Americas, NY, NY 10020

(.010" thk) A-B-E
(.015", .025" thk) A-B-C-D-E

ORDER FROM SUPPLIER AS: Tape, P D Spec 41511AA Rev A.

CHARACTERISTICS: . (Previous 1598) (Users?” BM &P~SC-MAR-PF, SH)3Closely
woven, unsized’asbestos taps, .010", .015" and .025" thk. Tape
.015" thk ‘and over is constructed of asbestos yarns, both warp and
fill, which may contain 20% (max) cotton. Tape .010" thk contains
in addition to asbestos warp yarns two cotton threads at each edge
and filler is of fine cotton yarn. Cotton content of asbestos

warp threads is approx 17% and total percentage of cotton is
approx 27%.
For additional properties and construction details see PDS.

TOLERANCES: See PDS

EQUIVALENTS (ref only): MIL-I-3053, tape. grade U.G., type 2PU
- TRADENAMES: MIL I 3053 GR U G TYPE 2PU

APPLICATION: Taping TI 130 armature coils

CORPORATE PART NUMBER: PDS No. + Size Code
Example: 41511AA1BM (ASB TAPE - If reference name is desired)

ttt t ¢ # tng

Westinghouse Electric, R&D (FSCM 79500) Pg 1 of 1, PDS 41511AA
Corp Stds, Pittsburgh, PA 15235 Rev A; Jul 5, 1976

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Case 318-cv Ot eS Docume ph @3£c FbgS) 01/24/20 Page 105 of 186

RL Rev D
DA Jan 20, 1977

TI ABESTOS PAPER

CAUTION: DUST RESULTING FROM HANDLING OR MACHINING SHALL NOT BE
BREATHED. USE ONLY WITH ADEQUATE LOCAL EXHAUST VENTILATION. SEE

SPDS A-20.

CA

SU SUPPLIERS :
(42231AA) Johns-Manville, Greenwood Plaza, Denver, C0 80217

OR ORDER FROM SUPPLIER AS: (42231AA) Paper, P D Spec 42231AA Rev D.

CHARACTERISTICS: 42231AA (Previous 4262-1) (User: BM BMM CL EP M&R
‘ TM) High grade asbestos paper composed of nonferrous type asbestos
fiber specially manufactured to be free from conducting particles.

It is much freer from conducting particles than commercial
asbestos paper 42331AA and is considerably more expensive.

CH

Tear Str, Min Apparant Density Basis Weight,

 

Thk, Tens Str, Min
Inch. (Lb/In Width) (Gm/In. Width) Grams/cc Lb/100 Sq Ft
Nom MD CMD MD CMD Min Max Min Max
0.005 12 7 20 28 =. 65 91 1.7 2.3
-0065 15 9 28 39 =. 76 .89 2.4 3.1
.007. 17 10 29 40.69 .95 2.9 3.5
.010 20 12 40 47.67 .92 3.6 4.8
.015 23 13 62 77~~=~«69 .94 5.5 7.5

42231AB (Previous 4262-2) Obsolete.

TL TOLERANCES: See PDS

EQ EQUIVALENTS (ref only): MIL-I-3053, type 2PU
TRADENAMES: MIL I 3053 TYPE 2PU QUINORGO 4000

AP APPLICATION: Treated with shellac for field coil insulation.

cp CORPORATE PART NUMBER: PDS No. + Size Code
Example: 42231AA18Q (ASB PAPER - If reference name is desired)

Westinghouse Electric, R&D (FSCM 79500) Pg 1 of 1, PDS 42231AA-AB
Corp Stds, Pittsburgh, PA 15235 Rev D ; Jan 20, 1977

HHBB-08032278
Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 106 of 186

EXHIBIT I
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RERAS 2032S
Equipment _ Serial Ho. Fieid Change Noe.
SED-5 939, 929, 925
i 369, B88, 878 3
fED-7 583 3
P=29G8/0RR 696, 395, 652 2
AM/GRC-272 Remote - rugs. 5735 iL
AMARC -32 zB 3, 4%, 5, 6, 7, 8
i 3199, #938, 2837 35
|<ayae 53 — 95%, Line 18
/BPK—BA 1332, 1323 13, 28
| O32 “ 328 2
186 , 2
5it 1, 2, 7
g2k i, 2, 3
429, 2719, 2125 L
1ss2.. 3539 2
655, 825 _2
‘fe Following ShipAits are cutetanding:
APA-398 — Replace V's with BM/SPA-HA radar repeaterd .
" APA-95L Insteli additional remotes in Radio 1
APA-323 _ Relocate 5 BEATE Receivers From Radio 2 to SAAC
APAUZE Extend REQ System
APA-929 Facsimile Equigmert
APA-~981 Improve Anutema systex
BPA-986 Teletype Tape Pactiities
APA-982 iFAS Radio Equipment
APA-983 SSB Radio Equipment
APA-991 Automatic off-line Crypto {BN /SER-3)
BPA-889 On-Line Seourity Equipme
APASS2 - Install improved ECM Equipment AN/WLR-L}
APA-973 AN/USG~-7 Recoréer
APA-S89 Loran “C™ Convexter

BPA-9388 impraved Air Search Radar (F23/SPSAL9)

 

 

 
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NAVSiNIPS | ue6i (REY. 183)

 

 

 

 

 

 

    
 

 

 

 

 

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Direction Finding Antenna . . ee ae BETA =" “eee
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conta oats | 03299 § : i Local, Télesse.
| ateroxt 2 | 0866150389039 te NSY NeNVA ats | Leos, wel ;
| ROM AigLitier ' ; 63838 9 te a — Leoel reLeage
AS<571/81R 1 | 08661503a9037 te NSY NOVA dixects leeal, release.
Agthenns, - sO, ,
Ag-6164/SIR_ “1 | G8681-50329038 to. NBY NORVA aixecte local. release.
. aren Atonte :
3 1 a fern ee 1 easensanseoe3 to N8¢ NORVA ide shinnent te
Rader Display~ NBY pa
OER. BADTO. BAU. ccc eee Sit ct meen pmonen nine “ener
-AN/ABG»20- 3 | (3) AN/oRo-@7A onboard, retedn,
Transceiver.  y
HD: 11, O# beard, retain.
(| AM61365 /une 6 | caésis10kso's 6 iis NORVA Gixects shipment to
RY Amphifies NSY PHITAs

 

 

 

 

   

 

 

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___ Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 109-of 186—

MIL-HDBK- 162A

 

 

Volume 1
15 December 1965 Section 3
DATE: 1 July 1964 ITEM NAME: RADAR SET
COGNIZANT SERVICE: USN TYPE: AN/SPS-8’, -8A**, -8B
F5840- 644-4906*
FEDERAL STOCK NUMBER: F5840-665-1965**
‘ USA USN USAF USMC
STATUS OR TYPE CLASSIFICATION See Note 1

 

 

 

 

 

Mfg(s) Name or Code Number: General Electric Company

 

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AN/SPS-8

AN/S PS-8: 1
Case 2:18-cv-02119-TJS.Document637 Filed-01/24/20--Page 110 of 186

Volume 1
Section 3

AN/SPS-8, -8A, -8B
FUNCTIONAL DESCRIPTION

Radar Sets AN/SPS-8, -8A, and -8B are shipboard
integrated search and height-finding radar systems used
for the detection and surveillance of aircraft. It presents
target height, slant range, bearing, and beacon
information on Radar Repeater Equipments VK and VL.

The antenna is precisely stabilized by use of a
stable element and the roll and pitch servo loops.

RELATION TO SIMILAR EQUIPMENT

None.
TECHNICAL DESCRIPTION

Frequency: 3430 to 3570 mc
Peak Power Output:
AN/SPS-8 - 650 kw
AN/SPS-8A, -8B - 1 megw
Pulse Repetition Rate:
AN/SPS-8 - 500 and 1,000 pps
AN/SPS-8A, -8B - 450 and 700 pps
Pulse Width: .
AN/SPS-8 - 1 and 2 -psec
AN/SPS-8A, -8B - 2 psec
IF. Frequency: Radar 30 mc; beacon, 60 mc
Range, Max:
AN/SPS-8 - 60 naut mi on two F2H fighter
planes at 1,000 pps and 5 rpm
AN/SPS-8A, -88 - 72 naut mi on two F2H
fighter planes at 700 pps and 5 rpm
Antenna Feed:
AN/SPS-8, -8A - Robinson horn scanner
AN/SPS-8B - Organ pipe scanner
Horizontal Beam Width:
AN/SPS-8, -8A - 3.5 deg
AN/SPS-8B - 1.5 deg
Vertical Beam Width:
AN/SPS-8, -8A - 1.1 deg
AN/SPS-8B - 1.2 deg

MIL-HDBK- 162A
15 December 1965

Antenna Gain:
AN/SPS-8, -8A - 37.5 db
AN/SPS-8B - 41 db .
Antenna Speed 1, 2, 3, 5,and 0 rpm, or manual
Azimuth Coverage: 30 to 200-deg
Elevation Coverage:
AN/SPS-8, -8A - Any 11 deg sector between
O and 36 deg
AN/SPS-8B - Any 12 deg sector between 0
and 36 deg
Scan Rate:
AN/SPS-8, -8A - 1,200, 600, and 300 rpm or
manual
AN/SPS-8B - 970, 720, and 360 rpm or manual
Reflector Elevation:
AN/SPS-8, -8B - 4 to 29 deg ©
AN/SPS-8B - 6 to 30 deg

INSTALLATION CONSIDERATIONS

Siting: To ease servicing and maintenance, place units
as close together as possible. Receiver transmitter
unit must be no more than 125 feet from antenna to
avoid excessive moding and pulling of magnetron.
300 ft is the maximum recommended distance apart
for other units, Place modulator close to transmitter
to avoid loss through pulse cables. Place Radar Set
Control C-1176/SPS-8A or C-677/ SPS-8 above the
master VK and VL indicators.

Mounting: Bolt base shock mounts to deck and rear
shock mounts to bulkhead. Bond each equipment
cabinet to deck or bulkhead to protect personnel and
prevent stray electric fields.

Cabling Requirements: Special procedure for
assembling the high voltage pulse cables is given in
Section 3 of NAVSHIPS 91988(A) or 91522(A).

Related Equipment: Navy Model VK Plan Position
Indicator; Navy Model VL Range-Height Indicator.

AN/SPS-8: 2
Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page111 of 186—

Volume 1

MIL-HDBK- 162A
Section 3

15 December 1965

AN/SPS-8, -8A, -8B
PRINCIPAL COMPONENTS AND PHYSICAL DATA

 

 

 

 

 

 

 

 

COMPONENT QTy HEIGHT WIDTH DEPTH UNIT WT.
(inches) (Inches) (Inches) (Pounds)
AN/SPS-8
DG Synchro Amplifier Mk 3 Mod 1A 1 12 14 20-1/4 104
Synchro Signal Amplifier Mk 7 Mod 2C 1 14-1/4 15-3/4 22-3/4 467
Antenna AS-484/SPS-8 3985
Radar Receiver-Transmitter Group 1 31-7/32 © 45-1/2 70-3/16 1272
OA- 160/SPS-8
Capacitor Assembly CB-4/SPS-8 4 10 11 16 97
Radar Modulator MD-122/SPS-8 1 24 46 70 2243
AN/SPS-8A, -8B
DG Synchro Amplifier Mk 3 Mod 1A q 12 44 20-% 104
or Mk 7 Mod 2C y
Antenna AS-484A/SPS-8 5400
Antenna AS-828/SPS 4431
Radar Receiver-Transmitter Group 4 31-7/32 45-1/2 70-3/16 1192
OA-461/SPS-8A
Capacitor Assembly CB-4/SPS-8 1 10 11 16 97
Radar Modulator MD-217/SPS-8A 1 24 46 70 2243

 

REFERENCE DATA AND LITERATURE

Technical Manual:
NAVSHIPS 91522(A)
NAVSHIPS 91988(A)

Note 1. Navy Status or Type Classification.
AN/SPS-B - Ltd Std
AN/SPS-8A ~ Sub Std
AN/SPS-8B - Std

AN/S PS -8: 3

 
Case 2:18-cv-02119-TJS Document 637. Filed-01/24/20 Page-112 of 186

MIL-HDBK-162A Volume 1
15 December 1965 Section 3
DATE: 1 July 1964 ITEM NAME: RADAR SET
COGNIZANT SERVICE: USN TYPE: AN/SPS-8D
FEDERAL STOCK NUMBER:
USA USN USAF USMC

 

 

 

STATUS OR TYPE CLASSIFICATION

 

 

 

 

Mfg(s) Name or Code Number: General Electric Company, Syracuse, New York

Hlustration not available.

FUNCTIONAL DESCRIPTION

The AN/SPS-BD Radar Set is a shipborne three-
coordinate radar used for search, detection, height
finding and control of intercepts. Has continuous
scanning in elevation and azimuth, presenting any 120

degrees elevation sector between o degrees and 36
degrees elevation for the full 360 degrees in azimuth at
2, 3, 5 or 10 rpm or manual search lighting or sector
scanning, with 41 db high-gain fully stabilized antenna.
It consists of Radar Set AN/SPS-BA and AS-828A/SPS
Antenna.

AN/SPS-8D: 1
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© , SHIP TEST MEMORANDUM
ELECTRONIC INTERFERENCE TEST

REGORDED DATA SROTION
THE
. DURING THE| ACTUAL: “PERFORMANCE OF THIS TEST HOMORANDUM
. SHIP = 36)
DATE oe SERIAL NO._15 038
WEA so en ee
OFERA rs eo
LOCATIO > STATION
NOLSE LEVEL (DB) ENNA USED
a ;

BACKGROUND ‘tnrmR-| EQUIPMENT | TOTAL
NOISE FERENCE INTERFERENCE

 
Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 “Page 115 of 186

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q@wsiss \2)
SHIP TEST MEMORANDUM
ELECTRONIC INTERFERENCE TEST
REG i
THE RMATION INDICATED BY THESE SHEETS SHALL BE COMPLETED
DURING THE [ACTUAL PERFORMANCE OF TRIB TEST MEMORANDUM -
SHIPUSS CAMBRIA \36)
IVER “Ti SERIAL NO. 934
WEA‘ 60 Ne ; me

OPERA :
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RECE: NOISE LEVEL (DB) ANTENNA USED

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“NTER- | EQUIPMENT | TOTAL
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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 116 of 186

   
  
  
 
  
 

 

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*
(c) Demonstrate operation of all Key Control

Stations by patching the TED-RED, in MCW
operation, as indicated in Table ER-18c.

 

EVENT ER-19 0800 = IFF Equipment

 
 
   
  
   
 
 
  
 
  
  
  
 
  
 
  
   
    

(a) Concurrent with air-seareh radar exereisés:

Demonstrate, in all modes, the response

and coverage of the AN/UPX-1 identification
set. Use the same flights of aircraft used
in Event #17. Record all data in Table 19.

(>) Reéeeom the maximum tange observed during the
trial.

(¢) Demonstrate the operation of the MY/UPK-12 '_<cif ¢
by observing the operation of the * 5
gate” and "Reply" lights, and by use of the
shipboard IFF test equipment. —

 
  

 

EVENT ER-20 1360 Demonstrate Troon Commnications Equipment
(a) TCS equipments were demonstrated in Event

(b) Demonstrate voice capabilities of each SRC
Transmitter and Receiver by sequential
patching utilizing LHMS—1 in Radio Gentral.
Pateh equipuents as indicated on Table
ER-20. Hecord results on Table ER-20.

EVENT £R-21 1500 Demonstrate Portable Communications Equipment

Demonstrate Portable Equipment within the ship. l
Denionstration of the survival radio equipment is ;
mandatory. Care shall be exertised to insure

that distress signals are not inadvertently trans—
mitted oubside the confines of the ship: t

 

Demonstrate VHF & UHF Commmications

x
:
8

Back up if required, Same as Event ER-3.

  

 

 
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(27ex) Procure missing rebhntcad manuals and instruction sheets
oo (BST! 67-53)

(28ex) Correct and vesubait Ship Electronic Tristallation Record -
. HavShies 4419. ai 67-115 and NavShivs 9¢%,135C)

(29ez) Procure missing crystals to £512 allewanee as per BuShips
Instr. $957. 580)...

(3gexn) Procure and instal + anterferense #3iters IAW EIB Sys...

(Giex) Replace miscing equipment identification 3 labels in ali -
electronic spaces.

G2er uns an vadiae equipment for calibration and repair raw ‘eurstestt

(@3ex) Cicsan, ropiecentia, * ssl make Light ‘tight, the fafeared search-
Light filters.

{(3tex) Procure missing Metiveensiice Stundaxds ‘Books, SavShip B Ouse 42
mr Performance Standards Sheets, NavShips S2nexx - 32. (85i™ S7=5ls)

(3Sex) Procure and post at each operating position, Gperating Instruction
Charts, NayShaps BaKKR Zi or equivelent. (esie 67-54)

(36ex) Complete establishing Reference Standards as preserved in
applicable Maintenance Standards Book, Part I, end forward
completed Reference Standards Summary "Sheets (BS 67-54)

(3?ex) Propexiy install aporoved rubber deck matting in the following
spaces: {BSTM 24-15 and 57-262)

Radio Central ' €xypte Room
| Chart House .

(sex) Isiventory and replace missing test equipment accessories.
(39ex) Procure aissing allowance - itens ineluding: (BuShips Instr.

 

 

YORI 330)
AN/GRE ~37 3 asi/eUR-273 a iN-90/20
sii % AR/PDR-S6 3 PP-358/ED
 & CP-95/2B
12. IM-383/2R
2153/0

 

 

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Repair the following inoperative portable radio equipment: ©

 

 

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(Hex)
(2lex)
{22ex)

 

a
(2)\_ AN/PRC-
: ae serial Lo‘i2

Repair inoperative TCS #3, #6, and # 2.
Repair inoperative teletype machines:

(2) Model 18 Radio I
SEY #1 — ° :
STY #2 “ ,
TTY 47

Repair the following inoperative AN/SRR-13A receivers: 15,
iC, and 2A. - os ia 7 3

Procure services of quelified maintenance personnel and test

operate KW-26. ; |
Procuxe adequate supply of batteries for AN/URCEY and SCR-535

Repaix inoperative indleator lights in X-3/A infra red bescon.
Replace broken and missing radio telegraph keys ii SACC. .

Procure and permanently post approved waning signs in spaces
ang topside areas. -(@STH §7-284 and EIB 572) 2 .

Install: gréunfied type a.c. service outlet boxes for test
emiipwent and portable tools in the vicinity of electionics
equipment. (855M 62-17)

"“Rlank OFF or replace ungrounded 2.¢. service outlets im-- ~~

araiied in all eléetronies equipments. .@STM 62-17)
Correct the following deficiencies throughout the installation:

a. Replace temporary lebeling with permanent label plates.
b. Strap and clanp loose cabling.

‘e. Replace broken and missing meter glasses, captive SECravs ,

tube clampé and shields, indicator lamps anc lens, end

 

 

otser haravare -

identify and tag cebling te and agesviated with electronic
equipment (BSTM 68-268)

Se

 
Case 2:18-cv-02119-TJS Document 637. Filed 01/24/20 Page 119 of 186

 

 

 

MIL-HDBK- 162A Volume 1
15 December 1965 Section 3
DATE: 1 July 1964 ITEM NAME: RANGE-AZIMUTH INDICATOR
COGNIZANT SERVICE: USN TYPE: AN/SPA-4, * -4A, ** -4B***
F5840-665-3686"
FEDERAL STOCK NUMBER: F5840-644-4626**
F5840-552-1903***
USA USN USAF USMC
Ltd Std*, **

STATUS OR TYPE CLASSIFICATION Sub .Std***

 

 

 

 

 

General Electric Company’; Radio Corporation of America **;

Mfg(s) Name or Code Number: Bendix Aviation Corporation

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FUNCTIONAL DESCRIPTION

Range-Azimuth Indicators AN/SPA-4, -4A, and -4B
provide PPI type presentations of target range and
azimuth when supplied with video and trigger signals
from any one of eight search radars. Azimuth is
determined by means of a mechanical cursor. The
target presentation is the result of two alternately
generated electronic sweeps — the PPI sweep and the
cursor sweep. The PP! sweep is rotated through 360

-degrees.on...the-...screen_.in. synchronism _ with the .

associated radar antenna, and the cursor sweep traces a
single, controlled radius. A spot-of-light range strobe
appears on the screen during the cursor sweep and can
be superimposed on any target in the PPI display, thus
permitting a highly accurate measurement of the target
range. Field changes to the AN/SPA-4 and AN/SPA-4A
provide an indication of true bearing which is
incorporated in the design of the AN/SPA-4B.
RELATION TO SIMILAR EQUIPMENT
None.
TECHNICAL DESCRIPTION
Video Input:
AN/SPA-4 - +1 to +2.5v
AN/SPA-4A, -4B - +2 £0.5v ~
Trigger Input: +5 to +50v
Pulse Repetition Rate:
AN/SPA-4 - 140 to 3, 000 pps
AN/SPA-4A, -4B - 60 to 3, 000 pps
Operating Voltages and Power Requirements:
AN/SPA-4 - 115v +10%, 60 +2 cps, 1-ph, 14.2
amp, 97% pf, 715 va, 690w
AN/SPA-4A, -4B - 115v 10%, 60 cps, 1-ph,
amp +10%, 90% pf, 1, 110 va
Type of Presentation: One 10-in. PPI
Range Marks:
AN/SPA-4 - 0.5, 1, 5, 20, and 50 mi
AN/SPA-4A, -4B- 0.5, 1, 2, 5, 10, 20, and
50 mi

AN/S PA-4: 1
Case 2:18-cv-02119-TJS Document 637. Filed 01/24/20 Page 120 of 186

MIL-HDBK- 162A

Volume 1
Section 3 15 December 1965
AN/SPA-4, -4A, -4B head by means of two shock mounts at the up-
per rear of the unit.
Range Strobe Accuracy: +1% of range scale Tilted Mounting: As much as 45 deg forward
Azimuth Accuracy: 2 deg for 1-speed; slanting allowed. Equipment must be perma-
1 deg for 1- and 36-speed nently attached to a support tilted the same
Sweep Accuracy: +1% from 1- to 20-mi range; angle as the equipment.
+2% from 20- to 250- or 300-mi range Cabling Requirements: Video and trigger cables
must have a characteristic impedance of 75
INSTALLATION CONSIDERATIONS ohms. The rear cable entrance hole is not
available when Air Exchange Valve MX- 1478/
Siting: If open bridge or weather exposed site is SPA-4A is used.
used, Air Exchange Valve MX- 1478/SPA-4A Related Equipment: Designed for use with any
is needed. standard Navy search radar system having a
Vertical Mounting: Bottom shock mounts must prf between 140 and 3, 000 pps.

be bolted to a horizontal deck or surface. If
practical, further secure equipment to bulk-

PRINCIPAL COMPONENTS AND PHYSICAL DATA

 

 

 

COMPONENT QTY HEIGHT WIDTH DEPTH UNIT WT.
(Inches) (Inches) (Inches) (Pounds)
Range-Azimuth Indicator. ane eee srw ann no 4 -~ 37-45/16: -:) = 2222-2 1-3/42 fer j=
ID-302/SPA-4
Range-Azimuth Indicator 1 38 21 19 366
“AN/SPA-4A .
Range-Azimuth Indicator 1 39 21 19 - 400
AN/SPA-4B

 

 

 

 

 

 

 

REFERENCE DATA AND LITERATURE

Technical Manuals:
NAVSHIPS 91659
NAVSHIPS 91825(B)
NAVSHIPS 92942(A)

AN/S PA-4: 2

 
Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 121 of 186

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© NAVSHIPS 9182542 | Non-Registered

“APPROVED MANUSCRIPT”
MAINTENANCE STANDARDS BOOK
for
RANGE-AZIMUTH INDICATOR

AN|SPA-4A
_ SERIAL NO.____

RCA SERVICE COMPANY
GOVERNMENT SERVICE DEPARTMENT

CAMDEN, NEW JERSEY.

DEPARTMENT OF THE NAVY
BUREAU OF SHIPS

 

 

 

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 122 of 186

 

 

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PART Uf - WEEKLY NAVSHIPS 91825, 42 AN/SPA-4A

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RANGE AZIMUTH INDIGATOR
AN/SPA-4A
TOP PANEL CONTROLS

 

 

 

 

 

 

 

 

 

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FUSE LOCATIONS

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Page 123 of 186

 

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AN/SPA-4A . « ‘NAVSHIPS 91825. 42 _

AN/SPA-4A with EXTERNAL POWER switch (S-816): OFF

 

PART I - WEEKLY

STEPS GW) AND

O.M. Designates
Operational Maintenance

 

 

 

 

 

 

 

 

 

 

STEP} ACTION , rn
No. | REQUIRED PROCEDURE
Clean the light The light filters, cursor and windows are made of transparent

filters, cursor plastic (Lucite). Be careful not-to scratch the surfaces. Use
O. M.| and windows a clean, soit cloth with Permay #246 Plasticlean compound.

over the counter DO NOT use water or a wet rag.

dials.

Check the control | Tighten all loose control knobs. See that the spare fuses are
(AW) Imobs and spare in the proper place and are jn good condition.
| fuses. ‘
O. M..!
NOTE
The charts for steps 3W and 4W appear on page 2-24.

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 124 of 186

 

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PART II ~- MONTHLY | NAVSHIPS 91825. 42 . AN/SPA-4A

STEPS (13m) AND

 

 

 

 

    

RANGE AZIMUTH INDICATOR
- AN/SPA-4A -
VIDEO-MARKER-STROBE
CHASSIS PULLED OUT.

REMOVAL OF AIR FILTER

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2-22 “DECLASSIFIED ORIGINAL
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AN/SPA-4A NAVSHIPS 91825. 42

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AN/SPA-4A with EXTERNAL POWER switch (S-816): OFF

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Page 125 of 186

PART i - MONTHLY

STEPS (3m) AND

 

NO. REQUIRED

STEP ACTION | PROCED

 

the equipment. necessary.

Clean the inside Clean the inside and outside of the AN/SPA-4A with a clean,
and outside of soft, dry cloth, using a bellows or a vacuum Gleaner where

 

 

Clean the air Remove the Power Supply chassis and loosen the four’ machine
filter . screws holding the filter in place,
the filter in a hot water solution of dishwashing compound or
other approved Navy solvent. Dry throughly. Dip the filter
in light engine oil, let drain and replace.

Slide the filter out. Wash

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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-Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 126 of 186

 

 

 

 

 

 
 

 

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‘AN/SPA-44 ame NAVSHIPS 91825. 42 _ PART I - SEMIANNUAL
. STEP (2s)
6 - AN/SPA-4A with EXTERNAL POWER switch (S-816): OFF
~ i
STEP ACTION
NO. REQUIRED PROCEDURE

 

(as), Inspect ali Inspect the gears and all friction surfaces for excessive wear
t gears. or complete dryness. This equipment has been properly

lubricated at the factory. Under normal conditions, oiling
will not be necessary during the life of the equipment since
oil-impregnated bearings are used. Should extraordinary
conditions develop makirig it necessary to lubricate the
elements of the unit, sparingly apply a fine medium oil to
all bearings (except the oil-impreguated) with a drop stick.
When abnormal conditions make it necessary to lubricate
the gear trains, apply a thin coating of a non-fluid grease.
Be sure that no grease comes in.contact with the electrical
components of the equipment. ,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STEP tet HALF 2nd HALF ___ 8rd HALF _ 4th HALF-
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“APPROVED MANUSCRIPT”
MAINTENANGE CHECK-OFF BOOK
for -
INDICATOR GROUP
AN/SPA-8, AN/SPA-8A, AN/SPA-9

 

MODEL NO.
SERIAL NO.

RCA SERVICE COMPANY, INC.
GOVERNMENT SERVICE DEPARTMENT
_CAMDEN, NEW JERSEY

DEPARTMENT OF THE NAVY

 

 

 

 

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 128 of 186

 

 
 
  

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WEEKLY NAVSHIPS 91411. 41 AN/SPA-8, AN/SPA-8A;
STEP © AN/SPA-9
ROUTINE 7 :
POWER "SUPPLY
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o ®@O — SS @
BATTLE SHORT @ EN C—______>@ PORER
FUSES BLOWN INDICATORS! 5 ——— __ SPORES -
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V2a -BOV v2a
Wea O -350V V4
PROTECTIVE “ O- . _
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AIR FILTER LOCATED BEHIND PROTECTIVE HOUSING
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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 129 of 186

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AN/SPA-8, AN/SPA-8A, NAVSHIPS 91411. 41 | WEEKLY
AN/SPA-9 STEP ®
ROUTINE
& WARNING
BEFORE ATTEMPTING TO REMOVE THE AIR FILTERIN| ~ .

THE POWER SUPPLY, FIRST MAKE SURE THAT THE
POWER SWITCH IS IN THE OFF POSITION. WITH THE -
FILTER: REMOVED, THE BLADES OF THE BLOWER FAN
ARE EXPOSED. -_

Indicator Group POWER switch: OFF position.,

 

 

 

 

 

a eeGuRED PROCEDURE
o Clean Power Remove protective housing by loosening the four captive screws.
' Supply air filter. Remove filter. (If it isnot readily removable, it may be pushed

_ out from rear of panel.) Clean filter with hot water solution of
Dishwashing Compound (SNSN G51-C-1576-100). Dry filter
thoroughly, Add two or three drops of fine grade instrument oil,

" conforming to Spec 14-0-20 (Ord) on filter grid and spread

around by means of an air hose. Use no more oil than prescribed;

excess will be drawn into equipment by the blower. Replace

filter making sure that it is properly seated before replacing

the protective housing. .

 

 

 

JAN FEB | MAR | APR MAY | JUNE | JULY | AUG | SEPT OCT NOV | DEC
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WEEKLY = NAVSHIPS 91411. 41 AN/SPA-8, AN/SPA-8A,
STEPS iD AND @ ; _ AN/SPA-9
ROUTINE
AZIMUTH RANGE INDICATOR
FRONT PANEL REMOVED
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OO Co @
KNURLED hy ™ KNURLED
CAPTIVE SCREW CAPTIVE SCREW
FRONT. OF FILTER COVER HINGED DOWN
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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 131 of 186

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AN/SPA-8, AN/SPA-8A, —— Hvyouiro vial. 41 ; WEEKLY
AN/SPA-9 7 sTEps @ aa ©

WARNING ROUTINE

BEFORE ATTEMPTING TO REMOVE THE AIR FILTER
IN THE INDICATOR, FIRST MAKE SURE THAT THE
POWER SWITCH IS IN THE OFF POSITION. WITH THE
FILTER REMOVED, THE BLADES OF THE BLOWER FAN
ARE EXPOSED,

Indicator Group in TEST OPERATION.
POWER switch: OFF position.

STEP ACTION . PROCEDURE
NO. REQUIRED

@ Clean Indicator air | Remove front panél of Indicator. Reach up under the base of Indi-
filter. cator, from the front, and locate two knurled captivé screws.
Loesen both screws. The front of the hinged filter cover will then
drop down. Remove filter. Clean filter with hot water solution
of Dishwashing Compound (SNSN Gb1i-C-1576-100). ‘Dry filter
thoroughly. Add two or three drops of fine grade instrument oil,
-contorming to Spec 14-0-20 (Ord), on filter grid and spread
around by means of-an air hose. Use no more oii than pre-
scribed; excess will be drawn into equipment by blower. Re-
place filter making sure that it is properly seated before raising
hinged filter cover in place. Replace front panel. :

 

 

 

 

@ Inspection of Examine knobs on'all controls. Replace if broken. Tighten if
controls. necessary. .

 

 

 

 

STEP| gan | FEB | MAR | APR | MAY | JUNE|JULY | AUG | SEPT]! OCT | NOV | DEC
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NAVSHIPS 91411. 41 AN/SPA-8, AN/SPA-8A,

MONTHLY
_AN/SPA-9

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AZIMUTH-RANGE INDICATOR
TILTED FORWARD <

 

 

 

 

WARNING
MAKE SURE THAT THE,
EXTERNAL SUPPLY SWITCH
IS OFF

 

 

 

 

 

 

 

 

 

 

 

POWER SUPPLY
FRONT HINGED DOWN.

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AN/SPA-8, AN/SPA-8A, Peceia eee pee =r MONTHLY
AN/SPA-9 Oo / . STEP @
WARNING ROUTINE
MAKE SURE THE EXTERNAL SUPPLY SWITCH IS OFF.
External supply switch, located to off position.
STEP ACTION '
NO. REQUIRED . PROCEDURE
@ ‘Clean equipment. Clean the inside and outside of Indicator and Power Supply’
; thoroughly. :
CAUTION
EXAMINE SURFACES: FOR ‘DUST AND DIRT PARTICLES BEFORE
CLEANING. DO NOT RUB DUST AND DIRT, BUT RINSE OFF, DO
NOT USE AN ABRASIVE SOAP OR CLEANING COMPOUND. WIPE
GENTLY WITH A CLEAN SOFT CLOTH. USE EXTREME CARE
WHEN CLEANING INSIDE OF INDICATOR AND POWER SUPPLY ‘TO
AVOID DAMAGING ELECTRICAL COMPONENTS, TUBES, WIRE
CONNECTIONS, ETC. a So ssececsiie Melaee
STEP JAN FEB | MAR | APR |] MAY| JUNE |JULY | AUG |SEPT| OCT | NOV | DEC
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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 134 of 186

DATE: 1 July 1964

COGNIZANT SERVICE: USN

FEDERAL STOCK NUMBER:

MIL-HDBK- 162A Volume 1
15 December 1965 Section 3

ITEM NAME: TRANSPONDER SET

TYPE: AN/UPX-12, * -12A, ** -12B***

 

 

USA USN USAF USMC

 

 

STATUS OR TYPE CLASSIFICATION

 

 

 

 

Sub. Std

 

 

Mfg(s) Name or Code Number. General Electric Company*; Radio Receptor Company, Inc.**

Decoder KT-200(/UP Y-12

 

FUNCTIONAL DESCRIPTION
Transponder Sets AN/UPX-12, -12A, and -12B respond
to appropriate interrogations from Radar Recognition
Sets for the purpose of self-identification. They receive
paired-pulse interrogation signals and transmit single-
pulse identifying replies. Interrogations are pulse-pairs
in one or more of three modes as determined by the
spacing of the pulses in a pair. Replies to all modes are
_ single, one-microsecond pulses...

RELATION TO SIMILAR EQUIPMENT
Similar to the AN/UPX-5, -5A, and -5B equipments.

TECHNICAL DESCRIPTION

Frequency: Receiver, 1010 to 1030 mc;
transmitter, 1090 to 1110 mc

IF. Frequency: 59.5 +1.5.mc

Bandwidth: 8 to 11 mc at 6 db down

Duty Cycle: 0.1% while carrying pulses of 10-kw
peak power

Minimum Output: 300w at 500 pps

Pulse Width: 0.9 to 1.3 -sec (50% of peak am-
plitude)

Operating Voltages and Power Requirements:
105 to 125v, 57 to 63 cps or 360 to 440 cps,

1-ph, 398w approx

INSTALLATION CONSIDERATIONS

Siting:

Mounting:

Cabling Requirements: Cables must enter the
cases without sharp bends. Interconnecting
cables between receiver-transmitter and de-
coder must not exceed 20 feet. The antenna
cable must not exceed 150 feet and other ca-
bles should not exceed 300 feet in length.

Related Equipment:

AN/UPX-12: 1
__ Case 2:18-cv-02119-TJS

Volume 1
Section 3

AN/UPX-12, -12A, -12B

PRINCIPAL COMPONENTS AND PHYSICAL DATA

Document 637 Filed 01/24/20 Page 135 of 186

MIL-HDBK- 162A
15 December 1965

 

 

Decoder KY-200/UPX-12

Video Coder KY-136/UPA-38
Radar Set Control C-1047/UPA-38
AN/UPX- 12A

Receiver-Transmitter
RT-3B87A/UPX-'12

Decoder KY-200A/UPX-12

Wideo Coder KY-136/0PA-38°
Radar Set Control C- 1047/UPA-38
AN/UPX- 12B

Receiver-Transmitter
RT-387B/UPX-12

Decoder KY-200B/UPX-12
Video Coder KY-136/UPA-38

Radar Set Control C-1047/UPA-38

 

 

 

 

 

 

COMPONENT QTY HEIGHT WIDTH DEPTH UNIT WT.
(Inches) (Inches) (Inches) (Pounds)
AN/UPX- 12
Receiver-Transmitter RT-387/UPX- 12 1 15-1/2 18 28-3/8 141
1 10 18 26-5/8 101

 

REFERENCE DATA AND LITERATURE

Technical Manual:
NAVSHIPS 92820

AN/UPX-12: 2

 
 

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“APPROVED MANUSCRIPT”
MAINTENANCE STANDARDS BOOK
for
RADIO SETS AN [SRC-13, -14, -15

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RCA. SERVICE COMPANY
GOVERNMENT SERVICE DEPARTMENT

_CAMDEN, NEW JERSEY.

‘DEPARTMENT OF THE NAVY
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PART I -' QUARTERLY ©

STEP

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Filed 01/24/20 Page 137 of 186

NAVSHIPS 92441. 42 _AN/SRC-13, 14, 15

AN/SRC Completely De-energized.

 

STEP
NO.

AC TION
REQUIRED

PROCEDURE

 

Inspect the equip-
ment for mech-
anical faults.

 

Inspect the ground clamp and ground straps for clean, tight
connections. Clean and tighten cup insulators and bushings.
Inspect the operation of the shock mounts.

Inspect cables, plugs, connectors and receptacles for cracked
or defective insulation. Straighten cable kinks and remove

’ improper supports.

Inspect the terminal boards (including terminal boards in junc-
tion box of mounting MT-327/GR, MX-1583/SRC (if used) and
Control Box C-375/VRC). Clean corroded connections with
crocus cloth.

Inspect all switches for proper action, evidence of arcing and
tight connections, Inspect all potentiometers for broken parts,
Ioose connections and loose or missing control imobs.

Inspect the mechanical tuning and detent.assemblies for loose
or broken parts and for dirt, rust or corresion. Clean,
tighten and replace all defective parts.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STEP lst QUARTER 2nd QUARTER 8rd QUARTER 4th QUARTER

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STEP 5th QUARTER 6th QUARTER 7th QUARTER 8th QUARTER

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AN/SRC -13, 14,15

 

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PART IE - SEMIANNUAL

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O.M. - Designates
Operational Maintenance.

NAVSHIPS 92441. 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STEP ACTION PROCEDURE
NO, REQUIRED a
Inspect and clean| Unscrew the mast section from the mast base. Clean each
the Antenna mast section and antenna cup insulators with soap and water.
O.M,. mast section Remove ali salt and soot deposits, rinse with clear water and
and base. dry thoroughly. .

Inspect the mast section for rust and corrosion, particularly at
the threaded connector. Remove all foreign material with
crocus cloth or by careful scraping. ‘

Remove the ground strap and the ground clamp at the Antenna
cup insulator. Clean and replace parts as necessary for a
clean, tight connection. :

Inspect the cable connector at the Antenna base, Remove ail

‘foreign matter that would prevent a good electrical connection
STEP 1st HALF 2nd HALF 3rd HALF 4th HALF
NO. | initial | Date Initial | Date Initial | Date Initial | Date
ORIGINAL ~~ DECLASSIFIED 2-31

Authority Alssh 41 4352

 
"Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 140 of 186

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*
NAVSHIBS - 91420.41 Non-Registered

“APPROVED MANUSCRIPT” |
MAINTENANCE CHECK-OFF BOOK

| for
: SONAR SOUNDING SETS
AN/UQN-1B, AN/UQN-IC

MODEL NO.___- —

SERIAL NO._____

 

“.” RCA SERVICE COMPANY, INC.
COVERNMENT SERVICE DEPARTMENT
CAMDEN, NEW JERSEY

Elecironics Divisions
. File Copy
Retum io Code 991

DEPARTMENT OF THE NAVY
BUREAU OF SHIPS

 

 

 

 

 

*
Contract: NObsr 63505 Approved by BuShips: 6 September 1955

DECLASSIFIED
Authority NN) F138

 

 
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MONTHLY
STEPS 1) THRU (3)

 
   

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i : (om a
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of the National Archives,

(1) CLEAN EQUIPMENT
(2) INSPECT ALL CONTROLS

 

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 141 of 186

NAVSHIPS 91420. 41  AN/UQN-1B, AN/UQN-1C

ORIGINAL

 

 

 
Case_2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 142 of 186

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o

 

AN/UQN-1B, AN/UQN-1C NAVSHIPS 91420. 41 MONTHLY
STEPS (1) THRU
ROUTINE
Sonar Sounding Set de-energized
Front cover open =
TION oe
ao ® deauneD PROCEDURE -

 

®

Clean equipment.

Clean inside of cabinet with vacuum cleaner. Withdraw and invert
Receiver-Indicator chassis and vacuum. All dirt must be re-
moved from switches, terminal boards, and tube sockets. If all
dirt cannot be removed by vacuuming use dry brush to loosen or
remove deposits. Any remaining deposits are best removed with
a clean lint-free cloth which has been moistened with Dry Clean-
ing Solvent 140-F Fed. Spec. P-S-661 type TI (5 gal; SNSN
G51-S-4718-10).

Corrosion must be removed whenever it becomes evidenf. Con-
nectors, terminals, jacks, ‘etc. can be polished with crocus
cloth or #0000 sandpaper in especially stubborn cases.

 

General mechanical
.--jnspection.-

Visually inspect the mechanical action of all controls. Clean with
Dry Cleaning Solvent 140-¥F' Fed: Spec. P-5-661 fype 1 {i gals" ~
SNSN G51-S-4718-10) if sticking occurs. Check that all mount-
ings and connections are tight. All shafts should rotate freely. |
All switches must be inspected for damage due to arcing. When
it is necessary to burnish contacts use a burnishing tool.

 

General electrical

Note and replace charred wiring, burnt or discolored resistors,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

inspection. and bulged or broken capacitors. Inspect all cables and wiring
for frayed, cut, deteriorated or cracked insulation, kinks or
strains.
STEP JAN FEB | MAR | APR | MAY} JUNE JULY | AUG |SEPT OCT | NOV
No. } Month } 49 i9 {ig {19 {19 | 19 |19_ j19 j19_ )19_ (| 18
QQ) | Initial
Date
(2) Initial
Date
(3) Initial |
Date
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Authority NA) 91 436A

 
 

Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 143 of 186

UNCLASSIFIED

april 1956

RADIO TRANSMITTING SET

 

faato- Sransattking Sét A¥/SRE-L

FUNCTIONAL: DESCRIPTION

tia: ANYSEA parbabilé £ikedk gaint
casteeyewoeal soy ans et I iy

   
 

  

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vents ghe

 

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distress : signal. de pant. 18 timo,
dashes are also: gent: 6. times ba fackt
che taking of. ‘paapings by rescus-abips.: The

   
 

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jeratonm, bab Hand. telegraph Key -
eertied ded fér- aise. By a radio operator ah she
eanamatans: of A®. messages. Te ineluded
noe. haw Life: ‘of ° ‘BS oinutes, or ix Ra0d

fof whe 2 sanate ‘messdge cycles, This
will he: sudficiant for 48 Hours 3% the unit
ie.axed only on the Kaur, o% rehosmonded.

 
  

 
 

FRUIPMENT SUPPLIED DATA eee ee

Radiq-Transmittera

AN/SRT-1

A-batkery charging anel (Radiomirine’ ‘Garp.
ef América Wadel ‘AME 16) ‘conaisbing of an
dumeter and current ‘Hint ing: resistors is
used: ta chirge the transmitter storage bate

‘very, from the 115 ¥, DC alii ap ee

No field chenges tn effect :a¢ tind of

preparation (28 March 1958)»

RELATION TO OTHER EQUIPMENT

The AN/SRT-3 ip idonticad to Radiomarine
Corp of Amoxica Emergency: ‘Trenamitter Model
ET~8026.

ELECTRICAL AND MECHANICAL CHARACTERISTICS

FREQUENGY HANGE: 500: ke international dis-
trons frequency.
CONTRO

‘FREQUENCY: OL: Designed for single fre-
quency, onlys.
TYPE ‘OF EMISSION; Al (automatic keying) or
‘XD Chinnd’ keying) -

  

POWER OUTPUT: 5 Ws.

voi 50 to. 100m. a .
PO HEQUIREMENTS: 6 ¥ aboruge battery

goltscontainsds...
2 Ravipedne | hus wire antenna. ‘abtaghad

"fox Wafehoat uss:

MANUBACTURER’S ‘OR CONTRACTOR'S DATA

Radiomarine Corp of Anerics, Néw York, NX.

TUBE AND/OR CRYSTAL COMPLEMENT

(2) 1624
Tots] Tubes: (2).

No Crystals Used.

REFERENCE DATA AND LITERATURE

TM 12-487A: Directory of Signal Corps Radia
Communication Bquipmont. .

 

~ EYRE: CLASSIFICATION
‘DESIGN COGNIZANCE TASSA
PROCUREMENT COGNIZANCE
STOCK.NO.

 

 

 

 

 

 

 

QUANTITY OVERALL DIMENSIONS ‘WEIGHT.
PER NAME AND NOMENCLATURE (inches); (Hea
EQUIPT ,
4 Radia: Transmitting Set -AR/SRT-1 “including: 43-4/2 x 18-13 /16 ¥ ZEMM/A6 60
1 Battery chara ng Pane) : (RMA Model
RH-XG

 

UNCLASSIFIED

1,6 AR/SHT-1: 1
Fao 1 a
wile nt enn te ge re sarmitt

 

__+ Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 144 of 186

UNCLASSIFIED

January 1956

 

pronsuseting. S¢t,Radio AW/SRIP-YV7(LR-1)

FUNCTIONAL DESCRIPTION:
‘Mie AN/SHT=17(R0H1), ds intended for gen-

‘eral purpose: axe aboard skip ani et shore

fuat al lations under widely varying climes nic

eouditions. It provides © couplets redio.

tranasitting facility with tho, sxception of
antenna, power nource, keying and phone
equipoend. The equipment is designed, for
operation into ai? antesna having & radio
frequency cosistance betxeen 5 and 1800 ohms
apd. n sesctante Prot +2900 to —2000 ohms,

UNGLASSIFIED

Radio-Transmitters

AN/SRT-17 (XN-1)

The transmitter ay be operated from a remote
location with the use-of a standard "6 wice?
remote unit. A telephont. Fack is also pto-
vided for uae with o reonkyér moni tor/hoad>
set, :

No field changes jn effect at tine of
preparation (30 April 1957).

RELATION TO OTHER EQUIPMENT

Similar to but not interchangeable wi th
Radio Tranamitting Set AN/URT-12.
Equipment Required. but not ‘Supplied: Cy)
Suitable Antenna, Keying -and’phone aquipsent,

ELECTRICAL AND MECHANICAL. CHARACTERISTICS

EMISSION; CW and voice;
FREQUENCY ‘RANGE: 2, to 96. .mc.
NUMBER OF BANDS: 3...
“FREQUENCY CONTROL: Muater-oacilfator, .
POWER QUIPUT: '
Al (EMESSYON: 100 #.
aa BUESSION 75%
POWER SOURCE HEQUERED) 115 of 230 ¥, 50 to
.60° cycle, single ph. 3
MANUFACTURER'S OR CONTRACTOR'S DATA,
Wadiomarine Corp ot Anerica, New York,
N. Y. , . . . :
Contract NOs r-63313,

 

TUBE AND /OR -CHYSTAL COMPLEMENT

(2} SRaWGsXB nat: epee

   

(2) 3828 Ga). TaRKT
(1) 1T2ATTWA G45 '6-G5A
(4) 6AGT “ gov
(1) 6BG6G CL) GAQSH
(2) 514A (2) OAQWA

Tatal Tuhes: (247
(1) CR-18/U
Tote] Crystals: <1)

REFERENCE DATA AND LITERATURE ATURE.

Technical Manual for Radio Transmitting Set
AN/SRT=1TCXN-1).

TYPE: CLASSIFICATION

DESIGN COGNIZANCE = BUSH IPS
PROCUREMENT COGNIZANCE
$TOCK NO.

  
  
 

 

1.6 AN/SRT-17(XN- 1): 1

 

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Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 145 of 186

Radio-Tranamit tors

UNCLASSIFIED

January 1958

 

 

 

 

 

 

 

AN/SRT-17 (XN-1} TRANSMITTING SET, RADIO
— SHIPPING DATA oo
NUMBER TyowMe|  OVEXAL DIMENSIONS «= | WHONT
oe CONTENTS AND IDENTIFICATION 1 zee Tl rere : PACKED
1 {Rado Transmitting Set Incl 2 Technical
Manuals and test cables AN/SRT-27(XH-1)
1 |Set of Spares

 

 

 

 

 

 
  
  
 

 

 

‘quagarry | : = weionie
PER NAME AND NOMENCLATURE ‘ {tee.)
EQUIFT. . vey i he aot ET
1 JRafio Transmitting Set AN/SRT-17 (xk-i} c/o ‘gtd /2 X 23 -X 48: 41a

{1} Electrical Equipment Cabinet Cy~1778 (xed) Af
SRT-L7 " ‘f20-2/a x 2sef/2 XuBO
(1) Power Supply PE+1294(XH-2) /SRT-17 ‘4f_% 19-5/e X 20
(1) Radio Frequency oscillator 0-332 (XH~2),/SRT . ;
Ay [PTs KPa Meese
(1). Radlo Transmitter. 1-557 (Xt-1}/SRT=17._. ‘Potala kOe R Beater. 4
{3) Set of spares: ~—
, (2) Technical Manuals hk 4
.» {4) Set of Test cables 10
1.6 AN/SRT-L70K- 1): 2 UNCLASSIFIED
 

Case 2:18-cv-02119-TJS

UNCLASSIFIED -
August 1067

RADIO “TRANSMITTING SET

Radio Sransaieteng set Lu soRE-13
FUNCTIONAL: DESCRIPTION.

The, AN/URT-13 ig intemded for use on
Const Guard, yeanela and st Cowst Guard radio
comayund cation ahere statréons -under widely
yarying ‘elimatic condi,nronn. Tt provides. a
econpléte ridge, Enanamieciny fagili ty with
the exception of antenne, power source,
chonnek frequency. arystele’ end keying equip-
nent, The transmitter jies been designed’ to
opereate- ab aban t temperatures thetween 0
deg ta. 55. deg: @ abd in-a relative humidity
up to 95%,

No: field changes in offect ot time of
preparation, (27 Novetsber 1956).

RELATION TO OTHER EQUIPMENT

Equipment Required but not Supplied:
{As required) Crystal. CR=25/U, (1) Antenna.

UNCLASSIFIED

 

Document 637 Filed 01/24/20 Page 146 of 186

Radio-Tran smi, thers

AN/URT-13

(1) ‘Remote Contro), Unie 23211, (2) peuoee
Control, Gable WHFA-7, (1) Automatic Kays
(1) Frequency ‘Motar, (ay: Power Cable Dil Keo

  

ELECTRICAL AND: MECHANICAL: ‘CHARACTERISTICS

FREQUENCY RANGE: 239 ‘to 556. ‘He.
TYPE. FREQUENCY CONTROL: Crystal or master
SUUGe GREER
ER CRYSTAL CHANNELS: “ay "|
aE M- is NTROL:. . Monval:,., apples
yarnialievover antire range in’ vthred: b. bande.

MISSION Ades
aap a oe ene 4000; pay : —10: bo +20%.
MOBUEATION It SAPABERET YS + 100% =~ :

KEYING TYPE: ‘On-off: belentrost cabs) «

 

- KEYING SPEED.

Gls. Up. to 100 ypm
CWE Upto ‘60° wh | “kaya! ‘eet and modu-

lation
Cone ‘hobak yore ein aggre

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Te B Eyes vee Mee Ags Scat
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acell ae AND: SS ISETY t Aa ag ot
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desired carrier Sseauentyi™ “FI
ore ING PEMPERATURES; 0
NE“VOLTAGE; £10%,
CINE-ER CY:. 5%.
OPERATING! POWER: 115 or 230: Wy $0" ‘ar 60

CPs; ean pk.
HEAT’ PISSIP. - 151.0 Ws.

OdeRyite deg C.

MANUFACTURER'S OR CONTRACTOR'S: DATA

Radiomarine Corporation ‘of Americs, ‘New
York, N.¥.
Contract To g-38556; deted 26. Junc A951,

TUBE AND:/OR CRYSTAL. COMPLEMENT

(2) SB28 ATT (2) 807...
1 ae (3) eA aku
ig) .GAGT (1) O42

Totul Tabeat (17)
(4) CRe25/U

Total Cryetels: (4)

REFERENCE DATA AND LITERATURE

Technical: Manual .for Redio Freosmitting Set
AN/URT= 133

 

TYPE GLASSIRICATION

DESIGN COGNIZANCE U. S. COAST GUARD
PROCUREMENT COGNIZANCE

 

[stock NO,

 

 

1.6 AN/UNT-13: J,

 
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UNCLASSIFIED:
Radio-Transnitters August 1967 |
AN/URT-13 RADIO TRANSMITIING SET '
Se ae a SHIPPING. DATA
“SURBER | Po . "MOUUAE |” QVERAUL-DIAMENSIONS: "| weigst
OF CONTENTS AND IDENTIFICATION \ te eft : cies) x
BORES: te . bs = 5 wnt Nee Siege : deca” ist “(iby
—— “ —i" # <= <5 * “ts 7. oe top> Bee uf
g:  Madle-Transmltting Sete an /URTH13: ae Bh ABET 330
4 Palatenance parts Kit £200 pf Ry 30 X30: ‘|, 360
FaUIPMENT SUPPLIED. cas, a
“aust | NAE AND REPU . Pea) i
Quiet, sh . at ut =. et since men J — ae i
4 Radio Travsaitiles 5 Set t AN/URT=13 consists of: ay X 27% Seale he ‘BHO.
4 Radlo Frequency Tune Assy” TH-222/URT—13 joseaiss % 2i—1/8 -X 29-072 4 8b
i | Ampid fier-Oscil lator AM-O5H /URT=13 4 apenis16 Ix 21-1/6 X 23-578 ’ 1: :
4 Radio Modulator MO-197/URTHIS" » fo/8 xdin1 se X 23-212 | “eB bo
4 | Power sdgply PP-965/URT=13 qu AGSL/2:%, 24418-¥ 294.12 , 4) Bee: ;
1 cabinet, ‘Electrical Equipment CY—1384 /URT-13 noe 27 4. ' 63=578 ‘p+ 240: .
4.) Ma: Ge, catitbration Chart 23132 x eck/2 Kid, ht yo:
4 4d .poxsMaintenance Parts kit pat Ais as ” oP 275" }
2 Set Servicing: Diagrams i tfz jk 20° Wo- ip 2
2 Technical Manual: HBR ik BAL/2 KAT ” » T 4. 1
1 set Test “Cables t= ‘ a 5 fo
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| UNCLASSIFIED

1.6 AN/URT-13: 2
Case-2:18-ev-02119-TIS—Document 637 Filed 01/24/20 Page 148 of 186

 

 

 

 

 

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___ 8/31/2019

AN/PRC-8, -8A, -9, -9A, -10, -10A

From RadioNerds

  

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Fignae 1, Radio eet AN/PRC-3, -8A, -2, DA, «10, oF <10A, pook mounted.

Components

RT-174 = PRC-8, 20 to 27.9 Mc. Armored

RT-175 = PRC-9, 27 to 38.9 artillery
RT-176 = PRC-10, 38 to 54.9 infantry
ST-120 harness

CY-744 battery case

H-33/PT handset

AT-271 ant 10 ' whip

AT-272 ant. steel tape

AB-129 ant. spring

CW-216 antenna bag

BA-279/U

RC-292 ground plane antenna
AM-598 amp./power for vehicle mount
AN~GRA-6 remote

Additional Files

a,
pow
_

TM 11-612

Radio Sets

AN/PRC-8&

radionerds.com/index.php/AN~PRC-8

Case 2:18-cv-02119-TJS DévGRehtSs7 “ied O2/2479e\° Page 150 of 186

    
 
 
   

142
Case 2:18-cv-02119-TJS Dagument,Q32 riled Odi2aleQietrage 151 of 186

AN/PRC-9
AN/PRC-10
September 1951

BISTIZ0TS

NOTE: This version contains a schematic, the 1954 version does not

<= TM 11-612

“un

Operation and Organizational Maintenance

Radio Sets
AN/PRC-8
AN/PRC-9
AN/PRC-9A
AN/PRC-10
AN/PRC-10A
December 1954

- B= TM 11-5820-292-20° —
Organizational Maintenance Manual

Radio Sets
AN/PRC-8, -8A, -9, -9A, -10, -10A, And -28 oa
20 October 1961 20.0 2

ay TM 11-4065

Field Maintenance

Radio Sets
AN/PRC-8, -9, -10
September 1954

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radionerds.com/index.php/AN~PRC-8 2/2
___Case 2:18-cv-02119-TJS Document 637— Filed -01/24/20—Page 152 of 186

DEPARTMENT OF THE ARMY TECHNICAL MANUAL TM I-G12

DEPARTMENT OF THE AIR FORCE TECHNICAL ORDER 10 Sne-2P RC 10)

 

RADIO SETS AN/PRC-8, —-8A
—9, -9A, -10, AND —-10A
OPERATION AND
ORGANIZATIONAL MAINTENANCE

 

   

DEPARTMENTS OF THE ARMY AND THE AIR FORCE
DECEMBER 1954

AGO 26983A—Dec
Case 2:18-cv-02119-TJS Document 637 Filed-01/24/20 Page 153 of 186-

WARNING

DANGEROUS VOLTAGES EXIST IN THIS EQUIPMENT

Be eareful when working on the 67.5-volt or 135-volt circuits.

DON’T TAKE CHANCES!

AGO 26084

seh a
   
 
   

_rsi20i19___ Case 2:18-cv-02119-TJS_BotenrrenbEsm Pride es ia:
ee Pe ee eM ein WAnteen areal iee a5

  

  

 

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= Quick links @ FAQ [F Register © Login

# Home « Board Index < Vehicte Accessories < Radio's and Communications

100%
prc-9 or 9A?
! Post Reply 4 i éulx 4 posts = Page 1 of 1
shawneendn71 =a = L . aa : = a peck
i

G-Chihan

prc-9 or 9A?

Bi Thu Aug 07, 2008 4:26 pm

Hello, I'm new to this and would like if any one can give me some info. on this radio.It says on tag: radio revr-xmtr RT-175A/PRC-9, has a serial 4 and Radio Corporation of America
(RCA?) Any info, would be a big help, Thanks! ti 7 " { 7 ae

] mooses3
ss G-Colonei [

Sa

Ht

fi Thu Aug 07, 2008 5:00 pm
Radia setAN/PRC-9, frequency range 27.0 to 38.9 MHz, Super-Heterodyne FM Receiver / Transmitter. Man-Pack or Vehicular fixed station operation.1 Watt transmitter Output. Uses 16
miniature wire ended tubes. Power. requirements 1.5V, 6V, 67.5V, 135V powered by BA-279 battery. Mee ys ee:

 

The AN/PRC-9 is part of a family of radios AN/PRC:8, AN/ PRC-9, and AN/PRC-10 which were used as a squad radio: by US Army in Korea and Vietnam Wars and by many ‘NATO countries.
Made in:USA in 1950's and 60's, each radio had a different frequency range. | , ig ere er

 

AN/PRC-8->>>>-20;0 to 27:9 MHz == penton tin ahr
AN/PRC-9 >#>> 27.0 to-38.9 MHZ ‘
AN/PRC=10 >>>> 38.0 to 54,9 MHZ

Jim

Ziigzag50, NortheastS1, KC2QDZ
MVPA # 30032, G838.org

1971 M1S1A2 1966 M416
1968 M101A1 1976 M116AL
1990°MEP-701A

Real Jeeps have horizontal grille slots! ‘
e

Radtech ae _
G-Major General J : ie ; leet

tA,

cet

RT-175A

Bi Thu Aug 07, 2008-5:20 pm , i /

It is a PRC-9A which is electronicly different from the RT-175/PRC9.The Canadians and French coppied the electronics in some of their sets.The tube line up Is different and it has a
Pulse Sweep Generator that the RT-175 does not have.Also with the:RT-175A you will have a sidetone audio in the receiver handset while transmitting while the RT-175 does not.

Dallas
a

waSeab
CWO4 (Ordnance) USNR £6

Ba Thu Aug 07, 2008 8:47 pm

Lest anyone question the nomenclature (to “A” or not to “A"), it's a quirk of the AN system that if a component began life with a specific component number and set assignment (in this
case RT-175 and AN/PRC-9, making it RT-175/PRC-9), and was subsequently revised but kept the same component number it got a letter suffix (RT-175A) but kept the same set
nomenctature (/PRC-9) even if it was a component of a revised set (AN/PRC-9A). Only if the revised companent got a new number and was assigned as a component of a revised set did

the set nomenclature get revised as well.

illustrates the point but for example with the AN/ART-13 family of aircraft transmitters you had T-47/ART-13 which

| can't think of an example pertaining to the PRC-8/9/10 family that
transmitter of AN/ART-13A but T-412/ART-13B was the transmitter of AN/ART-13B. And 0-16/ART-13 low freq

was the transmitter of AN/ART-13 and T-47A/ART-13 which was the
oscillator for AN/ART-13 and O-17/ART-13A for AN/ART-13A.

Plus of course the rules weren't always consistently applied in either direction.

https://forums.g503.com/viewtopic.php ?t=1 23605 1/2
Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 155 of 186
Case 2:18-cv-02119-TJS Document 637 Filed 01/24/20 Page 156 of 186

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: Hay 11,1934

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by an Asaainstiona? phe, 7 ais | ashe. “ age et tebe
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+ >
Asbestos is used in the Feet Philadelphia plant. Dr

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» Minor
says that ke discovered a cage of agbestosta anc Temoved tre man
and trat now the one man rorkine wents a poritive-pressure air

helnoet.

There are three men spinning asherton in Schenectady, anc

there 1a an exhaust at the point of duct formation. fr. Vosbureh

has taken X-rays, which are nezative.

The other plante in: which asbestos ls used ere Brideeport,
York and Heriden.

L. U. Gardner advises taking X-rays. There ts no other
Way.

The dust collects alon# the bronchios in animals, not in
the lunt tissue. There ta a gradual cromth of fibrous tissue
around them, followed by occlusion end collapse,

Phagocytes mith quarts particles move rapidly, cellect in
clumps and then underzo hyaline change, then necrosis. with
sranite duet the cells remain in the «paces, they do nat form
nodules. Proorbly thera must be infection to mike nodulation
from rrrannte cust, cut not fram quartz, (hacocytes Witt asteslos

are crammed T¥l1 of dust and Harely move Lh? certommdam dust

  

EXHIBIT

they are more active. Quarts inhnlatians folloriny injection off

PLAINTIFE’S -

atmnuated tubercle bacilli start a twreroulous process, 29 Coes
carborundi , eich stems to’ point to the probability that there 1s
free silica in carborundum. The sam result occurs if silicosis
is first produced by Inhalation ead then the tubere(lle bacill4
injected. There is more likely to be involvement of the bases
of the Tunes in stileosia-tuberculoeis than in the usual form.

Conl duet, iron ore, marble, and Bghekios hate na auch effect.

 
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EXHIBIT L
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[Of iie 4

1 WILLIAM T. COVALESKI, : COURT OF COMMON PLEAS
et ux. : PHILADELPHIA COUNTY

2 Plaintiff (s) :

3 ~vs- : MARCH TERM, 2003

4 ALLIED CORPORATION,
et al. é

5 Defendant (s) : NO. 4332

6 fs - =

7 Videotape deposition of WILLIAM

8 T. COVALESKI, taken pursuant to notice, hel
9 at the Sheraton Park Ridge Hotel, 480 N. Gu
10 Road, King of Prussia, Pennsylvania 19406,
11 Tuesday, May 20, 2003, beginning at or
12 about 11:20 a.m., before Wanda M. Barnum,
13 Court Reporter and Notary Public, and Rober

14 Higham, Videotape Operator, there being

15 present.

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WILLIAM T. COVALESKI

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asbestos with Igo?
A. No, I think that's about at.
Q. What was your next job after Igo?
A. I went with General Electric.
Q. Okay. And when was it that you started
with General Electric?
A. 1956.
Q. Do you remember the month?
A. Yes, November.
Q. And is General Electric the company that

you stayed with until you retired?

A. Yes.

Q. And I believe you told us --

A. Thirty-two years.

Q. And you retired in 15988?

A. Correct.

Q. So we have '56 to !88?

A. Yeah.

Q. Now, in November of 1956, which General
Electric plant did you work at?

A. At the Space Division. It was a brand
new division. It was the beginning of the

space industry at 32nd and Chestnut.

Q. Okay. I guess this was right around the

time that Russia put Sputnick up, right?

 

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WILLIAM T. COVALESKI

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A. Yeah.
Q. Okay. And that General Electric plant
you said was at what address?
A. 32nd and Chestnut Street.
Q. Is that plant still there today?
A. No. They moved out of there ten years
ago and it was sold and I think it's
condominium apartments.
Q. How long did you actually work at the GE
plant at 32nd and Chestnut?
A. Twelve years.
Q. Until what year? You started in '56
there.
A. About '68, I guess.
Q. What was the size of the GE plant at
32nd and Chestnut?
A. It was a city block by two city blocks
by ten stories high.
Q. And what were they actually making at

this space division plant when you were there?
A. Nose cones for the missiles.

Q. When you started at General Electric in
November of 1956, what was your first job?

A. Pipe fitter.

Q. And how long did you work as a pipe

 

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WILLIAM T. COVALESKI

32
1 fitter at that GE plant?
2 | A. Approximately five years.
3 Q. That takes us up to what year?
4 A. ‘61.
5 ©. During those five years that you worked

6 as a pipe fitter at General Electric,

7 generally speaking, can you tell the members

8 of the jury what your duties were?

9 | A. The building was supplied with steam

10 heat. And all steam pipe is covered with
il de insulation, specifically with asbestos
12 insulation. And that's three days out of five
13 days I worked on the steam lines because I was
14 either repairing or replacing or maintenance.
15 Q. Where were these steam lines in the

16 facility?

17 | A. They ran through -- there was a sixteen

18 inch line that came in the building supplied

19 by Reading Railroad. And then it branched off
20 throughout the whole building. All the

ail perimeters had wall radiators. And then when
22 they were installing air conditioning through

23 the whole building, each unit, which is

24 approximately twenty ton units throughout the

 

25 whole building, were supplied with steam coils

 

 

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, WILLIAM T. COVALESKI
33
in there for heating.
Q. And as a pipe fitter at General Electric

specific to this piping that ran throughout
the plant, what were your duties?

A. Repairs, replacements, installation.
There was always constant work on it. And you
pulling off the insulation and then you would
always patch it back up again. Or
installation, if you ran a new line, you would
automatically insulate it.

Q. Did you work on anything else there
other than piping systems?

A. Yeah, plumbing.

Q. Did you work on any equipment, any types

of equipment at the General Electric plant?

A. Yes.

Q. As a pipe fitter?

A. Yes.

Q. Give us some examples of the type of

equipment.

A. Temperature, humidity chambers, which
were pipe with water glycol. Anything that
kept water or what have you going through it.
QO. Mr. Covaleski, in connection with your

five years of work at the General Electric

 

 

 

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WILLIAM T. COVALESKI
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plant as a pipe fitter between 1956 and 1961,
were you exposed to any asbestos dust from any
asbestos-containing products?
A. Ouite a bit.
Q. All right. And can you describe to the
members of the jury generally speaking how you
would be exposed to asbestos in connection
with this work?
A. First of all, with the asbestos
covering. And most of the asbestos covering
was made by --

MS. WATSON: Objection.
BY MR. NASS:
Q. You can't tell us right now the
manufacturer's name. We'll get to that :

later. Go ahead.

A. It was pipe insulation. They called it
half moon. And it came in various sizes, from
half inch all the way up to sixteen inch. And

there was a specific spot in the building, it

was the penthouse on a roof they stored it

because of the dust problem. And when the
material came in receiving, they took it right

| up to the roof, and that's where it was

stored, and they had racks with all different

 

 

 

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WILLIAM T. COVALESKTI
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sizes. And then they had fifty-five gallon
drums and they had skids of loose asbestos,
which you would tear open the bag and then
dump it into the fifty-five gallon drum. And
any time you had to mix some up, you would
just get a two and a half gallon bucket and
scoop out whatever you needed. And the floor
was always covered with dust.

Q. Going back to that half moon insulation
that you were describing -- first of all, how
do you know that that product was made of
asbestos?

A. It was an unwritten law in pipe fitting
that anything that you had to do with steam
had to have asbestos covering for the
insulation purposes.

Q. Any other reasons that you know also
that that pipe covering contained asbestos?
A. From day one it was the only thing
available.

Q. Okay. The ~~ would you personally
handle the pipe covering?

A. Oh, yeah.

Q. And would you have to do anything with

that pipe covering before you installed it?

 

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WILLIAM T. COVALESKI
36

q A. Cut it, fit it, mix up the loose

2 asbestos for all the fittings and joints.

3 Q. What would you cut the half moon pipe
4 covering with?

5 A. Saw.

6 Q. All right. And what would happen when

7 | you sawed the pipe covering?

8 A. All kind of dust.
9 Q. Would you breathe in that dust?
10 A. Yeah. Never had masks.
11 ] 0. You mentioned also the loose form of
12 asbestos. What was that actually used for by

13 pipe fitters?

14 ,/A. To cover the joints.

15 Q- All right. And joints are what?

16 A. The elbows and the T's.

17 Q. Are you referring -- when you refer to

18 elbows and joints and T's, are those parts of
19 a piping system?
20 A. Piping system, yes.

21 Q. And did you personally mix loose

22 asbestas?

23 A. All the time.
24 Q. All right. And what would happen
25 when -- did that product come dry or premixed?

 

 

 

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WILLIAM T. COVALESKI

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A. Dry-
Q. And what would happen when you mixed the
dry substance?
A. It would just be so Flaky. It would
just carry right through in the air.
Q. In connection with your work as a pipe

fitter at General Electric, were there any
other types of asbestos-containing products
that you personally handled other than pipe

covering and loose asbestos?

A. Gaskets.
Q. Okay.
A. Sheet gaskets, pre-punched gaskets.

Most of your fittings three inches or over
were all flange gaskets and you would have
premade gaskets, four hole, six hole, whatever
the diameter and whatever the arrangements of
the bolts were. Sometimes we would punch out

our own gaskets. In most cases they would be

premade pre-punched gaskets.

Q. And the gaskets were used where?
A. On the fittings where they bolted them
together. You had two flush surfaces, and the

gasket went in between to prevent it from

leaking.

 

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WILLIAM T. COVALESKI

38
QO. We've talked about pipe covering. We've
talked about loose asbestos. We've talked
about gaskets. Any other types of
asbestos-containing products that you
personally handled?
A. Gaskets themselves for different type
pumps, different type connections.
Q. Anything else that comes to mind right
now?
A. String gasket, rope gasket. Any time

you took a pump apart, obviously you replaced
all the gaskets and replaced all the packing
in there because you wouldn't reuse it again.
Q. The -- tell me what this rope product
looked like.

A. It came in different diameters and
strings. It was like a rope. That's why they
called it. And then it was like an eighth of
an inch in diameter. So if you were packing
something and it was an eighth of an inch
opening, you would just take one string and
wrap it around until you got that area of
packing material to where you want it. And

then you would connect whatever connection it

was to it.

 

 

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WILLIAM T. COVALESKI
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If it were thicker than that half
inch -- in most cases if you had like
three-eighth or half inch, you'd get the
regular packing material three-eighth or half
jnch by three-eighth -- half by half or half
by three-eighths. But if not, you could use
the rope material and wind it up and then pack
it in there.

Q. All right. Going back to the gasket
material youtre talking about, you were
talking about the sheet form of gasket. What
would you have to do with the sheet form of
gasket?

A. You would cut it to the size, whatever.
Like say it's a six inch value, and you would
cut a piece approximately eight inches or so.
And if you had the valve there or something
there, you could actually put it over and just
with a ball peen hammer go around the edges
inside and outside and all the bolt holes and
just keep on tapping and -- otherwise, we had
tools, different diameters for cutting the
gaskets.

OQ. And what would happen when you would cut

the gasket material?

 

 

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WILLIAM T. COVALESKI

40
1 A. It would actually flake off.
2 Q. All right. And would you be exposed to
3 that?
4 | A. Oh, definitely.
5 Q. The -- going back now to the rope

6 material and this string material, would you

7 have to ever cut that?

8 A. Yes.

9 Q. All right. And what would you cut that
10 material with?
11/|A. With a knife.
12 Q. And what would happen when you cut the
13 rope material?
14 A. Same way. It would fray at the ends.
15 QO. You've taken us up to as a pipe fitter.
16 What happened in 1961?

17 A. I was promoted to foreman on second

18 shift.

19 Q. Still at the same plant?
20 A. Still at the same plant.
21 Q. All right. And as a foreman, who were

22 you supervising?
23 A. I was supervising plumbers, pipe

24 fitters, electricians and carpenters.

 

25 Complete maintenance group.

 

 

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WILLIAM T. COVALESKI
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OQ. All right. And how long did you work as

a foreman of the maintenance group at that GE

plant?
A. Approximately seven years.
QO. And what were your day-to-day duties as

a foreman?

A. Supervising all the maintenance and
repairs, get work orders, start the shift,
hand the work out. And then during the night,
we would go around checking on the jobs to
make sure everything is running smooth.

Q. Now, during that seven-year period that
you worked as a foreman, were you exposed to

any asbestos dust from any asbestos-containing

products?

A. Yeah, when the pipe fitters were working
on steam lines, which it seems every night
there was a job -- a repair job of some sort.
QO. The -- during that period from '61 to

'68, were you doing any hands-on work or were

you doing all supervision?

A. No.

Q. So then --

A. All supervision.

Q. All right. So during that period, you

 

 

 

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WILLIAM T. COVALESKI
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would have not been personally handling the

asbestos yoursel£?

A. Correct.

Q. Okay. In terms of the types of asbestos
that your crew was using, was it similar or
different than what you used as a pipe fitter?
A. Exactly the same thing.

Q. Where did you go to work for General
Flectric in 1968?

A. I was transferred up to Valley Forge.

Q. And how long did you end up staying at
the Valley Forge facility all together?

A. Eighteen years in this one building.

Q. When you retired, were you working out
of Valley Forge?

A. No. Yes, in Valley Forge, but I was in
another building because it was the end of the
coal war and we were making nose cones for the
Minuteman missile in that plant.

So, at the end of the coal war,
the government stopped making minuteman
missiles. So the plant -- the contract was
cancelled and the plant closed. And then I
went to another building for approximately

two, three years before I retired.

 

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[As amended as of March 28, 1993]

 

TRANSACTION AGREEMENT

ee

dated
= November 22, 1992,
as amended as of February 17, 1993,

 

il among

GENERAL ELECTRIC COMPANY,
id MARTIN MARIETTA CORPORATION
and

PARENT CORPORATION

 

 

 

 

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fully in the Baseline Study. Access to any report or information generated during the Baseline Study shall be
limited to those employees of GE, MMC or Parent and their Representatives whose responsibility it is to
determine the status of environmental compliance at any facility that is a Transferred Asset or at which MMC
or Parent will conduct operations pursuant to this Agreement. Except as required by law or to effectuate this
Apreement, no Person shall make any disclosure, publication or use of the results of the Baseline Study
without the written consent of the respective general counsels of GE and Parent; provided, however, that GE
or Parent may use such Baseline Study in the event of a dispute related to the Transaction Documents or in
any action with a third party concerning the Baseline Study or conditions identified in the Baseline Study.
Based on the results of the Baseline Study, MMC and GE will identify the actions necessary to correct each
instance of Relevant Non-Compliance, the cost (net of any resulting tax benefit and net of any refund or
reimbursement of any portion of such costs, including, without limitation, reimbursement by way of insurance,
third party indemnification or the inclusion of any portion of such costs as a cost under Government
Contracts) of which shail be borne by GE. If, before the date that is six months after the completion of the
Baseline Study, MMC identifies additional instances of Relevant Non-Compliance that were in existence at
the Closing Date but were not discovered by the Bascline Study, MMC shall so notify GE, which notice shall
contain a description of such additional instances of Relevant Non-Compliance reasonably satisfactory to GE.
GE shall have reasonable access to documents, persons and facilities to enable it to evaluate the facts
contained in such notice. The cost of correction (determined as aforesaid) of any additional instance of
Relevant Non-Compliance which is in excess of $100,000 shall be bome by GE. Any dispute concerning any
instance of Relevant Non-Compliance or the action necessary to correct it shall be submitted for resolution to
the Vice President for Corporate Environmental Programs of GE, to his counterpart at Parent, and to such
third party as the two of them shall select, and their decision shall be final.

(b) Subject to any applicable privileges (including, without limitation, the attorney-client privilege), GE
shall provide MMC reasonable access to documents, persons and facilities of GE from the date of this
Agreement until the Closing Date during normal business hours and upon reasonable prior notice to enable
MMC to evaluate the nature, scope and cost of any Remedial Action related to an Environment Liability.
Without the written approval of the Vice President for Corporate Environmental Programs of GE, MMC shall
not conduct any Remedial Action at any such location prior to the Closing Date. In the event MMC desires to
conduct Remedial Action prior to the Closing Date, MMC shall notify GE of the nature, scope of and reason
for such Remedial Action. GE shall determine in its reasonable discretion whether to permit MMC to
conduct the requested Remedial Action, but GE shall give due consideration to any such request, including
informing MMC of any modifications to such request that would make it acceptable to GE.

7.13. KAPL Transfer Transaction. On terms and subject to conditions substantially similar to those
applicable to the Transfer Transaction set forth in this Agreement, on the Closing Date GE will transfer (or
cause to be transferred) to Parent all assets owned or leased by, or in the possession of, GE or any Affiliate of
GE and held or used primarily in the conduct of the KAPL business, as such assets shall exist on the Closing
Date, and Parent wil assume all linhiltics ering O81 Of the cn “KAPL Transfer
Transaction"), in each case if such assets would constitute Transferred ts if held or used primarily in the
Business on the Closing Date or if such liabilities would constitute Assumed Liabilities if arising out of the
conduct of the Business and in existence on the Closing Date. Apart from the assumption of such KAPL
liabilities, there will be no adjustment to the Exchange Consideration as a result of the KAPL Transfer
Transaction. As promptly as possible after the date of this Agreement, MMC and GE will prepare and execute
mutually satisfactory documentation setting forth any additional mechanics or other terms as may be
necessary to effect the KAPL Transfer Transaction.

ARTICLE VII
Tax MATTERS
8.01. Tax Matters. The parties agree as to tax matters as set forth in Exhibit IV.

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ARTICLE 1X
EMPLOYEE BENEFIT MATTERS

9.01. Employee Benefit Matters. The parties agree as to employee benefit matters as set forth in
Exhibit V.

ARTICLE X
CONDITIONS TO CLOSING

10.01. Conditions to the Obligations of Each Party. (a) The obligations of Parent, MMC and GE to
consummate the Closing are subject to the satisfaction (or waiver by GE and MMC) of the following
conditions:

(i) Avy applicable waiting period under the HSR Act relating to the Contemplated Transactions
shall have expired or beén terminated.

(ii) No provision of any Applicable Law or regulation and no judgment, injunction, order or decree
shall probibit the Closing, and no action or proceeding shall be pending before any court, arbitrator or
governmental body, agency or official with respect to which counsel reasonably satisfactory to MMC and
GE shall have reddered a written opinion that there is a substantial likelihood of a determination that

would prohibit the Closing.

ii) All actions by or in respect of or filings with any governmental body, agency, official or
authority required to permit the consummation of the Closing shall have been obtained.

(iv) Parent and GE sball have executed and delivered the Standstill Agreement in the form of
Attachment C.

(v) The Contemplated Transactions shall have been approved by MMC’s sharcholders to the extent
required by Applicable Law and MMC’s charter.

(b) The obligations of Parent, MMC and GE to effect the Transfer Transaction are subject to the
additional condition that the Merger shall have been, or simultaneously with the Transfer Transaction shall be,
consummated pursuant to the Merger Agreement (which shall be substantially as set forth in Attachment A).

10.02. Conditions to Obligation of Parent and MMC. The obligations of MMC and Parent to
consummate the Closing are subject to the satisfaction (or waiver by MMC) of the following further
conditions:

(a) (i) GE shall have performed in all material respects all of its material obligations under the
Transaction Documents required to be performed by it on or prior to the Closing Date, (ii) the
representations and warranties of GE contained in the Transaction Documents (except for the represen-
tations and warranties set forth in Section 11.17 of Exhibit 11) shall be accurate at and as of the Closing
Date, as if made at and as of such date, except for any inaccuracies which, individually or in the
aggregate, have not had or may not reasonably be expected to have, a Material Adverse Effect on the
Business, (iii) the representations and warranties of GE set forth in Section 11.17 of Exhibit II shall be
accurate in all material respects at and as of the Closing Date as if made at and as of such date and
(iv) Parent shall have received a certificate signed by an executive officer of GE to the foregoing effect.

(b) Parent shall bave received an opinion of Davis Polk & Wardwell, special counsel to GE, or
other counsel reasonably satisfactory to MMC, dated the Closing Date to the effect specified in
Sections I1.01 (other than with respect to the qualification to do business in any state other than New
York) through 11.03(a) and 11.04(a) (with respect to clauses (i) (A) and (i)(B) thereof) of Exhibit IT.
In rendering such opinion, such counsel may rely upon certificates of public officers, as to matters
governed by the laws of jurisdictions other than New York, Delaware or the federal laws of the United
States of America, upon opinions of counsel reasonably satisfactory to MMC, and as to matters of fact,

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upon certificates of officers of GE, copies of which opinions and certificates shall be contemporaneously
delivered to MMC,

(c) Parent will have sufficient funds available to pay the cash portion of the Exchange Considera-
tion for the Transferred Assets and will have obtained adequate working capital for the Business in an
amount up to $500,000,000; provided that this Section 10.02(c) shall not be a condition to MMC’s or
Parent's obligation to consummate the Closing unless MMC shall have complied in all material respects
with its obligations under Section 6.07.

10.03. Conditions to Obligation of GE. The obligation of GE to consummate the Closing is subject to
the satisfaction (or waiver by GE) of the following further conditions:

(a) (i) MMC and Parent shall have performed in all material respects all of their respective
material obligations under the Transaction Documents required to be performed by them at or prior to
the Closing Date, (ii) the representations and warranties of MMC and Parent contained in the
Transaction Documents (except for the representations and warranties set forth in Sections ITI.10A and
IIJ.04B of Exhibit III) shall be.accurate at and as of the Closing Date, as if made at and as of such date,
except for such inaccuracies which, individually or in the aggregate, have not had, and may not
reasonably be expected to have, a Material Adverse Effect on MMC or Parent, as the case may be,
(iii) the representations and warranties of MMC and Parent set forth in Sections IT1.10A and I1].04B of
Exhibit III shall be accurate in all material respects at and as of the Closing Date as if made at and as of
such date and (iv) GE shall have received certificates signed by executive officers of MMC (as to
MMC) and Parent (as to Parent) to the foregoing effect.

(b) GE shall have received an opinion of Dewey Ballantine, counsel to MMC and, at the time of
the Closing, Parent, or other counsel reasonably satisfactory to GE, dated the Closing Date to the effect
specified in Sections I11.01A (other than with respect to the qualification to do business in any state other
than Maryland) through JII.03A(a), III.04A (other than clause (iii)) and 111.01B (other than with
respect to the qualification to do business in any state other than Maryland) through IT1.04B of Exhibit
IIE. In rendering such opinion, such counsel may rely upon certificates of public officers, as to matters
governed by the laws of jurisdictions other than New York, Maryland or the federal laws of the United
States of America, upon opinions of counsel reasonably satisfactory to GE, and as to matters of fact, upon
certificates of officers of Parent or MMC, copies of which shall be contemporaneously delivered to GE.

(c) The charter provisions governing the Preferred Stock (in the form set forth in Attachment D)
shall have been, or simultaneously shall be, filed with the State Department of Assessments and Taxation

of Maryland.

ARTICLE XI
SURVIVAL; INDEMNIFICATION

11.01. Survival. (a) None of the covenants, agreements, representations and warranties of the partics
contained in any Transaction Document or in any certificate or other writing delivered pursuant to any
Transaction Document or in connection with any Transaction Document shall survive the Closing except for
those contained in Sections 5.03, 5.04, 5.05, 5.08, 5.09, 5.10, 5.12, 6.03, 6.04, 6.06, 7.01, 7.04, 7.06, 7.08, 7.09,
7.10, 7.11, 7.12 and 12.02 and Article XI and Article XIII of this Agreement, Section 11.17 and Section 11.18
(only with respect to actions brought against Parent, MMC or any other liable person in respect of the Proxy
Material) of Exhibit I], Sections HI.10A and I11.04B of Exhibit III, Exhibit IV, Exhibit V (other than
Section V.01), Sections 2.02, 2.03, 2.04, 4.01, 6.01 and 8.01 of the Transfer Agreement, those covenants and
agreements of Parent relating to Parent’s assumption of the Assumed Liabilities contained in the Exchange
Agreement and referred to in the Transfer Agreement and those covenants and agrecments set forth in any of
the Transaction Documents which, by their terms, are to have effect after the Closing Date (each, a
“Surviving Representation or Covenant”). It is understood and agreed that, except as explicitly provided in
this Agreement, after the Closing there shall be no liability or obligation in respect of a breach or alleged
breach of any representation, warranty, covenant and other agreement.

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(b) Except with respect to the Excluded Liabilities and except as otherwise provided in this Agreement,
Parent and MMC for themselves, their Affiliates and their respective agents, representatives, successors,
assigns, officers and directors, effective as of the Closing, release and discharge GE, its Affiliates and their
respective agents, representatives, attomneys, successors, assigns, officers and directors from any and all claims,
demands, debts, liabilities, accounts, obligations, costs, expenses, liens, actions, causes of action (whether at
law, in equity, or otherwise), rights of subrogation and contribution and remedies of any nature whatsoever,
mown or unknown, relating to or arising out of Environmental Liabilities or Environmental Laws.

11.02. (a) Indemnification of GE by Parent and MMC. Effective as of the Closing, each of Parent and
MMC hereby indemnifies GE and its Affiliates, and to the extent actually indemnified by GE or any such
Affiliate from time to time, its directors, officers, employees and agents, against and agrees to hold them
harmJess on an after-tax basis from any and all Damages incurred or suffered by any of them arising out of or
related in any way to (i) any misrepresentation or breach of any Surviving Representation or Covenant made
or to be performed by Parent or MMC pursuant to any of the Transaction Documents, (ii) the Assumed
Liabilities (including, without limitation, Parent's or MMC’s failure to perform or in due course pay and
discharge any Assumed Liability) or (iii) any Financial Support Arrangement referred to in Section 6.04(b).

(b) Indemnification of Parent and MMC by GE. Effective as of the Closing, GE hereby indemnifies
Parent and MMC and their respective Affiliates, and, to the extent actually indemnified by Parent, MMC or
such Affliate from time to time, their respective directors, officers, employees and agents against and agrees to
hold them harmless on an after-tax basis from any and all Damages incurred or suffered by any of them arising
out of or related in any way to (i) any misrepresentation or breach of any Surviving Representation or
Covenant made or to be performed by GE pursvant to any of the Transaction Documents or (ii) the Excluded
Liabilities (including, without limitation, GE’s failure to perform or in due course pay and discharge any
Excluded Liability).

11.03. Indemnification of Parent and MMC by GE for Certain Assumed Liabilities. (a) GE hereby
indemnifies Parent and MMC and their respective Affiliates and, to the extent actually indemnified by Parent,
MMC or such Affiliate from time to time, each of their respective directors, officers, employees and agents,
against and agrees to hold them harmless on an after-tax basis from:

(i) in the case of any Matter described in clause (ii) of Section 11.03(b), Actual Net Expenditures;
and

(ii) in the case of any Matter described in clause (i) or (iii) of Section 11.03(b), Actual Net
Expenditures and Economic Harm (without duplication),

in each case only to the extent such Actual Net Expenditures were made by or such Economic Harm was
actually realized by any of them before the tenth anniversary of the Closing Date, provided, however, that GE
shall not have any obligation to indemnify with respect to any such Matter until the amount of such Actual
Net Expenditures made or Actual Net Expenditures made and Economic Harm realized, as the case may be,
exceeds $25,000,000 (each, an “Excess Amount”); and further provided that GE shall have received
(1) notice from Parent specifying such Excess Amount and (2) evidence reasonably satisfactory to GE that
Parent has made such Actual Net Expenditures or suffered such Economic Harm. Promptly after receipt of
such notice and evidence, GE shall pay any Excess Amounts in cash or by wire transfer of immediately
available funds to such account of Parent as Parent shall specify in a written notice. Any notice made pursuant
to this Section 11.03(a) may not be delivered later than sixty days after the tenth anniversary of the Closing

Date.
(b) For purposes of this Agreement, a single Matter shall consist of:

(i) Environmental Liabilities which arise out of a common root cause and which relate to the
operation of the Business prior to, or the condition of the Transferred Assets as of, the Closing Date;

(ii) habilities to the U.S. Govemment arising out of a common root cause, related to Government
Contracts, and based upon allegations of knowing or intentional misconduct on the part of GE employees
which occurred prior to the Closing Date in connection with the operation of the Business; or

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(iii) Syracuse Environmental Matters which arise out of a common root cause and which relate to
the condition of the Syracuse Electronics Park facility as of the Closing Date or GE’s or its Affiliates’ use
or ownership thereof on or before the Closing Date.

(c) No Person shall be entitled to payment of any Excess Amount if, without GE's prior written consent,
Parent (i) other than in good faith, rejected a settlement proposal in respect of such Matter or failed to settle
such Matter for an amount that would have resulted in Actual Net Expenditures of less than $25,000,000 in
respect of such Matter; (ii) settled any such Matter, or consented to the entry of judgment in respect of such
Matter, where such settlement or judgment resulted in an Excess Amount; or (iii) did not allow GE to
participate in a substantial manner with Parent in the defense of such Matter (substantially in the manner
contemplated by Section 11.04(b) (ii}).

11.04. Procedures.

(a) Notice. GE agrees to give prompt notice to Parent of the assertion of any claim, or the
commencement of any suit, action, proceeding or Remedial Action brought by a Person that is not a party
hereto (“Indemnified Claims”) in respect of which GE, its Affiliates, directors, officers, employees or agents
seek indemnity under Section 11.02(a), after any officer of GE becomes aware of the facts giving rise to such
Indemnified Claims. Parent agrees to give prompt notice te GE of the assertion of any Indemnified Claims in
respect of which Parent, its Affiliates, directors, officers, employees or agents seek indemnity under
Section 11.02(b) after any officer of Parent becomes aware of the facts giving rise to such Indemnified
Claims. The failure of either GE or Parent to provide notice pursuant to this Section shall not constitute a
waiver of that party’s claims to indemnification pursuant to Section 11.02 in the absence of material prejudice
to the other. Any such notice to Parent or GE shall be accompanied by a copy of any papers therctofore served
on GE or Parent, as the case may be, in connection with the Indemnified Claims so satisfied. With respect to
any Indemnified Claim asserted or brought prior to the Closing Date, notice of such Indemnified Claim shall
be deemed to have been delivered on the Closing Date.

(b) Defense and Settlement of Claims.

(i) Assumption of Defense by GE. Upon receipt of notice from Parent pursuant to Section 11.04(a),
GE will, subject to the provisions of Section 11.04(b) (iii), (iv) and (v), assume the defense and control of
such Indemnified Claims but shall allow Parent a reasonable opportunity to participate in the defense thereof
with its own counsel and at its own expense. GE shall select counsel, contractors and consultants of recognized
standing and competence after consultation with Parent; shall take all steps necessary in the defense or
settlement thereof: and shall at all times diligently and promptly pursue the resolution thereof. In conducting
the defense thereof, GE shall at all times act as if all Damages relating to such Indemnified Claims were for its
ows account and shall act in good faith and with reasonable prudence to minimize Damages therefrom. Parent
shall, and shall cause each of its Affiliates, directors, officers, employees, and agents to, cooperate fully with
GE in the defense of any Indemnified Claim defended by GE.

(ii) Assumption of Defense by Parent. Upon receipt of notice from GE pursuant to Section 11.04(a),
Parent will, subject to the provisions of Section 11.04(b) (iii), (iv), and (v), assume the defense and control of
such Indemnified Claims, but shall allow GE a reasonable opportunity to participate in the defense thereof
with its own counsel and at its own expense. Parent shall select counsel, contractors and consultants of
recognized standing and competence after consultation with GE; shall take all steps necessary in the defense
or settlement thereof: and shall at all times diligently and promptly pursue the resolution thereof, in
conducting the defense thereof, Parent shall at all times act as if all Damages relating to such Indemnified
Claim were for its own account and shall act in good faith and with reasonable prudence to minimize Damages
therefrom. GE shall, and shall cause cach of its Affiliates, directors, officers, employees, and agents to,
cooperate fully with Parent in the defense of any Indemnified Claim defended by Parent.

(iii) Continuing Notice of Certain Claims. The party conducting a defense (the “Defending Party”)
pursuant to Section 11.04(b)(i) or (ii) shall give prompt and continuing notice to the other party or parties
(cach on “Indemnified Party”) of any Indemnified Claims that the Defending Party reasonably belicves may:
(1) result in an Excess Amount subject to the provisions of Section 11.03; (2) result in the assertion of

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criminal liability on the part of the Indemnified Party or any of its Affiliates, directors, officers, employees or
agents; (3) adversely affect the ability of the Indemnified Party to do business in any jurisdiction or with any
customer, or (4) materially affect the reputation of the Indemnified Party or any of its Affiliates, directors,
officers, employees or agents.

(iv) Settlement of Claims. Subject to the provisions of Sections 11.03(c} and 11.04(b)(v), the
Defending Party shall be authorized to consent to a settlement of, or the entry of any judgment arising from,
any Indemnified Claims, without the consent of any Indemnified Party; provided, that the Defending Party
shall (1) pay or cause to be paid all amounts arising out of such settlement or judgment concurrently with the
effectiveness thereof: (2) shall not encumber any of the assets of any Indemnified Party or agree to any
restriction or condition that would apply to such Indemnified Party or to the conduct of that party’s business;
and (3) shall obtain, as a condition of any settlement or other resolution, a complete release of each
Indemnified Party.

(v) Shared Defense. Each party may elect to share the defense of an Indemnified Claim the defense of
which has been assumed by the other party pursuant to Section 11.03(b)(i) or (ii). In that event, the
Indemnified Party will so notify the Defending Party in writing. Thereafter, GE and Parent shall participate on
an equal basis in the defense, management and control of any such claim. Parent and GE shall select mutually
satisfactory counsel, contractors and consultants to conduct the defense or settlement thereof, and shall at all
times diligently and promptly pursue the resolution thereof. Notwithstanding the foregoing, Parent shall
manage all Remedial Actions conducted with respect to facilities which constitute Transferred Assets or at
which MMC or Parent will undertake operations pursuant to this Agreement, provided that GE and its
Representatives shall have the right, consistent with Parent’s right to manage such Remedial Actions as
aforesaid, to participate fully in all decisions regarding any Remedial Action, including reasonable access to
sites where any Remedial Action is being conducted, reasonable access to all documents, data, reports or
information regarding the Remedial Action, reasonable access to employees and consultants of Parent with
knowledge of relevant facts about the Remedial Action and the right to attend all meetings with any
government agency or third party regarding the Remedial Action. GE and Parent shall each be responsible for
one-half of all Damages incurred after the Indemnified Party has provided notice as specified herein, including
costs of defense and investigation, with respect to such claim, provided, however, that Parent’s Actual Net
Expenditures and Economic Harm with respect to any Matter governed by Section 11.03 shall in no event
exceed $25,000,000.

(c) Dispute Resolution. \f Patent and GE are unable to agree with respect to a procedural matter
arising under Section 11.04(b)(v), Parent and GE shall, within ten days after notice of disagreement given by
either party, agree upon a third-party referee (“Referee”), who shall be an attorney and who shall have the
authority to review and resolve the disputed matter. The parties shall present their differences in writing (each
party simultaneously providing to the other a copy of all documents submitted) to the Referee and shall cause
the Referee promptly to review any facts, law or arguments either Parent or GE may present. The Referee
shall be retained to resolve specific differences between the parties within the range of such differences. Either
party may request that all oral arguments presented to the Referee by cither party be in cach other's presence.
The decision of the Referee shall be final and binding unless both Parent and GE agree otherwise. The parties
shall share equally all costs and fees of the Referee.

ARTICLE XII
TERMINATION

12.01. Grounds for Termination. The Transaction Documents may be terminated at any time prior to
the Closing:

(i) by mutual written agreement of GE and MMC,

(ii) by either GE or MMC if the Closing shall not have been consummated by June 30, 1993;
provided, however, that neither GE nor MMC may terminate the Transaction Documents pursuant to
this clause (ii) if the Closing shall not have been consummated by June 30, 1993 by reason of the failure

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CERTIFICATE OF SERVICE
The undersigned certify that a true and correct copy of the within Plaintiff's answer to
Lockheed’s motion for summary judgment has been filed electronically. The document is

available for viewing and downloading from the ECF system and was served upon all counsel of

record,

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ZL Robert E. Paul

Date: January y , 2020

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